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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 In re:                                             )
                                                    )     Case No. 09-50455
 SPECTRUM JUNGLE LABS                               )
 CORPORATION, ET AL.                                )     Chapter 11
                                                    )
                   Debtors.                         )


  ORDER (A) AUTHORIZING DEBTORS TO OBTAIN INTERIM POST-PETITION
     FINANCING AND GRANT SECURITY INTERESTS AND SUPERPRIORITY
 ADMINISTRATIVE EXPENSE STATUS PURSUANT TO 11 U.S.C. §§ 105 AND 364(c);
   (B) MODIFYING THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362; (C)
  AUTHORIZING DEBTORS TO ENTER INTO AGREEMENTS WITH WACHOVIA
  BANK, N.A., AS AGENT; (D) AUTHORIZING DEBTORS TO USE PRE-PETITION
  TERM LOANLENDERS’CASH COLLATERALAND (E) SCHEDULING A FINAL
              HEARING PURSUANT TO BANKRUPTCY RULE 4001

             Upon the motion (the "Motion"), dated February 3, 2009, of Spectrum Brands, Inc.,

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                 “     ), and Spectrum Jungle Labs Corporation (
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 together with ROV, Rovcal, United, Neptune, Schultz, United Pet, DB Online, Foam, Aquaria,

 Aquarium, Perfecto and Tetra,e
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   Subsidiary Loan Parties”, each as a Debtor and Debtor-in-Possession in the above-

 captioned Chapter 11 cases (collectively, the "Cases"), pursuant to Sections 105, 361, 362, 363,

 364(c)(1), 364(c)(2) and 364(c)(3) of Title 11 of the United States Code, 11 U.S.C. §§ 101, et

 seq. (the "Bankruptcy Code") and Rules 2002, 4001(b) and (c), and 9014 of the Federal Rules of

 Bankruptcy Procedure (the "Bankruptcy Rules"), seeking, among other things:


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                        (1)     authorization pursuant to Sections 364(c)(2) and 364(c)(3) of the

 Bankruptcy Code for Borrower to obtain post-petition loans (including supplemental loans),

 advances and other financial accommodations on an interim basis for the period through and

 including the date of the Final Hearing (as defined below) from Wachovia Bank, National

 Association, in its capacity as administrative and collateral agent (in such capacity, "Agent"),

 acting for itself and on behalf of the other financial institutions from time to time party to the

 Existing Credit Agreement (as defined below) as lenders, and acting as a Supplemental Loan

 Lender (as defined in the Ratification Agreement) on behalf of the Supplemental Loan

 Participants (as defined in the Ratification Agreement) with respect to the post-petition loans

 (collectively with Agent, the "Lenders") in accordance with all of the lending formulae,

 sublimits, terms and conditions set forth in the Existing Credit Agreement and the Existing ABL

 Collateral Agreement, as amended and ratified by the Ratification Agreement (as defined below),

 in accordance with the Budget (as defined below) and in accordance with this Order, secured by

 security interests in and liens upon all of the Collateral (as defined below);

                        (2)     authorization for Borrower and each Subsidiary Loan Party

 (collectively, the "Debtors") to enter into the Ratification and Amendment Agreement, dated of

 even date herewith, by and among Debtors, Agent and Lenders (the "Ratification Agreement," a

 copy of which is annexed hereto as Exhibit A and is incorporated herein), which ratifies, extends,

 adopts and amends the Existing Credit Agreement and the other Pre-Petition Loan Documents

 (as defined below);

                        (3)     modification of the automatic stay to the extent hereinafter set

 forth;

                        (4)     the grant to Agent, for the benefit of itself and the other Lenders,

 of superpriority administrative claim status pursuant to Section 364(c)(1) of the Bankruptcy

 Code in respect of all Post-Petition Obligations (as defined in the Ratification Agreement);

                        (5)     authorizing pursuant to Sections 361, 363 and 507(b) of the

 Bankruptcy Code Debtors to use Cash Collateral (as defined below) subject to the liens and



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 security interests of the Pre-Petition Term Loan Agent (as defined below) and each of the Pre-

 Petition Term Loan Lenders (as defined below), which secure the Pre-Petition Term Loan

 Obligations (as defined below) and to provide adequate protection to each of the Pre-Petition

 Term Loan Agent and the Pre-Petition Term Loan Lenders, in the form of replacement liens and

 superpriority administrative claim status; and

                           (6)     the setting of a final hearing on the Motion.

             The initial hearing on the Motion having been held by this Court on February __, 2009

 (the "Interim Hearing").

             It appearing that due and appropriate notice of the Motion, the relief requested therein,

 and the Interim Hearing (the "Notice") having been served by the Debtors in accordance with

 Rule 4001(c) on the following parties or their counsel (i) Agent, (ii) Lenders, (iii) the United

 States Trustee for the Western District of Texas (the "U.S. Trustee"), (iv) the holders of the

 twenty (20) largest unsecured claims against the Debtors' estates on a consolidated basis (the "20

 Largest Unsecured Creditors"), (v) the Pre-Petition Term Loan Agent, (vi) counsel for the

 Supplemental Loan Participants, (vii) the Internal Revenue Service, (viii) Bank of America, N.A.

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 "Blocked Account Banks"), (ix) US Bank, National Association as Indenture Trustee (the

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                   olders of the Debtors three series of public notes, and, (x) certain

 other parties identified in the certificate of service filed with the Court, including, without

 limitation, all creditors who have filed or recorded pre-petition liens or security interests against

 any of the Debtors' assets (collectively, the "Noticed Parties").

             Upon the record made by the Debtors at the Interim Hearing, including the Motion, and

 the filings and pleadings in the Cases, and good and sufficient cause appearing therefor;

                    THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT

 AND CONCLUSIONS OF LAW:

                    A.     Petition. On February 3, 2009 (the "Petition Date"), each Debtor filed a

 voluntary petition (the "Petition") under Chapter 11 of the Bankruptcy Code. The Debtors



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 continue to operate their businesses and manage their properties as debtors-in-possession

 pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

                B.      Jurisdiction and Venue. The Court has jurisdiction of this proceeding and

 the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334. The Motion

 is a "core" proceeding as defined in 28 U.S.C. §§ 157(b)(2)(A), (D) and (M). Venue of the

 Cases and the Motion in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                C.      Notice. Under the circumstances, the Notice given by the Debtors of the

 Motion, the Interim Hearing and the relief granted under this Order constitutes due and sufficient

 notice thereof and complies with Bankruptcy Rule 4001(c).

                D.      Debtors' Acknowledgments and Agreements. The Debtors admit,

 stipulate, acknowledge and agree that:

                        (i)     Pre-Petition Loan Documents. Prior to the commencement of the

 Cases, Agent and Lenders made loans, advances and provided other financial accommodations to

 Borrower pursuant to the terms and conditions set forth in: (1) the Credit Agreement, dated

 September 28, 2007, by and among Borrower, Subsidiary Loan Parties, Agent and Lenders (as

 the same has heretofore been amended, supplemented, modified, extended, renewed, restated

 and/or replaced at any time prior to the Petition Date, the "Existing Credit Agreement," a copy

 of which is included with the Exhibit Supplement defined below), (2) the ABL Guarantee and

 Collateral Agreement, dated as of September 28, 2007, by and among Borrower, Subsidiary

 Loan Parties and Agent (as the same has heretofore been amended, supplemented, modified,

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 below) and (3) all other agreements, documents and instruments executed and/or delivered with,

 to, or in favor of Agent or any Lender, including, without limitation, all other security

 agreements, notes, guarantees, mortgages, Uniform Commercial Code financing statements, and

 all other related agreements, documents and instruments executed and/or delivered in connection

 therewith or related thereto (all of the foregoing, together with the Existing Credit Agreement, as



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 all of the same have heretofore been amended, supplemented, modified, extended, renewed,

 restated and/or replaced at any time prior to the Petition Date, collectively, the "Pre-Petition

 Loan Documents"). Copies of the operative Pre-Petition Loan Documents are contained in the

 Exhibit Supplement to the Motion (the "Exhibit Supplement").

                        (ii)    Pre-Petition Obligations Amount. As of the Petition Date, the

 aggregate amount of all Revolving Loans,1 Letters of Credit and other Pre-Petition Obligations

 (as defined below) owing by Borrower and the Subsidiary Loan Parties to Agent and Lenders

 under and in connection with the Pre-Petition Loan Documents was not less than

 $168,763,550.82, consisting of Revolving Loans in the amount of $165,763,550.82 and Letters

 of Credit in the amount of $3,000,000, plus interest accrued and accruing thereon, together with

 all costs, fees, expenses (including attorneys' fees and legal expenses) and other charges accrued,

 accruing or chargeable with respect thereto, including without limitation, all monetary

 obligations arising under each Swap Contract (as defined in the Existing Credit Agreement)

 (collectively, and as such term is more fully defined in the Ratification Agreement, the "Pre-

 Petition Obligations"). The Pre-Petition Obligations constitute allowed, legal, valid, binding,

 enforceable and non-avoidable obligations of Debtors, and are not subject to any offset, defense,

 counterclaim, avoidance, recharacterization or subordination pursuant to the Bankruptcy Code or

 any other applicable law, and Debtors do not possess and shall not assert any claim,

 counterclaim, setoff or defense of any kind, nature or description which would in any way affect

 the validity, enforceability and non-avoidability of any of the Pre-Petition Obligations.

                        (iii)   Pre-Petition Collateral. As of the Petition Date, the Pre-Petition

 Obligations were fully secured pursuant to the Pre-Petition Loan Documents by valid, perfected,

 enforceable and non-avoidable first priority security interests and liens granted by Debtors to


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   Capitalized terms used but not otherwise defined in this Order shall have the respective
 meanings ascribed thereto in the Existing Loan Agreement, as amended and ratified by the
 Ratification Agreement.




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 Agent, for the benefit of itself and the other Lenders, upon all of the Pre-Petition Collateral (as

 defined in the Ratification Agreement), subject only to the liens specifically listed on Schedule

 7.01(b) of the Existing Credit Agreement or permitted under Section 7.01 of the Existing Credit

 Agreement to the extent that such security interests, liens or encumbrances are (a) valid,

 perfected and non-avoidable security interests, liens or encumbrances existing as of the Petition

 Date, and (b) senior to and have not been or are subject to being subordinated to Agent's and

 Lenders' liens on and security interests in the Pre-Petition Collateral or otherwise avoided, and,

 in each instance, only for so long as and to the extent that such encumbrances are and remain

 senior and outstanding (hereinafter referred to as the "Permitted Encumbrances"). The Debtors

 do not possess and will not assert any claim, counterclaim, setoff or defense of any kind, nature

 or description which would in any way affect the validity, enforceability and non-avoidability of

 any of Agent's and Lenders' liens, claims or security interests in the Pre-Petition Collateral.

                        (iv)    Proof of Claim. The acknowledgment by Debtors of the Pre-

 Petition Obligations and the liens, rights, priorities and protections granted to or in favor of

 Agent and Lenders as set forth herein and in the Pre-Petition Loan Documents shall be deemed a

 timely filed proof of claim on behalf of Agent and Lenders in these Cases.

                        (v)     Pre-Petition Term Loans. Prior to the commencement of the

 Cases, Goldman Sachs Credit Partners, L.P., as the Administrative Agent, the Collateral Agent

 and the Syndication Agent (
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 Pre-Petition Term Loan Credit Agreement (as defined below) as lenders thereto (
                                                                               the“
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                           )made loans, advances and provided other financial
 Petition Term Loan Lenders”

 accommodations to Borrower pursuant to the terms and conditions set forth in: (1) the Credit

 Agreement, dated March 30, 2007, by and among Borrower, Pre-Petition Term Loan Agent and

 Pre-Petition Term Loan Lenders (as the same has heretofore been amended, supplemented,

 modified, extended, renewed, restated and/or replaced at any time prior to the Petition Date, the

 "Pre-Petition Term Loan Credit Agreement,"), (2) the Guarantee and Collateral Agreement

 dated as of March 30, 2007, by and among Borrower and Pre-Petition Term Loan Agent (as the



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 same has heretofore been amended, supplemented, modified, extended, renewed, restated and/or

 replaced at any time prior to the Petition Date, the “
                                                      Pre-Petition Term Loan Collateral

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      nt”) and (3) all other agreements, documents and instruments executed and/or delivered

 with, to, or in favor of Pre-Petition Term Loan Agent or any Pre-Petition Term Loan Lender,

 including, without limitation, all other security agreements, notes, guarantees, mortgages,

 Uniform Commercial Code financing statements and all other related agreements, documents

 and instruments executed and/or delivered in connection therewith or related thereto (all of the

 foregoing, together with the Pre-Petition Term Loan Credit Agreement and the Pre-Petition Term

 Loan Collateral Agreement, as all of the same have heretofore been amended, supplemented,

 modified, extended, renewed, restated and/or replaced at any time prior to the Petition Date,

 collectively, the "Pre-Petition Term Loan Documents").

                        (vi)    Pre-Petition Term Loan Obligations Amount. As of the Petition

 Date, the aggregate amount of all Term Loans, Letters of Credit and other pre-petition

 obligations owing by Borrower and Subsidiary Loan Parties to Pre-Petition Term Loan Agent

 and Pre-Petition Term Loan Lenders under and in connection with the Pre-Petition Term Loan

 Documents was not less than $1,400,000,000 plus interest accrued and accruing thereon, together

 with all costs, fees, expenses (including attorneys' fees and legal expenses) and other charges

 accrued, accruing or chargeable with respect thereto (collectively, the "Pre-Petition Term Loan

 Obligations").

                        (vii)   Pre-Petition Term Loan Collateral As of the Petition Date, the

 Pre-Petition Term Loan Obligations were secured pursuant to the Pre-Petition Term Loan

 Documents by valid, perfected, enforceable and non-avoidable security interests and liens

 granted by Debtors to Pre-Petition Term Loan Agent, for the benefit of itself and the other Pre-

 Petition Term Loan Lenders, upon all of the Pre-Petition Term Loan Collateral (as defined in the

 Pre-Petition Term Loan Collateral Agreement), including without limitation, junior and

 subordinate liens and security interests in the Pre-Petition Collateral granted in favor of Agent

 and Lenders.



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                         (viii)   Intercreditor Agreement. Agent, on behalf of itself and the other

 Lenders, and in its capacity as collateral agent (in such capacity, "Revolving Collateral Agent")

 and Pre-Petition Term Loan Agent, in its capacity as collateral agent for the Pre-Petition Term

 Loan Lenders (in such capacity, "Term Collateral Agent"), entered into the Intercreditor

 Agreement (the "Intercreditor Agreement"), dated as of September 28, 2007, which sets forth,

 inter alia, the respective rights, obligations and priorities of the claims and interest of the

 Revolving Collateral Agent, Lenders, the Term Collateral Agent, and the Pre-Petition Term Loan

 Lenders and specifically provides, inter alia, that all liens and security interests with respect to all

 ABL Collateral (as defined in the Intercreditor Agreement) securing all obligations and amounts

 owed under the Pre-Petition Term Loan Documents executed in favor of the Term Collateral

 Agent are subordinated, in all respects, to all liens and security interests with respect to all

 collateral securing all obligations and amounts owed to Revolving Collateral Agent and Lenders

 under the Existing Credit Agreement and the Pre-Petition Loan Documents.

                 E.      Findings Regarding the Postpetition Financing.

                         (i)      Postpetition Financing. The Debtors have requested from Agent

 and Lenders, and Agent and Lenders, including the Supplemental Loan Participants, are willing

 to extend, certain loans, advances and other financial accommodations on the terms and

 conditions set forth, in this Order and the Loan Documents (as defined below).

                         (ii)     Need for Post-Petition Financing. The Debtors do not have

 sufficient available sources of working capital, including cash collateral, to operate their

 businesses in the ordinary course of their businesses without the financing requested under the

 Motion. The Debtors' ability to maintain business relationships with their vendors, suppliers and

 customers, to pay their employees, and to otherwise fund their operations is essential to the

 Debtors' continued viability as the Debtors seek to maximize the value of the assets of the

 Estates (as defined below) for the benefit of all creditors of the Debtors. The ability of the

 Debtors to obtain sufficient working capital and liquidity through the proposed post-petition

 financing arrangements with Agent and Lenders as set forth in this Order and the Loan



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 Documents is vital to the preservation and maintenance of the going concern values of the

 Debtors. The Debtors have an immediate need to obtain the post-petition financing in order to,

 among other things, permit the orderly continuation of the operation of their businesses,

 minimize the disruption of their business operations, and preserve and maximize the value of the

 assets of the Debtors' bankruptcy estates (as defined under Section 541 of the Bankruptcy Code,

 the "Estates") in order to maximize the recovery to all creditors of the Estates. Accordingly, the

 relief requested in the Motion is necessary, essential and appropriate for the continued operation

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                   emanagement and preservation of their assets and properties, and

 is in the best interests of the Debtors, their estates and creditors.

                         (iii)   No Credit Available on More Favorable Terms. The Debtors are

 unable to procure financing in the form of unsecured credit allowable under Section 503(b)(1) of

 the Bankruptcy Code, as an administrative expense under Section 364(a) or (b) of the

 Bankruptcy Code, or in exchange for the grant of an administrative expense priority pursuant to

 Section 364(c)(1) of the Bankruptcy Code, without the grant of liens on assets. The Debtors

 have been unable to procure the necessary financing on terms more favorable than the financing

 offered by Agent and Lenders pursuant to the Loan Documents.

                         (iv)    Budget. The Debtors have prepared and delivered to Agent and

 Lenders an initial Budget (as defined in the Ratification Agreement, a copy of which is annexed

 hereto as Exhibit B and is incorporated herein). Such Budget has been thoroughly reviewed by

 the Debtors and their management and sets forth, among other things, the Projected Information

 for the periods covered thereby. The Debtors represent that the Budget is achievable in

 accordance with the terms of the Loan Documents and this Order and will allow the Debtors to

 operate at all times during these Cases without the accrual of unpaid administrative expenses.

 Agent and Lenders are relying upon the Debtors' compliance with the Budget in accordance with

 Section 5.3 of the Ratification Agreement, the other Loan Documents and this Order in

 determining to enter into the post-petition financing arrangements provided for herein.




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                        (v)      Supplemental Loan Participation. As part of the post-petition

 financing arrangements, Agent and each of the Supplemental Loan Participants have entered into

 the Supplemental Loan Junior Participation Agreement (as defined in the Ratification

 Agreement), dated of even date herewith, pursuant to which Supplemental Loan Participants

 have purchased , or will purchase, a 100% junior participation in the Supplemental Loan (as

 defined in the Ratification Agreement).

                        (vi)     Business Judgment and Good Faith Pursuant to Section 364(e).

 The terms of the Loan Documents and this Order are fair, just and reasonable under the

 circumstances, are ordinary and appropriate for secured financing to debtors-in-possession,

 reflect the Debtors' exercise of their prudent business judgment consistent with their fiduciary

 duties, and are supported by reasonably equivalent value and fair consideration. The terms and

 conditions of the Loan Documents and this Order have been negotiated in good faith and at arms'

 length by and among the Debtors, on one hand, and Agent and Lenders, including the

 Supplemental Loan Participants, on the other hand, with all parties being represented by counsel.

 Any credit extended under the terms of this Order shall be deemed to have been extended in

 good faith by Agent and Lenders, including the Supplemental Loan Participants, as that term is

 used in Section 364(e) of the Bankruptcy Code.

                        (vii)    Adequate Protection. As a result of the Loans and Supplemental

 Loans being made by Lenders, the value of the Pre-Petition Collateral and the Pre-Petition Term

 Loan Collateral will be enhanced, protected and preserved for the benefit of all of the Lenders

 and the Pre-Petition Term Loan Lenders. Accordingly, based on the enhanced value of the Pre-

 Petition Collateral together with the grant of the Term Loan Replacement Liens and the Term

 Loan Priority Claims (as each term is defined below), sufficient adequate protection is being

 provided to the extent required under Sections 361, 363 and 364 of the Bankruptcy Code and

 additional adequate protection is not required.

                        (viii)   Good Cause. The relief requested in the Motion is necessary,

 essential and appropriate, and is in the best interest of and will benefit the Debtors, their creditors



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 and their Estates, as its implementation will, among other things, provide the Debtors with the

 necessary liquidity to (a) minimize disruption to the Debtors' businesses and on-going

 operations, (b) preserve and maximize the value of the Debtors' Estates for the benefit of all the

 Debtors' creditors, and (c) avoid immediate and irreparable harm to the Debtors, their creditors,

 their businesses, their employees, and their assets.

                        (ix)    Immediate Entry. Sufficient cause exists for immediate entry of

 this Order pursuant to Bankruptcy Rule 4001(c)(2). No party appearing in the Cases has filed or

 made an objection to the relief sought in the Motion or the entry of this Order, or any objections

 that were made (to the extent such objections have not been withdrawn) are hereby overruled.

                        (x)     Committee. As of the date hereof, the Office of the United States

 Trustee has not appointed an official committee of unsecured creditors.

                Based upon the foregoing, and after due consideration and good cause appearing

 therefor;

                IT IS HEREBY ORDERED, ADJUDGED AND DECREED, that:

 Section 1.     Authorization and Conditions to Financing.

                1.1     Motion Granted. The Motion is granted in accordance with Bankruptcy

 Rule 4001(c)(2) to the extent provided in this Order. This Order shall hereinafter be referred to

 as the "Interim Order."

                1.2     Authorization to Borrow and Use Loan Proceeds. Borrowers are hereby

 authorized and empowered to immediately borrow and obtain Revolving Loans, Supplemental

 Loans and Letters of Credit and to incur indebtedness and obligations owing to Agent and

 Lenders pursuant to the terms and conditions of this Interim Order, the Existing Credit

 Agreement, as ratified and amended by the Ratification Agreement (the "Credit Agreement," as

 such term is more fully defined in the Ratification Agreement), the Existing ABL Collateral

 Agreement, as ratified and amended by the Ratification Agreement (
                                                                  the“
                                                                     ABL Collateral

 Agreement”) and the other Loan Documents, as ratified and amended by the Ratification

 Agreement (the "Loan Documents," as such term is more fully defined in the Ratification



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 Agreement), during the period commencing on the date of this Interim Order through and

 including the date of the Final Hearing as set forth in Section 6 of this Interim Order (the

 "Interim Financing Period"), in such amounts as may be made available to Debtors by Agent

 and Lenders in accordance with all of the lending formulae, sublimits, terms and conditions set

 forth in the Credit Agreement, the ABL Collateral Agreement, the other Loan Documents, the

 Budget and this Interim Order; provided, that, pending entry of a Permanent Financing Order in

 respect of the Motion, the aggregate outstanding amount of such Revolving Loans, Supplemental

 Loans and Letters of Credit shall not at any one time exceed the aggregate principal amount of

 $215,000,000, which amount is inclusive of all Pre-Petition Obligations. Subject to the terms

 and conditions contained in this Interim Order and the Loan Documents, Debtors shall use the

 proceeds of the Revolving Loans, the Supplemental Loans and any other credit accommodations

 provided to Debtors pursuant to this Interim Order, the Credit Agreement or the other Loan

 Documents for, inter alia, the payment of employee salaries, payroll, taxes, and all other

 expenses specified in the Budget, including the fees of the U.S. Trustee, the Clerk of this Court

 and, subject to Section 2.3 of this Interim Order, Allowed Professional Fees (as defined below).



                1.3    Loan Documents

                       1.3.1 Authorization. Debtors are hereby authorized and directed to enter

 into, execute, deliver, perform, and comply with all of the terms, conditions and covenants of the

 Credit Agreement, the ABL Collateral Agreement the other Loan Documents and all other

 agreements, documents and instruments executed or delivered in connection with or related to

 the Credit Agreement, the other Loan Documents, or this Interim Order, including, without

 limitation, the Ratification Agreement, pursuant to which, inter alia, each Debtor ratifies,

 reaffirms, extends, assumes, adopts, amends, and restates the Existing Credit Agreement, the

 Existing ABL Collateral Agreement and the other Pre-Petition Loan Documents to which it is a

 party, including, without limitation, each of the Blocked Account Agreements, by and among




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 Debtors, Blocked Account Banks and Agent (as amended, the "Blocked Account Agreements"),

 copies of which are included with the Exhibit Supplement, and each of the Swap Contracts.

                       1.3.2 Approval. The Loan Documents (including, without limitation, the

 Credit Agreement and the ABL Collateral Agreement), the Supplemental Loan Junior

 Participation Agreement, and each term set forth therein are approved to the extent necessary to

 implement the terms and provisions of this Interim Order. All of such terms, conditions and

 covenants shall be sufficient and conclusive evidence of the borrowing arrangements by and

 among Debtors, Agent and Lenders, and of each Debtor's assumption and adoption of all of the

 terms, conditions, and covenants of the Credit Agreement, the ABL Collateral Agreement, the

 other Loan Documents, and the Supplemental Loan Junior Participation Agreement for all

 purposes, including, without limitation, to the extent applicable, the payment of all Obligations

 arising thereunder, including, without limitation, all principal, interest, commissions, letter of

 credit fees, agency and collateral monitoring fees, unused line fees, DIP facility fee, arrangement

 fees, Supplemental Loan fees (including, without limitation, any such fees set forth in Section 9

 of the Ratification Agreement), and other fees and expenses, including, without limitation, all of

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 attorney fees and legal expenses, as more fully set forth in the Loan Documents.

                       1.3.3 Amendment. Subject to the terms and conditions of the Credit

 Agreement, the ABL Collateral Agreement and the other Loan Documents, Debtors, Agent and

 Lenders may amend, modify, supplement or waive any provision of the Loan Documents (an

 "Amendment") without further approval or order of the Court so long as (i) such Amendment is

 not material (for purposes hereof, a "material" Amendment shall mean any Amendment that

 operates to increase the interest rate other than as currently provided in the Loan Documents,

 increase the a
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 specific new events of default or enlarge the nature and extent of default remedies available to

 the Agent and Lenders following an event of default, or otherwise modify any terms and

 conditions in any Loan Document in a manner materially less favorable to Debtors) and is



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 undertaken in good faith by Agent, Lenders and Debtors; (ii) the Debtors provide prior written

 notice of the Amendment (the "Amendment Notice") to (w) the U.S. Trustee, (x) counsel to the

 Pre-Petition Term Loan Lenders, (y) counsel to the Supplemental Loan Participants, and (z)

 counsel to any official committee appointed in the Cases under Section 1102 of the Bankruptcy

 Code (collectively, the "Committee(s)"), or in the event no such Committee is appointed at the

 time of such Amendment, the 20 Largest Unsecured Creditors; (iii) the Debtors file the

 Amendment Notice with the Court; and (iv) no objection to the Amendment is filed with the

 Court within two (2) business days from the later of the date the Amendment Notice is served or

 the date the Amendment Notice is filed with the Court in accordance with this Section. Any

 material Amendment to the Loan Documents must be approved by the Court to be effective.

                1.4    Payment of Prepetition Debt. The Debtors are authorized to pay Agent

 and Lenders in respect of all Pre-Petition Obligations in accordance with the Loan Documents

 and Sections 1.5 and 1.6 of this Interim Order.

                1.5    Payments and Application of Payments. The Debtors are authorized and

 directed to make all payments and transfers of Estate property to Agent and Lenders as provided,

 permitted and/or required under the Credit Agreement, the ABL Collateral Agreement and the

 other Loan Documents, which payments and transfers, subject to Section 4.1 herein, shall not be

 avoidable or recoverable from Agent or any Lender under Section 547, 548, 550, 553 or any

 other Section of the Bankruptcy Code, or any other claim, charge, assessment, or other liability,

 whether by application of the Bankruptcy Code, other law or otherwise. All proceeds of the

 Collateral received by Agent or Lenders, and any other amounts or payments received by Agent

 or Lenders in respect of the Obligations, shall be applied or deemed to be applied by Agent and

 Lenders in accordance with the Credit Agreement, the ABL Collateral Agreement, the other

 Loan Documents and this Interim Order, first to the Pre-Petition Obligations, until such Pre-

 Petition Obligations are indefeasibly paid in full and completely satisfied, and then to the Post-

 Petition Obligations. Without limiting the generality of the foregoing, the Debtors are authorized

 and directed, without further order of this Court, to pay or reimburse Agent, Lenders and



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 Supplemental Loan Participants for all present and future costs and expenses, including, without

 limitation, all professional fees, consultant fees and legal fees and expenses paid or incurred by

 Agent, Lenders and Supplemental Loan Participants in connection with the financing

 transactions as provided in this Interim Order and the Loan Documents, all of which shall be and

 are included as part of the principal amount of the Obligations and secured by the Collateral.

                1.6     Continuation of Prepetition Procedures. All pre-petition practices and

 procedures for the payment and collection of proceeds of the Collateral, the turnover of cash, the

 delivery of property to Agent and Lenders and the funding pursuant to the Loan Documents,

 including the Blocked Account Agreement, any other similar lockbox or blocked depository

 bank account arrangements, and the Swap Contracts are hereby approved and shall continue

 without interruption after the commencement of the Cases.

 Section 2.     Postpetition Lien; Superpriority Administrative Claim Status.

                2.1     Post-Petition Lien.

                        2.1.1 Post-Petition Lien Granting. To secure the prompt payment and

 performance of any and all Post-Petition Obligations (and upon entry of the Permanent

 Financing Order, any and all Obligations, including, without limitation, all Pre-Petition

 Obligations and Post-Petition Obligations of Debtors to Agent and Lenders of whatever kind,

 nature or description, absolute or contingent, now existing or hereafter arising, Agent, for the

 benefit of itself and the other Lenders, including the Supplemental Loan Participants, shall have

 and is hereby granted, effective as of the Petition Date, valid and perfected first priority security

 interests and liens, superior to all other liens, claims or security interests that any creditor of the

 Debtors' Estates may have (but subject to certain claims entitled to priority, including the

 Permitted Liens and Claims (as defined below), as and to the extent expressly provided in

 Section 2.1.2 below), in and upon all of the Pre-Petition Collateral and the Post-Petition

 Collateral (as defined in the Ratification Agreement). The Pre-Petition Collateral and the Post-

 Petition Collateral are collectively referred to herein as the "Collateral." Notwithstanding the

 foregoing or anything to the contrary contained in the Credit Agreement and/or the ABL



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 Collateral Agreement, Agent's and Lenders' liens on and security interests in avoidance actions

 brought under Sections 542, 545, 547, 548, 549 or 550 of the Bankruptcy Code shall secure Post-

 Petition Obligations upon the entry of this Interim Order and all other Obligations upon the entry

 of a Permanent Financing Order. In accordance with Sections 552(b) and 361 of the Bankruptcy

 Code, the value, if any, in any of the Collateral, in excess of the amount of Obligations secured

 by such Collateral after satisfaction of the Post-Petition Obligations of Debtors to Agent and

 Lenders, shall constitute additional security for the repayment of the Pre-Petition Obligations and

 adequate protection for the use by Debtors, and the diminution in the value, of the Collateral

 existing on the Petition Date.

                        2.1.2 Lien Priority. The pre-petition and post-petition liens and security

 interests of Agent and Lenders granted under the Loan Documents and this Interim Order in the

 Collateral shall be and shall continue to be first and senior in priority to all other interests and

 liens of every kind, nature and description, whether created consensually, by an order of the

 Court or otherwise, including, without limitation, liens or interests granted in favor of third

 parties in conjunction with Section 363, 364 or any other Section of the Bankruptcy Code or

 other applicable law; provided, however, that Agent's and Lenders' liens on and security interests

 in the Collateral shall be subject only to (i) the Permitted Encumbrances and (ii) the Carve Out

 Expenses (as defined below) solely to the extent provided for in Sections 2.3, 2.4 and 2.5 of this

 Interim Order (the foregoing clauses (i) and (ii) are collectively referred to herein as the

 "Permitted Liens and Claims").

                        2.1.3 Post-Petition Lien Perfection.        This Interim Order shall be

 sufficient and conclusive evidence of the priority, perfection and validity of the post-petition

 liens and security interests granted herein, effective as of the Petition Date, without any further

 act and without regard to any other federal, state or local requirements or law requiring notice,

 filing, registration, recording or possession of the Collateral, or other act to validate or perfect

 such security interest or lien, including without limitation, control agreements with the Blocked

 Account Banks or with any other financial institution(s) holding a Blocked Account or other



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 depository account consisting of Collateral (a "Perfection Act"). Notwithstanding the foregoing,

 if Agent shall, in its sole discretion, elect for any reason to file, record or otherwise effectuate

 any Perfection Act, Agent is authorized to perform such act, and the Debtors are authorized and

 directed to perform such act to the extent necessary or required by Agent, which act or acts shall

 be deemed to have been accomplished as of the date and time of entry of this Interim Order

 notwithstanding the date and time actually accomplished, and in such event, the subject filing or

 recording office is authorized to accept, file or record any document in regard to such act in

 accordance with applicable law. Agent and Lenders may choose to file, record or present a

 certified copy of this Interim Order in the same manner as a Perfection Act, which shall be

 tantamount to a Perfection Act, and, in such event, the subject filing or recording office is

 authorized to accept, file or record such certified copy of this Interim Order in accordance with

 applicable law. Should Agent so choose and attempt to file, record or perform a Perfection Act,

 no defect or failure in connection with such attempt shall in any way limit, waive or alter the

 validity, enforceability, attachment, or perfection of the post-petition liens and security interests

 granted herein by virtue of the entry of this Interim Order.

                        2.1.4 Nullifying Pre-Petition Restrictions to Post-Petition Financing.

 Notwithstanding anything to the contrary contained in any pre-petition agreement, contract,

 lease, document, note or instrument to which any Debtor is a party or under which any Debtor is

 obligated, except as otherwise permitted under the Loan Documents, any provision that restricts,

 limits or impairs in any way any Debtor from granting Agent and Lenders security interests in or

 liens upon any of the Debtors' assets or properties (including, among other things, any anti-lien

 granting or anti-assignment clauses in any leases or other contractual arrangements to which any

 Debtor is a party) under the Credit Agreement, the ABL Collateral Agreement, the other Loan

 Documents or this Interim Order, or otherwise entering into and complying with all of the terms,

 conditions and provisions hereof or the Loan Documents shall not (i) be effective and/or

 enforceable against any such Debtor(s), Agent and Lenders, or (ii) adversely affect the validity,

 priority or enforceability of the liens, security interests, claims, rights, priorities and/or



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 protections granted to Agent and Lenders pursuant to this Interim Order or the Loan Documents

 to the maximum extent permitted under the Bankruptcy Code and other applicable law.

                    2.2    Superpriority Administrative Expense. For all Post-Petition Obligations

 (and, upon entry of a Permanent Financing Order, for all Obligations, including, without

 limitation, all Pre-Petition Obligations and all Post-Petition Obligations) now existing or

 hereafter arising pursuant to this Interim Order, the Loan Documents or otherwise, Agent, for the

 benefit of itself and the other Lenders, including the Supplemental Loan Participants, is granted

 an allowed superpriority administrative claim pursuant to Section 364(c)(1) of the Bankruptcy

 Code, having priority in right of payment over any and all other obligations, liabilities and

 indebtedness of Debtors, whether now in existence or hereafter incurred by Debtors, and over

 any and all administrative expenses or priority claims of the kind specified in, or ordered

 pursuant to, inter alia Sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b), 364(c)(1),

 546(c), 726 or 1114 of the Bankruptcy Code (the "Superpriority Claim"), provided, however, the

 Superpriority Claim shall be subject only to the Permitted Liens and Claims as and to the extent

 expressly set forth in this Interim Order.

                    2.3    Carve Out Expenses.

                           2.3.1 Carve Out Expenses.        Upon the declaration by Agent of the

 occurrence of an Event of Default (
                                   the“             )
                                      Default Notice”, Agent's and Lenders' liens, claims and

 security interests in the Collateral and their Superpriority Claim shall be subject only to the right

 of payment of the following expenses (the "Carve Out Expenses"):

                                   a.     statutory fees payable to the U.S. Trustee pursuant to

             28 U.S.C. § 1930(a)(6);

                                   b.     fees payable to the Clerk of this Court; and

                                   c.     subject to the terms and conditions of this Interim Order,

             the unpaid and outstanding reasonable fees and expenses actually incurred on or after the

             date the Default Notice is issued by Agent, and approved by a final order of the Court

             pursuant to Sections 326, 328, 330, or 331 of the Bankruptcy Code (collectively, the



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             "Allowed Professional Fees"), by attorneys, accountants and other professionals retained

             by the Debtors and any Committee(s) under Section 327 or 1103(a) of the Bankruptcy

             Code (collectively, the "Professionals"), less the amount of any retainers, if any, then

             held by such Professionals, in a cumulative, aggregate sum not to exceed $3,000,000 (the

             "Professional Fee Carve Out").

                           2.3.2 Excluded Professional Fees.       Notwithstanding anything to the

 contrary in this Interim Order, neither the Professional Fee Carve Out nor the proceeds of any

 Revolving Loans, Supplemental Loans, Letters of Credit or Collateral shall be used to pay any

 Allowed Professional Fees or any other fees or expenses incurred by any Professional in

 connection with any of the following: (a) an assertion or joinder in (but excluding any

 investigation into) any claim, counter-claim, action, proceeding, application, motion, objection,

 defense or other contested matter seeking any order, judgment, determination or similar relief:

 (i) challenging the legality, validity, priority, perfection, or enforceability of the Obligations or

 Agent's and Lenders' liens on and security interests in the Collateral, (ii) invalidating, setting

 aside, avoiding or subordinating, in whole or in part, the Obligations or Agent's and Lenders'

 liens on and security interests in the Collateral, or (iii) preventing, hindering or delaying Agent's

 or Lenders' assertion or enforcement of any lien, claim, right or security interest or realization

 upon any Collateral in accordance with the terms and conditions of this Interim Order, (b) a

 request to use the Cash Collateral (as such term is defined in Section 363 of the Bankruptcy

 Code) without the prior written consent of Agent in accordance with the terms and conditions of

 this Interim Order, (c) a request for authorization to obtain Debtor-in-Possession financing or

 other financial accommodations pursuant to Section 364(c) or Section 364(d) of the Bankruptcy

 Code, other than from Agent or Lenders, without the prior written consent of Agent, (d) the

 commencement or prosecution of any action or proceeding of any claims, causes of action or

 defenses against Agent, any Lender or any of their respective officers, directors, employees,

 agents, attorneys, affiliates, successors or assigns, including, without limitation, any attempt to

 recover or avoid any claim or interest from Agent or any Lender under Chapter 5 of the



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 Bankruptcy Code, or (e) any act which has or could have the effect of materially and adversely

 modifying or compromising the rights and remedies of Agent or any Lender, or which is

 contrary, in a manner that is material and adverse to Agent or any Lender, to any term or

 condition set forth in or acknowledged by the Loan Documents or this Interim Order and which

 results in the occurrence of an Event of Default under the Loan Documents or this Interim Order

 provided however, no more than $50,000 of the proceeds of post-petition Revolving Loans and

 Supplemental Loans may be used by the Committee to conduct the investigation permitted by

 Section 4.1 herein.

                2.4    Carve Out Reserve. At Agent's sole discretion, Agent may, at any time

 and in any increment in accordance with the Credit Agreement, establish a Reserve against the

 amount of Revolving Loans, Supplemental Loans or other credit accommodations that would

 otherwise be made available to Debtors pursuant to the lending formulae contained in the Credit

 Agreement in respect of the Professional Fee Carve Out and the other Carve Out Expenses.

                2.5    Payment of Carve Out Expenses.

                       2.5.1 So long as the Agent has not issued a Default Notice, Debtors shall

 be permitted to pay Allowed Professional Fees of the Professionals in accordance with the

 Budget and any such amounts paid prior the delivery of such Default Notice shall not reduce the

 Professional Fee Carve-Out.

                       2.5.2 Any payment or reimbursement made either directly by Agent or

 any Lender at any time, or by or on behalf of the Debtors on or after the occurrence of an Event

 of Default, in respect of any Allowed Professional Fees or any other Carve Out Expenses

 (exclusive of the application of any retainers by any of the Professionals) shall, in either case,

 permanently reduce the Professional Fee Carve Out on a dollar-for-dollar basis. Agent's and

 Lenders' obligation to fund or otherwise pay the Professional Fee Carve Out and the other Carve

 Out Expenses shall be added to and made a part of the Obligations, secured by the Collateral,

 and entitle Agent and Lenders to all of the rights, claims, liens, priorities and protections under

 this Interim Order, the Loan Documents, the Bankruptcy Code or applicable law. Payment of



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 any Carve Out Expenses, whether by or on behalf of Agent or any Lender, shall not and shall not

 be deemed to reduce the Obligations, and shall not and shall not be deemed to subordinate any of

 Agent's and Lenders' liens and security interests in the Collateral or their Superpriority Claim to

 any junior pre- or post-petition lien, interest or claim in favor of any other party. Except as

 otherwise provided herein with respect to the Professional Fee Carve and the other Carve Out

 Expenses, Agent and Lenders shall not, under any circumstance, be responsible for the direct

 payment or reimbursement of any fees or disbursements of any Professionals incurred in

 connection with the Cases under any chapter of the Bankruptcy Code, and nothing in Section 2.3,

 2.4 or 2.5 of this Interim Order shall be construed to obligate Agent or any Lender in any way, to

 pay compensation to or to reimburse expenses of any Professional, or to ensure that the Debtors

 have sufficient funds to pay such compensation or reimbursement.

                2.6    Section 507(b) Priority. To the extent Agent's and Lenders' liens on and

 security interests in the Collateral or any other form of adequate protection of Agent's and

 Lenders' interests is insufficient to pay indefeasibly in full all Obligations, Agent and Lenders

 shall also have the priority in payment afforded by Section 507(b) to the extent of any such

 deficiency.

                2.7    Adequate Protection in Respect of the Pre-Petition Term Loan

 Obligations.

                       2.7.1 Replacement Liens. Subject to the terms and conditions of this

 Interim Order, Debtors shall be and are hereby authorized to use the Pre-Petition Term Loan

 Collateral subject to the liens and security interests of the Pre-Petition Term Loan Agent and Pre-

 Petition Term Loan Lenders securing the Pre-Petition Term Loan Obligations. As adequate

 protection for the use of such collateral, to the extent of any diminution in the value of their

 respective liens on and security interests in such Pre-Petition Term Loan Collateral from and

 after the Petition Date which secure the Pre-Petition Term Loan Obligations, Pre-Petition Term

 Loan Agent, for the benefit of itself and Pre-Petition Term Loan Lenders is hereby granted,

 pursuant to Section 361 of the Bankruptcy Code and subject to the terms and conditions of this



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 Section 2.7.1, a replacement lien on and security interest in all of the Pre-Petition Term Loan

 Collateral and all of the Collateral securing the Obligations due Agent and Lenders, which, for

 purposes of this Interim Order shall exclude the Avoidance Actions (the "Term Loan

 Replacement Liens"). Notwithstanding anything to the contrary contained herein or otherwise,

 the Term Loan Replacement Liens of Pre-Petition Term Loan Agent and Pre-Petition Term Loan

 Lenders shall be junior and subordinate in all respects to (i) the right of payment of all

 Obligations (including the Supplemental Loans) owing to Agent and Lenders, (ii) the liens and

 security interests granted to Agent and Lenders pursuant to this Interim Order and (iii) all Carve-

 Out Expenses (including, without limitation, the Professional Fee Carve-Out); provided, that Pre-

 Petition Term Loan Agent and the Pre-Petition Term Loan Lenders shall have no right to seek or

 exercise any rights or remedies in respect of the Term Loan Replacement Liens (whether in these

 Chapter 11 Cases or any subsequently converted case(s)) until all Obligations (including the

 Supplemental Loans) owing to Agent and Lenders have been indefeasibly paid and satisfied in

 full in accordance with the Credit Agreement, the ABL Collateral Agreement, the other Loan

 Documents and this Interim Order.

                       2.7.2 Section 507(b) Priority Claim.        To the extent the Term Loan

 Replacement Liens are insufficient to adequately protect against the diminution in the value of its

 lien on and security interest in the Pre-Petition Term Loan Collateral existing as of the Petition

 Date which secure the Pre-Petition Term Loan Obligations, Pre-Petition Term Loan Agent, for

 the benefit of itself and Pre-Petition Term Loan Lenders shall also have, subject to the terms and

 conditions of this section 2.7.2, the priority in payment afforded by Bankruptcy Code section

 507(b) in an amount equal to the amount by which such diminution exceeds the value of the

 Term Loan Replacement Lien (the "Term Loan Priority Claim"). Notwithstanding anything to

 the contrary contained herein or otherwise, the Term Loan Priority Claim of Pre-Petition Term

 Loan Agent, for the benefit of itself and Pre-Petition Term Loan Lenders shall be junior and

 subordinate in all respects to (i) the right of payment of all Obligations (including the

 Supplemental Loans) owing to Agent and Lenders, (ii) the Superpriority Claim granted in favor



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 of Agent and Lenders pursuant to this Interim Order and (iii) all Carve-Out Expenses (including,

 without limitation, the Professional Fee Carve-Out); provided, that, Pre-Petition Term Loan

 Agent and the Pre-Petition Term Loan Lenders shall have no right to seek or exercise any rights

 or remedies in respect of the Term Loan Priority Claims (whether in these Chapter 11 Cases or

 any subsequently converted case(s)) until all Obligations (including the Supplemental Loans)

 owing to Agent and Lenders have been indefeasibly paid and satisfied in full in accordance with

 the Loan Documents and this Interim Order.

 Section 3.     Default; Rights and Remedies; Relief from Stay.

                3.1    Events of Default. The occurrence of any of the following events shall

 constitute an "Event of Default" under this Interim Order:

                       a.      Any Debtor's failure to perform, in any respect, any of the terms,

 conditions or covenants or their obligations under this Interim Order; or

                       b.      An "Event of Default" under the Credit Agreement, the ABL

 Collateral Agreement or any of the other Loan Documents.

                3.2    Rights and Remedies Upon Event of Default. Upon the occurrence of and

 during the continuance of an Event of Default, (i) the Debtors shall be bound by all restrictions,

 prohibitions and other terms as provided in this Interim Order, the Credit Agreement, the ABL

 Collateral Agreement and the other Loan Documents, and (ii) Agent shall be entitled to take any

 act or exercise any right or remedy (subject to Section 3.4 below) as provided in this Interim

 Order or any Loan Document, including, without limitation, declaring all Obligations

 immediately due and payable, accelerating the Obligations, ceasing to extend Revolving Loans,

 Supplemental Loans or provide or arrange for Letters of Credit on behalf of Debtors, setting off

 any Obligations with Collateral or proceeds in Agent's possession, and enforcing any and all

 rights with respect to the Collateral. Agent and Lenders shall have no obligation to lend or

 advance any additional funds to or on behalf of Debtors, or provide any other financial

 accommodations to Debtors, immediately upon or after the occurrence of an Event of Default or




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 upon the occurrence of any act, event, or condition that, with the giving of notice or the passage

 of time, or both, would constitute an Event of Default.

                3.3     Expiration of Commitment. Upon the expiration of Borrowers' authority

 to borrow and obtain other credit accommodations from Agent and Lenders pursuant to the terms

 of this Interim Order and the Loan Documents (except if such authority shall be extended with

 the prior written consent of Agent, which consent shall not be implied or construed from any

 action, inaction or acquiescence by Agent or any Lender), unless an Event of Default set forth in

 Section 3.1 above occurs sooner and the automatic stay has been lifted or modified pursuant to

 Section 3.4 of this Interim Order, all of the Obligations shall immediately become due and

 payable and Agent and Lenders shall be automatically and completely relieved from the effect of

 any stay under Section 362 of the Bankruptcy Code, any other restriction on the enforcement of

 its liens upon and security interests in the Collateral or any other rights granted to Agent and

 Lenders pursuant to the terms and conditions of the Loan Documents or this Interim Order, and

 Agent, acting on behalf of itself and the other Lenders, shall be and is hereby authorized, in its

 sole discretion, to take any and all actions and remedies provided to it in this Interim Order, the

 Loan Documents or applicable law which Agent may deem appropriate and to proceed against

 and realize upon the Collateral or any other property of the Debtors' Estates.

                3.4     Relief from Automatic Stay. The automatic stay provisions of Section 362

 of the Bankruptcy Code and any other restriction imposed by an order of the Court or applicable

 law are hereby modified and vacated without further notice, application or order of the Court to

 the extent necessary to permit Agent and Lenders to perform any act authorized or permitted

 under or by virtue of this Interim Order or the Loan Documents, including, without limitation, (a)

 to implement the post-petition financing arrangements authorized by this Interim Order and

 pursuant to the terms of the Loan Documents, (b) to take any act to create, validate, evidence,

 attach or perfect any lien, security interest, right or claim in the Collateral, and (c) to assess,

 charge, collect, advance, deduct and receive payments with respect to the Obligations, including,

 without limitation, all interests, fees, costs and expenses permitted under the Loan Documents,



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 and apply such payments to the Obligations pursuant to the Loan Documents and this Interim

 Order. In addition, and without limiting the foregoing, upon the occurrence of an Event of

 Default and after providing five (5) business days prior written notice (the "Enforcement

 Notice") to counsel for the Debtors, counsel for the Pre-Petition Term Loan Agent, counsel for

 the Supplemental Loan Junior Participants, counsel for the Committee (if appointed), and the

 U.S. Trustee, Agent, acting on behalf of itself and the other Lenders, shall be entitled to take any

 action and exercise all rights and remedies provided to it by this Interim Order, the Loan

 Documents or applicable law as Agent may deem appropriate in its sole discretion to, among

 other things, proceed against and realize upon the Collateral or any other assets or properties of

 Debtors' Estates upon which Agent, for the benefit of itself and the other Lenders, has been or

 may hereafter be granted liens or security interests to obtain the full and indefeasible repayment

 of all Obligations.

 Section 4.     Representations; Covenants; and Waivers.

                4.1     Objections to Pre-Petition Obligations.       Any action, claim or defense

 (hereinafter, an "Objection") that seeks to object to, challenge, contest or otherwise invalidate or

 reduce, whether by setoff, recoupment, counterclaim, deduction, disgorgement or claim of any

 kind: (a) the existence, validity or amount of the Pre-Petition Obligations, (b) the extent, legality,

 validity, perfection or enforceability of Agent's and Lenders' pre-petition liens and security

 interests in the Pre-Petition Collateral, or (c) Agent's and Lenders' right to apply proceeds of

 Post-Petition Collateral against Pre-Petition Obligations in satisfaction of Agent's and Lenders'

 pre-petition liens as provided for in this Interim Order (provided however, that the only grounds

 for such Objection is that the Pre-Petition Obligations were not fully secured by the Pre-Petition

 Collateral as of the Petition Date and such application unduly advantaged Agent and Lenders as

 against other similarly situated creditors of the Debtors' Estates), shall be filed with the Court (x)

 by any Committee, and no other party, within sixty (60) calendar days from the date of

 appointment of the Committee by the U.S. Trustee, or (y) in the event no Committee is appointed

 within the thirty (30) days following the Petition Date, by any party in interest with requisite



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 standing within seventy-five (75) calendar days from the date of entry of this Interim Order. If

 any such Objection is timely filed and successfully pursued, nothing in this Interim Order shall

 prevent the Court from granting appropriate relief with respect to the Pre-Petition Obligations or

 Agent's and Lenders' liens on the Pre-Petition Collateral. If no Objection is timely filed, or if an

 Objection is timely filed but denied, (a) the Pre-Petition Obligations shall be deemed allowed in

 full, shall not be subject to any setoff, recoupment, counterclaim, deduction or claim of any kind,

 and shall not be subject to any further objection or challenge by any party at any time, and

 Agent's and Lenders' pre-petition liens on and security interest in the Pre-Petition Collateral shall

 be deemed legal, valid, perfected, enforceable, and non-avoidable for all purposes and of first

 and senior priority, subject to only the Permitted Liens and Claims, and (b) Agent, Lenders and

 each of their respective participants, agents, officers, directors, employees, attorneys,

 professionals, successors, and assigns shall be deemed released and discharged from any and all

 claims and causes of action related to or arising out of the Pre-Petition Loan Documents and

 shall not be subject to any further objection or challenge by any party at any time. Nothing

 contained in this Section 4.1 or otherwise shall or shall be deemed or construed to impair,

 prejudice or waive any rights, claims or protections afforded to Agent and Lenders in connection

 with all post-petition Revolving Loans, Supplemental Loans and Letters of Credit and other

 financial and credit accommodations provided by Agent and Lenders to Debtors in reliance on

 Section 364(e) of the Bankruptcy Code and in accordance with the terms and provisions of this

 Interim Order and the Loan Documents.

                4.2     Debtors' Waivers. At all times during the Cases, and whether or not an

 Event of Default has occurred, the Debtors irrevocably waive any right that they may have to

 seek authority (i) to use Cash Collateral of Agent and Lenders under Section 363 of the

 Bankruptcy Code, (ii) to obtain post-petition loans or other financial accommodations pursuant

 to Section 364(c) or 364(d) of the Bankruptcy Code, other than from Agent, Lenders and

 Supplemental Loan Participants or as may be otherwise expressly permitted pursuant to the

 Credit Agreement, (iii) to challenge the application of any payments authorized by this Interim



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 Order as pursuant to Section 506(b) of the Bankruptcy Code, or to assert that the value of the

 Pre-Petition Collateral is less than the Pre-Petition Obligations, (iv) to propose, support or have a

 plan of reorganization or liquidation that does not provide for the indefeasible payment in cash in

 full and satisfaction of all Obligations (including, without limitation, the Supplemental Loans) on

 the effective date of such plan in accordance with the terms and conditions set forth in the

 Ratification Agreement, or (v) to seek relief under the Bankruptcy Code, including without

 limitation, under Section 105 of the Bankruptcy Code, to the extent any such relief would in any

 way restrict or impair the rights and remedies of Agent and Lenders as provided in this Interim

 Order and the Loan Documents or Agent's and Lenders' exercise of such rights or remedies;

 provided, however, that Agent may otherwise consent in writing, but no such consent shall be

 implied from any other action, inaction, or acquiescence by Agent or any Lender.

                 4.3     Section 506(c) Claims. No costs or expenses of administration which

 have or may be incurred in the Cases at any time during the Interim Financing Period (and

 subject to the entry of a Permanent Financing Order, any time after the expiration of the Interim

 Financing Period) shall be charged against Agent or any Lender, their respective claims or the

 Collateral pursuant to Section 506(c) of the Bankruptcy Code without the prior written consent

 of Agent, and no such consent shall be implied from any other action, inaction or acquiescence

 by Agent or any Lender.

                 4.4     Collateral Rights. Until all of the Obligations shall have been indefeasibly

 paid and satisfied in full:

                         4.4.1 no other party shall foreclose or otherwise seek to enforce any

 junior lien or claim in any Collateral; and

                         4.4.2 upon and after the occurrence of an Event of Default, and subject

 to Agent obtaining relief from the automatic stay as provided for herein, in connection with a

 liquidation of any of the Collateral, Agent (or any of its employees, agents, consultants,

 contractors or other professionals) shall have the right, at the sole cost and expense of Debtors,

 to: (i) enter upon, occupy and use any real or personal property, fixtures, equipment, leasehold



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 interests or warehouse arrangements owned or leased by Debtors and (ii) use any and all

 trademarks, tradenames, copyrights, licenses, patents or any other similar assets of Debtors,

 which are owned by or subject to a lien of any third party and which are used by Debtors in their

 businesses. Agent and Lenders will be responsible for the payment of any applicable fees,

 rentals, royalties or other amounts due such lessor, licensor or owner of such property for the

 period of time that Agent actually uses the equipment or the intellectual property (but in no event

 for any accrued and unpaid fees, rentals or other amounts due for any period prior to the date that

 Agent actually occupies or uses such assets or properties).

                4.5     Release. Upon the earlier of (a) the entry of a Permanent Financing Order

 approving the Motion or (b) the entry of an Order extending the Interim Financing Period

 beyond thirty (30) calendar days after the date of this Interim Order, and in each instance, subject

 to Section 4.1 above, in consideration of Agent and Lenders making post-petition loans,

 advances and providing other credit and financial accommodations to the Debtors pursuant to the

 provisions of the Loan Documents and this Interim Order, each Debtor, on behalf of itself and its

 successors and assigns, (collectively, the "Releasors"), shall, forever release, discharge and

 acquit Agent, each Lender and their respective participants, officers, directors, agents, attorneys

 and predecessors-in-interest (collectively, the "Releasees") of and from any and all claims,

 demands, liabilities, responsibilities, disputes, remedies, causes of action, indebtedness and

 obligations, of every kind, nature and description, including, without limitation, any so-called

 "lender liability" claims or defenses, that Releasors had, have or hereafter can or may have

 against Releasees as of the date hereof, in respect of events that occurred on or prior to the date

 hereof with respect to the Debtors, the Pre-Petition Obligations, the Loan Documents and any

 Revolving Loans, Supplemental Loans, Letters of Credit or other financial accommodations

 made by Agent and Lenders to Debtors pursuant to the Loan Documents. In addition, upon the

 repayment of all Obligations owed to Agent and Lenders by Debtors and termination of the

 rights and obligations arising under the Loan Documents and either a Permanent Financing

 Order or extended Interim Order, as the case may be (which payment and termination shall be on



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 terms and conditions acceptable to Agent), Agent, Lenders and Supplemental Loan Participants

 shall be released from any and all obligations, liabilities, actions, duties, responsibilities and

 causes of action arising or occurring in connection with or related to the Loan Documents or the

 applicable Financing Order (including without limitation any obligation or responsibility

 (whether direct or indirect, absolute or contingent, due or not due, primary or secondary,

 liquidated or unliquidated) to pay or otherwise fund the Carve-Out Expenses), on terms and

 conditions acceptable to Agent.

 Section 5.     Other Rights and Obligations.

                5.1     No Modification or Stay of This Interim Order. Notwithstanding (i) any

 stay, modification, amendment, supplement, vacating, revocation or reversal of this Interim

 Order, the Loan Documents or any term hereunder or thereunder, (ii) the failure to obtain a

 Permanent Financing Order pursuant to Bankruptcy Rule 4001(c)(2), or (iii) the dismissal or

 conversion of one or more of the Cases (each, a "Subject Event"), (x) the acts taken by Agent,

 Lenders and Supplemental Loan Participants in accordance with this Interim Order, and (y) the

 Post-Petition Obligations incurred or arising prior to Agent's actual receipt of written notice from

 Debtors expressly describing the occurrence of such Subject Event shall, in each instance, be

 governed in all respects by the original provisions of this Interim Order, and the acts taken by

 Agent, Lenders and Supplemental Loan Participants in accordance with this Interim Order, and

 the liens granted to Agent and Lenders in the Collateral, and all other rights, remedies,

 privileges, and benefits in favor of Agent, Lenders and Supplemental Loan Participants pursuant

 to this Interim Order and the Loan Documents shall remain valid and in full force and effect

 pursuant to Section 364(e) of the Bankruptcy Code. For purposes of this Interim Order, the term

 "appeal", as used in Section 364(e) of the Bankruptcy Code, shall be construed to mean any

 proceeding for reconsideration, amending, rehearing, or re-evaluating this Interim Order by this

 Court or any other tribunal.

                5.2     Power to Waive Rights; Duties to Third Parties. Agent and Lenders shall

 have the right to waive any of the terms, rights and remedies provided or acknowledged in this



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 Interim Order in respect of Agent and Lenders (the "Lender Rights"), and shall have no

 obligation or duty to any other party with respect to the exercise or enforcement, or failure to

 exercise or enforce, any Lender Right(s). Any waiver by Agent or any Lender of any Lender

 Rights shall not be or constitute a continuing waiver. Any delay in or failure to exercise or

 enforce any Lender Right shall neither constitute a waiver of such Lender Right, subject Agent

 or any Lender to any liability to any other party, nor cause or enable any other party to rely upon

 or in any way seek to assert as a defense to any obligation owed by the Debtors to Agent or any

 Lender.

                5.3    Disposition of Collateral. Debtors shall not sell, transfer, lease, encumber

 or otherwise dispose of any portion of the Collateral without the prior written consent of Agent

 (and no such consent shall be implied, from any other action, inaction or acquiescence by Agent

 or any Lender) and an order of this Court, except for sales of Debtors' Inventory in the ordinary

 course of their business. Debtors shall remit to Agent, or cause to be remitted to Agent, all

 proceeds of the Collateral for application by Agent to the Obligations, in such order and manner

 as Agent may determine in its discretion, in accordance with the terms of this Interim Order, the

 Credit Agreement, the ABL Collateral Agreement and the other Loan Documents.

                5.4    Inventory.   Except to the extent consistent with Debtors existing and

 customary practices, Debtors shall not, without the consent of Agent, (a) enter into any

 agreement to return any inventory to any of their creditors for application against any pre-

 petition indebtedness under any applicable provision of Section 546 of the Bankruptcy Code, or

 (b) consent to any creditor taking any setoff against any of its pre-petition indebtedness based

 upon any such return pursuant to Section 553(b)(1) of the Bankruptcy Code or otherwise.

                5.5    Reservation of Rights.     The terms, conditions and provisions of this

 Interim Order are in addition to and without prejudice to the rights of Agent, Lenders and

 Supplemental Loan Participants to pursue any and all rights and remedies under the Bankruptcy

 Code, the Loan Documents or any other applicable agreement or law, including, without

 limitation, rights to seek adequate protection and/or additional or different adequate protection,



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 to seek relief from the automatic stay, to seek an injunction, to oppose any request for use of cash

 collateral or granting of any interest in the Collateral or priority in favor of any other party, to

 object to any sale of assets, and to object to applications for allowance and/or payment of

 compensation of Professionals or other parties seeking compensation or reimbursement from the

 Estate.

                5.6     Binding Effect.

                        5.6.1 The provisions of this Interim Order and the Loan Documents, the

 Post-Petition Obligations, Superpriority Claim and any and all rights, remedies, privileges and

 benefits in favor of Agent and Lenders (including Supplemental Loan Participants) provided or

 acknowledged in this Interim Order, and any actions taken pursuant thereto, shall be effective

 immediately upon entry of this Interim Order pursuant to Bankruptcy Rules 6004(g) and 7062,

 shall continue in full force and effect, and shall survive entry of any such other order, including

 without limitation any order which may be entered confirming any plan of reorganization,

 converting one or more of the Cases to any other chapter under the Bankruptcy Code, or

 dismissing one or more of the Cases.

                        5.6.2 Any order dismissing one or more of the Cases under Section 1112

 or otherwise shall be deemed to provide (in accordance with Sections 105 and 349 of the

 Bankruptcy Code) that (a) the Superpriority Claim and Agent's and Lenders' liens on and

 security interests in the Collateral shall continue in full force and effect notwithstanding such

 dismissal until the Obligations (including the Supplemental Loans) are indefeasibly paid and

 satisfied in full, and (b) this Court shall retain jurisdiction, notwithstanding such dismissal, for

 the purposes of enforcing the Superpriority Claim and liens in the Collateral.

                        5.6.3 In the event this Court modifies any of the provisions of this

 Interim Order or the Loan Documents following a Final Hearing, (a) such modifications shall not

 affect the rights or priorities of Agent, Lenders and Supplemental Loan Participants pursuant to

 this Interim Order with respect to the Collateral or any portion of the Obligations which arises or




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 is incurred or is advanced prior to such modifications, and (b) this Interim Order shall remain in

 full force and effect except as specifically amended or modified at such Final Hearing.

                        5.6.4 This Interim Order shall be binding upon Debtors, all parties in

 interest in the Cases and their respective successors and assigns, including any trustee or other

 fiduciary appointed in the Cases or any subsequently converted bankruptcy case(s) of any

 Debtor. This Interim Order shall also inure to the benefit of Agent, Lenders, Supplemental Loan

 Participants, Debtors and their respective successors and assigns.

                5.7     Restrictions on Cash Collateral Use, Additional Financing, Plan

 Treatment. All post-petition advances and other financial accommodations under the Credit

 Agreement, the ABL Collateral Agreement and the other Loan Documents are made in reliance

 on this Interim Order and there shall not at any time be entered in the Cases, or in any

 subsequently converted case under Chapter 7 of the Bankruptcy Code, any order (other than the

 Permanent Financing Order) which (a) authorizes the use of cash collateral of Debtors in which

 Agent or Lenders (including Supplemental Loan Participants) have an interest, or the sale, lease,

 or other disposition of property of any Debtor's Estate in which Agent or Lenders have a lien or

 security interest, except as expressly permitted hereunder or in the Loan Documents, or (b)

 authorizes under Section 364 of the Bankruptcy Code the obtaining of credit or the incurring of

 indebtedness secured by a lien or security interest which is equal or senior to a lien or security

 interest in property in which Agent or Lenders hold a lien or security interest, or which is entitled

 to priority administrative claim status which is equal or superior to that granted to Agent and

 Lenders herein; unless, in each instance (i) Agent shall have given its express prior written

 consent with respect thereto, no such consent being implied from any other action, inaction or

 acquiescence by Agent or any Lender, or (ii) such other order requires that all Obligations shall

 first be indefeasibly paid and satisfied in full in accordance with the terms of the Credit

 Agreement, the ABL Collateral Agreement and the other Loan Documents, including, without

 limitation, all debts and obligations of Debtors to Agent and Lenders which arise or result from

 the obligations, loans, security interests and liens authorized herein, on terms and conditions



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 acceptable to Agent. The security interests and liens granted to or for the benefit of Agent and

 Lenders hereunder and the rights of Agent and Lenders pursuant to this Interim Order and the

 Loan Documents with respect to the Obligations and the Collateral are cumulative and shall not

 be altered, modified, extended, impaired, or affected by any plan of reorganization or liquidation

 of Debtors and, if Agent shall expressly consent in writing that the Obligations shall not be

 repaid in full upon confirmation thereof, shall continue after confirmation and consummation of

 any such plan.

                  5.8    No Owner/Operator Liability. In determining to make any loan under the

 Credit Agreement, the ABL Collateral Agreement, the other Loan Documents or any Financing

 Order, or in exercising any rights or remedies as and when permitted pursuant to the Loan

 Documents or any Financing Order, Agent, Lenders and Supplemental Loan Participants shall

 not be deemed to be in control of the operations of the Debtors or to be acting as a "responsible

 person" or "owner or operator" with respect to the operation or management of the Debtors (as

 such terms, or any similar terms, are used in the United States Comprehensive Environmental

 Response, Compensation and Liability Act, 29 U.S.C. §§ 9601 et seq., as amended, or any

 similar federal or state statute).

                  5.9    Marshalling. In no event shall Agent or any Lender be subject to the

 equitable doctrine of "marshalling" or any similar doctrine with respect to the Collateral.

                  5.10   Term; Termination. Notwithstanding any provision of this Interim Order

 to the contrary, the term of the financing arrangements among Debtors, Agent and Lenders

 authorized by this Interim Order may be terminated pursuant to the terms of the Credit

 Agreement.

                  5.11   Limited Effect. Unless the Interim Order specifically provides otherwise,

 in the event of a conflict between the terms and provisions of any of the Loan Documents and

 this Interim Order, the terms and provisions of this Interim Order shall govern, interpreted as

 most consistent with the terms and provisions of the Loan Documents.




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                5.12   Objections Overruled. All objections to the entry of this Interim Order

 are, to the extent not withdrawn, hereby overruled.


 Section 6.     Final Hearing and Response Dates. The Final Hearing on the Motion pursuant to

 Bankruptcy Rule 4001(c)(2) is scheduled for February, ____, at _________ before this Court

 (the "Final Hearing"). The Debtors shall promptly mail copies of this Interim Order to, (a) the

 Noticed Parties,(b)all landlords, owners and/or operators of premises at which any of the

 De
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                  quipment is located, (c) all appropriate state taxing authorities, and

 (d) to any other party that has filed a request for notices with this Court and to any Creditors'

 Committee after same has been appointed, or Creditors' Committee counsel, if same shall have

 filed a request for notice. Any party in interest objecting to the relief sought at the Final

 Hearing shall serve and file written objections, which objections shall be served upon (a)

 counsel for the Debtors, Law Offices of William B. Kingman, P.C., 4040 Broadway, Suite 450,

 San Antonio, Texas 78209; Attn: William B. Kingman, Esq., Fax: (210)821-1114; Vinson &

 Elkins, LLP, First City Tower, 1001 Fannin Street, Suite 2500, Houston, Texas 77002; Attn:

 Harry A. Perrin, Esq., Fax: (713) 615-2346; and Skadden, Arps, Slate, Meagher & Flom, LLP,

 Four Times Square, New York, New York 10036-2000; Attn: D.J. Baker, Esq., Fax: (212) 735-

 2000; (b) counsel for the Agent, Cox Smith, 112 East Pecan Street, Suite 1800, San Antonio,

 Texas 78205; Attn: Deborah D. Williamson, Esq., Fax: (210) 216-8395; and Otterbourg,

 Steindler, Houston & Rosen, P.C., 230 Park Avenue, New York, New York 10169-0075; Attn:

 Jonathan N. Helfat, Esq. and Andrew M. Kramer, Esq., Fax: (212) 682-6104; (c)counsel to

 noteholder Harbinger Management, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of

 the Americas, New York, New York 10019, Attn: Brian S. Hermann, Esq., Fax: (212) 757-

 3990;(d)counsel to noteholder Avenue Capital Management, Akin Gump Strauss Hauer & Feld

 LLP, One Bryant Park, New York, New York 10036, Attn: Ira S. Dizengoff, Esq., Fax: (212) 872-

 1002; (e) counsel to noteholder D.E. Shaw & Co., Bracewell & Giuliani LLP, 1177 Avenue of

 the Americas, 19th Floor, New York, New York 10036, Attn: Mark B. Joachim, Esq., Fax: (212)

 508-6101, (f) counsel to any Committee; and (g) the U.S. Trustee; and shall be filed with the


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 Clerk of the United States Bankruptcy Court for the Western District of Texas, in each case, to

 allow actual receipt of the foregoing no later than ____________, prevailing Eastern time




 Dated: __________ __, 2009
        _________________



                                             UNITED STATES BANKRUPTCY JUDGE




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                                EXHIBIT A
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                     RATIFICATION AND AMENDMENT AGREEMENT

         This RATIFICATION AND AMENDMENT AGREEMENT (the “                                     Ratification
 Agreement”   ) dated as of February 3, 2009 is by and among Wachovia Bank, National Association
 (“Wa c hovia ”), in its capacity as administrative agen  t(t
                                                            he“ Administrative Agent”    )acting for and on
 behalf of the financial institutions from time to time party to the Existing Credit Agreement (as
 defined below) as lenders (collectively with Administrative Agent, the “     Lenders”  ), Wachovia, in its
 capacity as collateral agent (“       Collateral Agent”   ;toge therwi   tht he Admi   nis t
                                                                                            rati
                                                                                               v e Age   nt
                                                                                                          ,
 collectively, “Agent”    )a ct
                              ingf  ora  ndonb  eha lfoft heSecured Parties (as defined in the Existing
 ABL Guarantee and Collateral Agreement (as defined below)), Wachovia, in its capacity as
 “Suppl e me ntalLoa    nLe   nder ”(  ash  erei
                                               na f
                                                  te rde  fi
                                                           ned),Spectrum Brands, Inc., a Wisconsin
 corporation, as Debtor and Debtor-in-Possession (“        Borrower”  ), ROV Holding, Inc., a Delaware
 corporation, as Debtor and Debtor-i     nPos se s
                                                 sion(  “ROV”  )
                                                               , ROVCAL Inc., a California corporation,
 as Debtor and Debtor-i      nPos   s ession( “Rovcal”   )
                                                         ,Uni tedI  ndus triesCor  por at
                                                                                        ion ,a Delaware
 corporation, as Debtor and Debtor-i        nPos  se ssion( “United” ) ,Spe ctrum Ne   ptun eUS Hol    dc o
 Corporation, a Delaware corporation, as Debtor and Debtor-i        nPos   session(  “Neptune”  ) ,Sc hultz
 Company, a Missouri corporation, as Debtor and Debtor-i          nPos   sessi
                                                                             on(  “Schultz”  ),Uni te dPe t
 Group, Inc., a Delaware corporation, as Debtor and Debtor-i      nPos  sessi
                                                                            on( “United Pet” ),DBOn    l
                                                                                                       in e
                                                                                                          ,
 LLC, a Hawaii limited liability company, as Debtor and Debtor-i           nPos  session(  “DB Online”    )
                                                                                                          ,
 Southern California Foam, Inc., a California corporation, as Debtor and Debtor-in Possession
 (“Foam”   )
           , Aqua   ria, Inc.,aCa lifor niac or
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                                                     on ,asDe btora n
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                                                                           tor-inPos s ession( “
                                                                                               Aquaria”   )
                                                                                                          ,
 Aquarium Systems, Inc., a Delaware corporation, as Debtor and Debtor-in Possession
 (“Aquarium”    ),Pe  r fectoMa  n ufa cturing,I n
                                                 c ., a Delaware corporation, as Debtor and Debtor-in
 Pos session( “Perfecto”    )
                            ,Te traHol  din g(US) ,I nc.,aDe l
                                                             a wa rec or porat
                                                                             ion, as Debtor and Debtor-in
 Pos session( “Tetra”   ), and Spectrum Jungle Labs Corporation, a Texas corporation, as Debtor and
 Debtor-in Possession (    “Jungle”  ; and together with ROV, Rovcal, United, Neptune, Schultz, United
 Pet, DB Online, Foam, Aquaria, Aquarium, Perfecto and Tetra, e          a chindividua lly ,a“ Subsidiary
 Loan Party”a    n dc  ollecti
                             ve l
                                y ,t he“ Subsidiary Loan Parties”   )
                                                                    .

                                        W I T N E S S E T H:

        WHEREAS, Borrower and each Subsidiary Loan Party (as hereinafter defined, collectively,
 the“Debtors” )have commenced a case under Chapter 11 of Title 11 of the United States Code in the
 United States Bankruptcy Court for the Western District of Texas, San Antonio Division, and
 Borrower and each Subsidiary Loan Party has retained possession of its assets and are authorized
 under the Bankruptcy Code to continue the operation of their businesses as a debtor-in-possession;

         WHEREAS, prior to the commencement of the Chapter 11 Cases (as defined below), Agent
 and Lenders made loans and advances and provided other financial or credit accommodations to
 Borrower secured by substantially all assets and properties of Borrower and Subsidiary Loan Parties
 as set forth in the Existing Loan Documents (as defined below);

        WHEREAS, the Bankruptcy Court (as defined below) has entered an Interim Financing
 Order (as defined below) pursuant to which Agent, Lenders and Supplemental Loan Lender (as
 defined below) may make post-petition loans and advances, and provide other financial
 accommodations, to Borrower secured by substantially all the assets and properties of Borrower and
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 Subsidiary Loan Parties as set forth in the Interim Financing Order and the Loan Documents (as
 defined below);

         WHEREAS, the Interim Financing Order provides that as a condition to the making of such
 post-petition loans, advances and other financial accommodations, Borrower and Subsidiary Loan
 Parties shall execute and deliver this Ratification Agreement;

          WHEREAS, Borrower and Subsidiary Loan Parties desire to reaffirm their obligations to
 Agent and Lenders pursuant to the Existing Loan Documents and acknowledge their continuing
 liabilities to Agent and Lenders thereunder in order to induce Agent and Lenders to make such post-
 petition loans and advances, and provide such other financial accommodations, to Borrower; and

         WHEREAS, Borrower and Subsidiary Loan Parties have requested that Agent, Lenders and
 Supplemental Loan Lender make post-petition loans and advances and provide other financial or
 credit accommodations to Borrower and make certain amendments to the Existing Credit Agreement
 and the Existing ABL Guarantee and Collateral Agreement (as defined below), and Agent, Lenders
 and Supplemental Loan Lender are willing to do so, subject to the terms and conditions contained
 herein.

        NOW, THEREFORE, in consideration of the foregoing, the mutual covenants and
 agreements contained herein and other good and valuable consideration, the receipt and sufficiency
 of which are hereby acknowledged, Agent, Lenders, Supplemental Loan Lender, Borrower and
 Subsidiary Loan Parties mutually covenant, warrant and agree as follows:

        1.      DEFINITIONS.

               1.1    Additional Definitions. As used herein, the following terms shall have the
 respective meanings given to them below and the Existing Credit Agreement, the Existing ABL
 Guarantee and Collateral Agreement and the other Existing Loan Documents shall be deemed and
 are hereby amended to include, in addition and not in limitation, each of the following definitions:

                 (a)    “Bankruptcy Code”me     a
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                                                                                             le1 1
 of the United States Code as enacted in 1978, as the same has heretofore been or may hereafter be
 amended, recodified, modified or supplemented, together with all rules, regulations and
 interpretations thereunder or related thereto.

                 (b)     “Bankruptcy Court”me    a nstheUni tedStatesBan kruptcyCourt or the United
 States District Court for the Western District of Texas, San Antonio Division.

                  (c)    “Budget”means the initial thirteen (13) week budget to be delivered to Agent
 and Lenders in accordance with Section 5.3(a) hereof, in form and substance satisfactory to Agent,
 setting forth the Projected Information for the periods covered thereby, which initial budget shall be
 updated on a cumulative, weekly roll forward basis, together with any subsequent or amended
 budget(s) thereto delivered to Agent and Lenders, in form and substance satisfactory to Agent, in
 accordance with the terms and conditions hereof.




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               (d)     “ Chapter 11 Cases”me   a nstheCha  pter11c a
                                                                   se sofBor rowe ra ndSubsidiary
 Loan Parties which are being jointly administered under the Bankruptcy Code and are pending in the
 Bankruptcy Court.

                 (e)   “ Debtors”means, collectively, Borrower, as Debtor and Debtor-in-Possession
 in the Chapter 11 Cases, and each Subsidiary Loan Party, as Debtor and Debtor-in-Possession in the
 Chapter 11 Cases.

                (f)   “DIP Fee Letter”means the letter agreement, dated of even date herewith,
 between Borrower and Agent, setting forth certain fees payable by Borrower to Agent, as the same
 now exists or may hereafter be amended, modified, supplemented, extended, renewed, restated or
 replaced.

               (g)     “Existing ABL Guarantee and Collateral Agreement”means, the ABL
 Guarantee and Collateral Agreement, dated as of September 28, 2007, by and among Borrower,
 Subsidiary Loan Parties and the Collateral Agent, as in effect immediately prior to the Petition Date.

               (h)      “Existing Credit Agreement”means the Credit Agreement, dated as of
 September 28, 2007, by and among Borrower, Subsidiary Loan Parties, the Administrative Agent
 and Lenders, as in effect immediately prior to the Petition Date.

                (i)   “Existing Loan Documents”means the Loan Documents (as defined in the
 Existing Credit Agreement), as in effect immediately prior to the Petition Date.

                (j)    “Financing Order”means the Interim Financing Order, the Permanent
 Financing Order and such other orders relating thereto or authorizing the granting of credit by Agent,
 Lenders and Supplemental Loan Lender to Borrower pursuant to the Existing Credit Agreement, as
 amended by the Ratification Agreement and as ratified, assumed and adopted by Borrower and each
 Subsidiary Loan Party pursuant to the terms thereof, on an emergency, interim or permanent basis
 pursuant to Section 364 of the Bankruptcy Code as may be issued or entered by the Bankruptcy
 Court in the Chapter 11 Cases.

                (k)     “
                        Interim Financing Order”has the meanings set forth in Section 11.8 hereof.

                (l)     “
                        Material Budget Deviation”has the meanings set forth in Section 5.3(c)
 hereof.

                (m)     “
                        Permanent Financing Order”has the meanings set forth in Section 11.9
 hereof.

                (n)     “
                        Petition Date”means the date of the commencement of the Chapter 11
 Cases.

                 (o)    “Post-Petition Collateral”means, collectively, any and all assets of each
 Debtor’ s estate, whether real, personal or mixed and wherever located, of any kind, nature or
 description, including any such property in which a lien is granted to the Collateral Agent and
 Secured Parties pursuant to the Loan Documents, the Financing Order or any other order entered or
 issued by the Bankruptcy Court, and shall include, without limitation:

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                         (i)     all of the Pre-Petition Collateral;

                     (ii)    all Accounts (other than Accounts arising under contracts for the sale
 of Non-ABL Collateral) and related Records;

                         (iii)   all Chattel Paper;

                       (iv)    all Deposit Accounts and all cash, checks and other negotiable
 instruments, funds and other evidences of payment held therein (but not any identifiable Proceeds of
 Non-ABL Collateral);

                         (v)     all Inventory;

                          (vi)    solely to the extent evidencing, governing, securing or otherwise
 related to the items referred to in the preceding clauses (ii), (iii), (iv) and (v), all Documents, General
 Intangibles (other than Intellectual Property), Instruments, Investment Property and Letter of Credit
 Rights;

                         (vii)   all books and records related to the foregoing;

                         (viii) all present and future claims, rights, interests, assets and properties
 recovered by or on behalf of Borrower and each Subsidiary Loan Party or any trustee of Borrower or
 any Subsidiary Loan Party (whether in the Chapter 11 Cases or any subsequent case to which any
 Chapter 11 Case is converted), including without, limitation, all such property recovered as a result
 of transfers or obligations avoided or actions maintained or taken pursuant to, inter alia, Sections
 542, 545, 547, 548, 549, 550, 552 and 553 of the US Bankruptcy Code, subject to the terms of the
 applicable Financing Order); and

                        (ix)     all Proceeds, including insurance Proceeds, of any and all of the
 foregoing and all collateral, security and guarantees given by any Person with respect to any of the
 foregoing.

                         Notwithstanding clause (ix) above, “    Post-Petition Collateral”shall not
 include any assets referred to in clauses (a) through (j) and (l) of the definition of “    Non-ABL
 Collateral”(as defined in the Existing ABL Guarantee and Collateral Agreement) that are not
 included in clause (vi) above. All capitalized terms used in this definition and not defined elsewhere
 in the Existing Credit Agreement have the meanings assigned to them in the New York UCC.

                 (p)     “ Post-Petition Obligations”means all Obligations (as defined in the Existing
 ABL Guarantee and Collateral Agreement) arising on and after the Petition Date and whether arising
 on or after the conversion or dismissal of the Chapter 11 Cases, or before, during and after the
 confirmation of any plan of reorganization in the Chapter 11 Cases, and whether arising under or
 related to this Ratification Agreement, the Credit Agreement, the ABL Guarantee and Collateral
 Agreement, the other Loan Documents, a Financing Order, by operation of law or otherwise, and
 whether incurred by Borrower or such Subsidiary Loan Party as principal, surety, endorser,
 Subsidiary Loan Party or otherwise and including, without limitation, all principal, interest,
 financing charges, letter of credit fees, unused line fees, servicing fees, debtor-in-possession facility


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 fees, other fees, commissions, costs, expenses and attorneys’
                                                             , accountants’and consultants’
                                                                                          fees and
 expenses incurred in connection with any of the foregoing.

                   (q)     “Pre-Petition Collateral”means, collectively, (i) all “
                                                                                 ABL Collateral”as such
 term is defined in the Existing ABL Guarantee and Collateral Agreement as of the Petition Date, and
 (ii) all other security for the Pre-Petition Obligations as provided in the Existing Credit Agreement,
 the Existing ABL Guarantee and Collateral Agreement and the other Existing Loan Documents as of
 the Petition Date.

             (r)    “Pre-Petition Obligations”means all Obligations (as defined in the Existing
 ABL Guarantee and Collateral Agreement) arising at any time before the Petition Date.

                (s)   “Projected Information”h
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 Ratification Agreement.

               (t)     “Ratification Agreement” means this Ratification and Amendment
 Agreement by and among Borrower, Subsidiary Loan Parties, the Administrative Agent, the
 Collateral Agent, Lenders and Supplemental Loan Lender, as the same now exists or may hereafter
 be amended, modified, supplemented, extended, renewed, restated or replaced.

                (u)     “
                        Stated Expiry Date”me
                                            ansFe
                                                brua
                                                   ry4,2010.

                (v)   “Supplemental Loan”h
                                         ast
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                                                            on9.1 of the
 Ratification Agreement.

                (w)     “Supplemental Loan Junior Participation Agreement”me    anst  hatcertain
 agreement among Supplemental Loan Participants and Supplemental Loan Lender, which shall be in
 form and substance reasonably satisfactory to Supplemental Loan Lender and Supplemental Loan
 Participant, pursuant to which Supplemental Loan Participant has purchased, or will purchase, a
 100% junior participation in the Supplemental Loan.

                (x)     “Supplemental Loan Lender”me    ansWa  c hoviaBa  nk, Nation
                                                                                   alAs
                                                                                      soci
                                                                                         at
                                                                                          ion
                                                                                            ,
 as a Lender in its individual capacity. For the purposes of this definition, “Suppl
                                                                                   ement
                                                                                       alLoan
 Le nder”shall not include any Lender other than Wachovia Bank, National Association.

                  (y)    “Supplemental Loan Participants”me       an st hoseb anksorot  he
                                                                                         rf inancial
 institutions that purchase in aggregate 100% junior participation in the Supplemental Loan pursuant
 to the terms of the Supplemental Loan Junior Participation Agreement.

                1.2     Amendments to Definitions.

                (a)     ABL Guarantee and Collateral Agreement. All references to the term “  ABL
 Guarantee and Collateral Agreement”in (i) the Existing Credit Agreement, the Existing ABL
 Guarantee and Collateral Agreement or the other Existing Loan Documents and (ii) this Ratification
 Agreement, shall each be deemed, and each such reference is hereby amended, to mean the Existing
 ABL Guarantee and Collateral Agreement, as amended by this Ratification Agreement and as
 ratified, assumed and adopted by Borrower and each Subsidiary Loan Party pursuant to the terms


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 hereof and the Financing Order, as the same now exists or may hereafter be amended, modified,
 supplemented, extended, renewed, restated or replaced.

               (b)      Collateral.Allreferenc
                                             estot het erm“  ABL Collateral”i   ntheExisting Credit
 Agreement, the Existing ABL Guarantee and Collateral Agreement or the other Existing Loan
 Documents, or any other term referring to the security for the Pre-Petition Obligations, shall be
 deemed, and each such reference is hereby amended to mean, collectively, the Pre-Petition Collateral
 and the Post-Petition Collateral.

                (c)      Credit Agreement. All references to the term “Credit Agreement”in (i) the
 Existing Credit Agreement, the Existing ABL Guarantee and Collateral Agreement or the other
 Existing Loan Documents and (ii) this Ratification Agreement, shall each be deemed, and each such
 reference is hereby amended, to mean the Existing Credit Agreement, as amended by this
 Ratification Agreement and as ratified, assumed and adopted by Borrower and each Subsidiary Loan
 Party pursuant to the terms hereof and the Financing Order, as the same now exists or may hereafter
 be amended, modified, supplemented, extended, renewed, restated or replaced.

                 (d)    Debtors. All references to the terms “        Borrower”    , “
                                                                                     Loan Parties”or
 “Subsidiary Loan Parties”in the Existing Credit Agreement, the Existing ABL Guarantee and
 Collateral Agreement or the other Existing Loan Documents shall be deemed, and each such
 reference is hereby amended, to mean and include Borrower and each Subsidiary Loan Party, each as
 Debtor and Debtor-in-Possession, and their successors and assigns (including any trustee or other
 fiduciary hereafter appointed as its legal representative or with respect to the propertyof the estate of
 such corporation or limited liability company whether under Chapter 11 of the Bankruptcy Code or
 any subsequent Chapter 7 case and its successor upon conclusion of the Chapter 11 Case of such
 corporation).

                (e)    Loan Documents. All references to the term “    Loan Documents”in (i) the
 Existing Credit Agreement, the Existing ABL Guarantee and Collateral Agreement or the other
 Existing Loan Documents and (ii) this Ratification Agreement, shall each be deemed, and each such
 reference is hereby amended, to include, in addition and not in limitation, this Ratification
 Agreement and all of the Existing Loan Documents, as ratified, assumed and adopted by Borrower
 and each Subsidiary Loan Party pursuant to the terms hereof, as amended and supplemented hereby,
 and the Financing Order, as each of the same now exists or may hereafter be amended, modified,
 supplemented, extended, renewed, restated or replaced.

                 (f)    Material Adverse Effect. All references to the term “     Material Adverse
 Effect,”“ material adverse effect”or “   material adverse change”in the Existing Credit Agreement,
 this Ratification Agreement, the Existing ABL Guarantee and Collateral Agreement or the other
 Existing Loan Documents shall be deemed, and each such reference is hereby amended, to add at the
 end thereof: “ provided, that, neither the events leading up to nor the commencement of the Chapter
 11 Cases shall constitute a Material Advers   eEf  fect”.

                 (g)    Obligations. All references to the term “
                                                                Obligations”in the Existing Credit
 Agreement, this Ratification Agreement, the Existing ABL Guarantee and Collateral Agreement or
 the other Existing Loan Documents shall be deemed, and each such reference is hereby amended, to
 mean both the Pre-Petition Obligations and the Post-Petition Obligations.

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                 1.3     Interpretation.

               (a)      For purposes of this Ratification Agreement, unless otherwise defined or
 amended herein, including, but not limited to, those terms used or defined in the recitals hereto, all
 terms used herein shall have the respective meanings assigned to such terms in the Existing Credit
 Agreement or the Existing ABL Guarantee and Collateral Agreement.

                 (b)     All references to the term “Agent,”“ Administrative Agent,”“   Collateral
 Agent,”“  Lenders,”“  Borrower,”“  Debtors”  ,“            ,
                                                Loan Parties”“Subsidiary Loan Parties”  ,“Secured
 Parties”or any other person pursuant to the definitions in the recitals hereto or otherwise shall
 include its respective successors and assigns.

                (c)    All references to any term in the singular shall include the plural and all
 references to any term in the plural shall include the singular unless the context of such usage
 requires otherwise.

                  (d)    All terms not specifically defined herein which are defined in the Uniform
 Commercial Code, as in effect in the State of New York as of the date hereof, shall have the meaning
 set forth therein; except, that, the term “
                                           Lien”or “lien”shall have the meaning set forth in § 101(37)
 of the Bankruptcy Code.

         2.      ACKNOWLEDGMENT.

                 2.1     Pre-Petition Obligations. Borrower and each Subsidiary Loan Party hereby
 acknowledge, confirm and agree that, as of the close of business on February 2, 2009, Borrower is
 indebted to Agent and Lenders in respect of all Pre-Petition Obligations in the aggregate principal
 amount of not less than $168,763,550.82, consisting of (a) Revolving Loans made pursuant to the
 Existing Loan Documents in the aggregate principal amount of not less than $165,763,550.82,
 together with interest accrued and accruing thereon, and (b) Letters of Credit in the amount of not
 less than $3,000,000, together with interest accrued and accruing thereon, and all costs, expenses and
 fees (including attorneys’fees and legal expenses) and (c) other Obligations now or hereafter owed
 by Borrower to Agent and Lenders, all of which are unconditionally owing by Borrower to Agent
 and Lenders, without offset, defense or counterclaim of any kind, nature and description whatsoever.

              2.2     Acknowledgment of Obligations. Borrower and each Subsidiary Loan Party
 hereby acknowledge, confirm and agree that:

               (a)     all obligations of Borrower and each Subsidiary Loan Party under the ABL
 Guarantee and Collateral Agreement and the other Loan Documents are unconditionally owing by
 Borrower and each Subsidiary Loan Party to Agent and Lenders without offset, defense or
 counterclaim of any kind, nature and description whatsoever, and

                  (b)    the absolute and unconditional guarantee of the payment of the Pre-Petition
 Obligations by Borrower and each Subsidiary Loan Party pursuant to the ABL Guarantee and
 Collateral Agreement and the other Loan Documents to which Borrower and each Subsidiary Loan
 Party is a party extends to all Post-Petition Obligations, subject only to the limitations set forth in the
 Loan Documents.


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                  2.3     Acknowledgment of Security Interests. Borrower and each Subsidiary Loan
 Party hereby acknowledge, confirm and agree that Agent, for the benefit of itself and the other
 Secured Parties, has and shall continue to have valid, enforceable and perfected first priority and
 senior security interests in and liens upon all Pre-Petition Collateral heretofore granted to Agent and
 Secured Parties pursuant to the Existing Loan Documents as in effect immediately prior to the
 Petition Date to secure all of the Obligations, as well as valid and enforceable first priority and
 senior security interests in and liens upon all Post-Petition Collateral granted to Agent, for the
 benefit of itself and the other Secured Parties, under the Financing Order or hereunder or under any
 of the other Loan Documents or otherwise granted to or held by Agent and Secured Parties, in each
 case, subject only to liens or encumbrances expressly permitted by the Existing Credit Agreement
 and the Existing ABL Guarantee and Collateral Agreement and any other liens or encumbrances
 expressly permitted by the Financing Order that may have priority over the liens in favor of Agent
 and Secured Parties.

                 2.4     Binding Effect of Documents. Borrower and each Subsidiary Loan Party
 hereby acknowledge, confirm and agree that: (a) each of the Existing Loan Documents to which it is
 a party was duly executed and delivered to Agent and Lenders by Borrower or such Subsidiary Loan
 Party and each is in full force and effect as of the date hereof, (b) the agreements and obligations of
 Borrower or such Subsidiary Loan Party contained in the Existing Loan Documents constitute the
 legal, valid and binding obligations of Borrower or such Subsidiary Loan Party enforceable against it
 in accordance with the terms thereof, and Borrower or such Subsidiary Loan Party has no valid
 defense, offset or counterclaim to the enforcement of such obligations, and (c) Agent and Lenders
 are and shall be entitled to all of the rights, remedies and benefits provided for in the Loan
 Documents and the Financing Orders.

                 2.5   Post-Petition Loans and Letters of Credit. Agent, each Lender and
 Supplemental Loan Lender agrees to make, or continue making, Loans and advances, and provide
 other financial accommodations to Borrower in accordance with the terms and conditions of the
 Existing Credit Agreement and the other Existing Loan Documents, subject to the terms of, and as
 each is amended by, this Ratification Agreement.

        3.      ADOPTION AND RATIFICATION

         Borrower and each Subsidiary Loan Party hereby (a) ratify, assume, adopt and agree to be
 bound by all of the Existing Loan Documents to which it is a party as amended by this Ratification
 Agreement, and in accordance with the Financing Order and (b) agrees to pay all of the Pre-Petition
 Obligations in accordance with the terms of such Existing Loan Documents, as amended by this
 Ratification Agreement, and in accordance with the Financing Order. All of the Existing Loan
 Documents are hereby incorporated herein by reference and hereby are and shall be deemed adopted
 and assumed in full by Borrower and Subsidiary Loan Parties, each as Debtor and Debtor-in-
 Possession, and considered as agreements between Borrower or such Subsidiary Loan Party, on the
 one hand, and Agent and Lenders, on the other hand. Borrower and each Subsidiary Loan Party
 hereby ratifies, restates, affirms and confirms all of the terms and conditions of the Existing Loan
 Documents, as amended and supplemented pursuant hereto and the Financing Order, and Borrower
 and each Subsidiary Loan Party agrees to be fully bound, as Debtor and Debtor-in-Possession, by the
 terms of the Loan Documents to which Borrower or such Subsidiary Loan Party is a party.


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        4.      GRANT OF SECURITY INTEREST.

         As collateral security for the prompt performance, observance and payment in full of all of
 the Obligations (including the Pre-Petition Obligations and the Post-Petition Obligations), Borrower
 and Subsidiary Loan Parties, each as Debtor and Debtor-in-Possession, hereby grant, pledge and
 assign to Collateral Agent, for the benefit of itself and the other Secured Parties, and also confirm,
 reaffirm and restate the prior grant to Agent and Lenders of, continuing security interests in and liens
 upon, and rights of setoff against, all of the ABL Collateral.

        5.      ADDITIONAL REPRESENTATIONS, WARRANTIES AND COVENANTS.

         In addition to the continuing representations, warranties and covenants heretofore and
 hereafter made by Borrower and Subsidiary Loan Parties to Agent, Lenders and Supplemental Loan
 Lender, whether pursuant to the Loan Documents or otherwise, and not in limitation thereof,
 Borrower and each Subsidiary Loan Party hereby represents, warrants and covenants to Agent,
 Lenders and Supplemental Loan Lender the following (which shall survive the execution and
 delivery of this Ratification Agreement), the truth and accuracy of which, or compliance with, to the
 extent such compliance does not violate the terms and provisions of the Bankruptcy Code, shall be a
 continuing condition of the making of Loans by Agent, Supplemental Loan Lender and Lenders:

                  5.1     Financing Order. The Interim Financing Order (and, following the expiration
 of the Interim Financing Period defined therein, the Permanent Financing Order) has been duly
 entered, is valid, subsisting and continuing and has not been vacated, modified, reversed on appeal,
 or vacated or modified by any order of the Bankruptcy Court (other than as consented to by Agent)
 and is not subject to any pending appeal or stay.

                 5.2     Use of Proceeds. All Loans and Letters of Credit provided by Agent, any
 Lender or Supplemental Loan Lender to Borrower pursuant to the Financing Orders, the Existing
 Credit Agreement, or this Ratification Agreement from and after the date hereof, shall be used by
 Borrower and Subsidiary Loan Parties for (a) costs, fees and expenses in connection with the
 Existing Credit Agreement and this Ratification Agreement, (b) to pay any fees and expenses
 incurred in connection with the transactions contemplated hereby and, to the extent approved by the
 Bankruptcy Court, in connection with the Chapter 11 Cases, (c) working capital of Borrower and
 Subsidiary Loan Parties (d) other general corporate purposes of Borrower and Subsidiary Loan
 Parties not in contravention of any Law or of any Loan Document, in each case consistent with the
 Budget pursuant to Section 5.3 of this Ratification Agreement. Unless authorized by the Bankruptcy
 Court and approved by Agent and Required Lenders in writing, no portion of the proceeds of such
 Loans or Letters of Credit provided by Agent, Lenders and Supplemental Loan Lender to Borrower
 may be used in connection with the initiation or prosecution of any claims or defenses against Agent,
 any Lender, Supplemental Loan Lender or any Supplemental Loan Participant, or preventing,
 hindering, or delaying the assertion of enforcement of any lien, claim, right or security interest or
 realization upon any ABL Collateral by Agent, any Lender, Supplemental Loan Lender or any
 Supplemental Loan Participant. No portion of the priority claims in the Chapter 11 Cases, other than
 those directly attributable to the operation of the business of Borrower or Subsidiary Loan Parties,
 the Carve Out (as defined within the applicable Financing Order) or to which Agent has specifically
 agreed, shall be funded with Loans or Letters of Credit and the percentages and categories of
 permitted allocations of such claims and expenses shall be approved by Agent.

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                5.3     Budget.

                  (a)    Borrower has prepared and delivered to Agent and Lenders an initial thirteen
 (13) week Budget. The initial Budget has been thoroughly reviewed by Borrower and its
 management and sets forth for the periods covered thereby: (i) projected weekly operating cash
 receipts for each week commencing with the week ending January 30, 2009, (ii) projected weekly
 operating cash disbursements for each week commencing with the week ending January 30, 2009,
 (iii) projected aggregate principal amount of outstanding Revolving Loans, Supplemental Loans and
 Letters of Credit for each week commencing with the week ending as of January 30, 2009, and (iv)
 projected weekly amounts of Revolving Loans and Letters of Credit available to Borrower under the
 terms, conditions and formulae of the Credit Agreement for each week commencing with the week
 ending January 30, 2009 (collectively, the “     Projected Information”  ). In addition to the initial
 Budget, by no later than 5:00 p.m. (Eastern time) on the Wednesday of each week commencing on
 February 11, 2009, Borrower shall furnish to Agent and Lenders, in form and substance satisfactory
 to Agent, an updated thirteen (13) week Budget prepared on a cumulative, weekly roll forward basis,
 together with a report that sets forth for the immediately preceding week a comparison of the actual
 cash receipts, cash disbursements, loan balance and loan availability to the Projected Information for
 such weekly periods set forth in the Budget on a cumulative, weekly roll-forward basis, together
 with a certification from the chief financial officer of Borrower that no Material Budget Deviation
 has occurred or if a Material Budget Deviation has occurred, a detailed explanation of such
 occurrence.

                  (b)    Borrower acknowledges, confirms and agrees that commencing with the
 trailing thirteen (13) week period ending on February 6, 2009, and for the trailing one-week (1) week
 period ending on the Friday of each week thereafter: (i) the actual aggregate weekly cash receipts
 during such period for each line item in the Budget shall not be less than the lesser of (A) $1,000,000
 and (B) eighty (80%) percent, of the projected aggregate weekly cash receipts during such period for
 each such line item in the Budget, (ii) the actual aggregate weekly cash receipts during such period
 for all line items in the Budget shall not be less than the lesser of (A) $1,000,000 and (B) eighty
 (80%) percent, of the projected aggregate weekly cash receipts during such period for all such line
 items in the Budget, (iii) the actual aggregate weekly cash disbursements for each line item in the
 Budget during such period shall not be more than the greater of (A) $1,000,000 and (B) one hundred
 twenty (120%) percent, of the projected aggregate weekly cash disbursements for each such line
 item set forth in the Budget during such period, (iv) the actual aggregate weekly cash disbursements
 for all line items in the Budget during such period shall not be more than the greater of (A)
 $1,000,000 and (B) one hundred twenty (120%) percent, of the projected aggregate weekly cash
 disbursements for all such line items set forth in the Budget during such period, (v) the actual Excess
 Availability of Borrower at any time during such period under the terms, conditions and formulae of
 the Credit Agreement shall not be less than ninety (90%) percent of the projected Excess Availability
 of Borrower as of the end of such period, or (vi) the actual aggregate principal amount of
 outstanding loans, supplemental loans, advances and other credit accommodations as of the end of
 such period shall not exceed one hundred ten (110%) percent of the projected aggregate principal
 amount of outstanding loans and other credit accommodations as of the end of such period.

                 (c)      Borrower and each Subsidiary Loan Party hereby confirms, acknowledges and
 agrees that (i) a failure to maintain the minimum deviations in the Budget as set forth in Section
 5.3(b) hereof shall constitute a material deviation from the Budget and an additional Event of

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 Default (each, a “ Material Budget Deviation”     ) and (ii) the failure to deliver any Budget or any
 reports with respect to any Budget, in form and substance satisfactory to Agent, as provided in
 Section 5.3(a) hereof shall constitute an Event of Default. Notwithstanding any approval by Agent,
 any Lender or Supplemental Loan Lender of any Budget, Agent, Lenders and Supplemental Loan
 Lender will not, and shall not be required to, provide any Loans or Letters of Credit to Borrower
 pursuant to the Budget, but shall only provide Loans and Letters of Credit in accordance with the
 terms and conditions set forth in the Existing Credit Agreement as amended by this Ratification
 Agreement, the other Loan Documents and the Financing Order, subject to the Budget. Agent and
 Lenders are relying upon Borrower’    s delivery of, and compliance with, the Budget in accordance
 with this Section 5.3 in determining to enter into the post-petition financing arrangements provided
 for herein.

                 5.4      Ratification of Deposit Account Control Agreement. To the extent Agent
 deems it necessary in its discretion and upon Agent’ s request, Borrower and Subsidiary Loan Parties
 shall promptly provide Agent with evidence, in form and substance satisfactory to Agent, that the
 Deposit Account Control Agreements and other deposit account arrangements provided for under the
 Loan Documents have been ratified and amended by the parties thereto, or their respective
 successors in interest, in form and substance satisfactory to Agent, to reflect the commencement of
 the Chapter 11 Cases, that Borrower and each Subsidiary Loan Party, as Debtor and Debtor-in-
 Possession, is the successor in interest to Borrower or such Subsidiary Loan Party, that the
 Obligations include both the Pre-Petition Obligations and the Post-Petition Obligations, and that the
 ABL Collateral includes both the Pre-Petition Collateral and the Post-Petition Collateral as provided
 for in the Loan Documents.

                5.5     ERISA. Borrower and each Subsidiary Loan Party hereby represents and
 warrants with, to and in favor of Agent and Lenders that (a) there are no liens, security interests or
 encumbrances upon, in or against any assets or properties of Borrower or any Subsidiary Loan Party
 arising under ERISA, whether held by the Pension Benefit Guaranty Corporation (the “     PBGC”    ) or
 the contributing sponsor of, or a member of the controlled group thereof, any pension benefit plan of
 Borrower or any Subsidiary Loan Party and (b) no notice of lien has been filed by the PBGC (or any
 other Person) pursuant to ERISA against any assets or properties of Borrower or any Subsidiary
 Loan Party.

        6.      FEES.

                  6.1    DIP Facility Fee. Borrower shall pay to Agent, for the account of Lenders on
 a pro rata basis according to their respective Commitments, a debtor-in-possession financing facility
 fee in the amount of $3,900,000, on account of the financing provided by Agent and Lenders to
 Borrower in the Chapter 11 Cases, which fee shall be fully earned and due and payable on the date
 of entry by the Bankruptcy Court of the Interim Financing Order and which may be charged directly
 to the loan account of Borrower maintained by Agent.

                6.2    Other DIP Fees. Borrower shall pay to Agent the other fees and amounts set
 forth in the DIP Fee Letter in the amounts and at the times specified therein.




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        7.      AMENDMENTS TO CREDIT AGREEMENT.

                7.1   Deletion of Definitions. The following definitions set forth in Section 1.01 of
 the Credit Agreement are hereby deleted in their entirety:

                        “
                        Accession Agreement”

                        “
                        Availability Triggering Event”

                        “
                        Commitment Increase”

                        “
                        Eligible In-Transit Inventory”

                        “
                        Increase Effective Date”

                        “
                        Increasing Lender”

                        “
                        Initial Borrowing”

                        “
                        Subsequent Borrowing”

                        “
                        Supermajority Required Lenders”

                7.2    Definition of Applicable Rate. The definition of Applicable Rate set forth in
 Section 1.01 of the Credit Agreement is hereby amended and restated in its entirety as follows:

                       ““Applicable Rate”means( a)int heca s
                                                           eofEur  odolla
                                                                        rRa te
                Loans, 4.50% per annum and (b) in the case of Base Rate Loans,
                3.
                 50% pe  rannum. ”

                7.3    Definition of Availability Block. The definition of Availability Block set
 forth in Section 1.01 of the Credit Agreement is hereby amended and restated in its entirety as
 follows:

                        “
                        “Availability Block”me
                                             ans$25,
                                                   000,
                                                      000.”

                7.4   Definition of Base Rate. The definition of Base Rate set forth in Section 1.01
 of the Credit Agreement is hereby amended and restated in its entirety as follows:

                         ““Base Rate”me   ans ,ona  nyda t
                                                         e,thegr ea t
                                                                    e rof( a)th er ate
                from time to time publicly announced by Wachovia, or its successors,
                as its prime rate, whether or not such announced rate is the best rate
                available at such bank or (b) the Federal Funds Effective Rate in
                effect on such day plus one-half (1/2%) percent or (c) the Eurodollar
                Rate for a three month Interest Period on such day plus two (2%)
                pe rce nt.
                         ”

                7.5    Definition of Borrowing Base. The definition of Borrowing Base set forth in
 Section 1.01 of the Credit Agreement is hereby amended and restated in its entirety as follows:

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                        “ “Borrowing Base”me      an s,ata  nyt i
                                                                me ,(a) the sum of (i)
                85% of the Eligible Accounts of the Borrower and the Designated
                Subsidiaries, minus the Dilution Reserve, and (ii) the lesser of (A)
                65% of the Value of the Eligible Inventory of the Borrower and the
                Designated Subsidiaries, (B) 85% of the Net Recovery Percentage
                multiplied by the Value of such Eligible Inventory and (C)
                $120,000,000, minus, without duplication, (b) the Other Reserves
                (other than (except for purposes of Section 2.06(b)(i)), the Specified
                Reserves) in effect at such time. The Borrowing Base in effect at any
                time shall be reasonably determined by the Administrative Agent,
                based on the Borrowing Base Certificate most recently delivered by
                the Borrower prior to such time pursuant to Section 2.15(a),
                4.01(a)(xi) or 6.17(a), but subject to (x) any adjustments thereto as a
                result of any Designated Subsidiary ceasing to be such as provided in
                Section 2.15(b) or the consummation of any Disposition and (y) the
                Ot herRe  servese stabl i
                                        she dbyt h eAdmi   nistrati
                                                                  veAge  nt.”

                7.6    Definition of Commitment. The definition of Commitment set forth in
 Section 1.01 of the Credit Agreement is hereby amended and restated in its entirety as follows:

                         ““Commitment” me     ans,a  st oe   ach Le n de r(other than
                Supplemental Loan Lender), its obligation to make Revolving Loans
                to the Borrower pursuant to Section 2.01, to acquire participations in
                Letters of Credit pursuant to Section 2.03, to acquire participations in
                Swingline Loans pursuant to Section 2.04 and to acquire
                participations in Special Agent Loans pursuant to Section 2.05,
                expressed as an amount representing the maximum aggregate amount
                of s  uc h Le nde r’s Re v olving Ex   posur eh   ereun der,a  ss   uc h
                commitment may be reduced or increased from time to time pursuant
                to assignments by or to such Lender pursuant to Section 10.06. The
                a moun  tofea chLe n der’
                                        sCommi    tme ntiss  etfort
                                                                  honSc   h edule2. 01,
                or in the Assignment and Assumption pursuant to which such Lender
                becomes a party hereto, as applicable. The aggregate amount of such
                Le n ders’Commi   tme nt
                                       sa soft h eda teoft h eRa tif
                                                                   ic ati
                                                                        onAgr   eeme n t
                is $190, 000,000. ”

                7.7     Definition of Eligible Inventory. The definition of Eligible Inventory set forth
 in Section 1.01 of the Credit Agreement is hereby amended and restated in its entirety as follows:

                        ““Eligible Inventory”me   ansI nv ent
                                                            oryc ons i
                                                                     sti
                                                                       n gof finished
                goods held for resale in the ordinary course of the business of the
                Borrower and the Designated Subsidiaries, raw materials for such
                finished goods and work-in-process consisting of unpackaged
                finished batteries that, in each case, satisfy the criteria set forth
                below, as reasonably determined by the Administrative Agent.
                Eligible Inventory shall not include: (a) work-in-process (other than
                unpackaged finished batteries); (b) components that are not part of

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                finished goods; (c) spare parts for equipment; (d) packaging, display
                and shipping materials; (e) supplies used or consumed in the business
                of the Borrower and its Subsidiaries; (f) Inventory located at premises
                other than those owned by, or leased and controlled by, the Borrower
                or any Designated Subsidiary, including Inventory in transit with
                common carriers, except Inventory located at premises with respect to
                which (i) the Collateral Agent has received a Collateral Access
                Agreement or (ii) an appropriate Landlord Reserve has been
                established; (g) Inventory subject to a Lien in favor of any Person
                other than the Collateral Agent, except Liens permitted under this
                Agreement; (h) bill and hold goods; (i) unserviceable, obsolete or
                close-out Inventory; (j) Inventory that is not subject to a valid and
                perfected security interest of the Collateral Agent as provided in the
                Collateral Documents (which security interest is first in priority,
                except with respect to nonconsensual Liens permitted under this
                Agreement that have a higher priority than such security interest as a
                matter of Law); (k) returned, damaged, re-worked and/or defective
                Inventory; (l) Inventory that is the subject of consignment by the
                Borrower or any Designated Subsidiary as consignor or consignee;
                and (m) Inventory located outside the United States, including
                Inventory in transit with common carriers. The criteria for Eligible
                Inventory set forth above may be changed and any new criteria for
                Eligible Inventory may be established by the Administrative Agent in
                its reasonable discretion based on either (i) an event, condition or
                other circumstance arising after the date hereof or (ii) an event,
                condition or other circumstance existing on the date hereof to the
                extent the Administrative Agent had no written notice thereof from
                the Borrower prior to the date hereof, which event, condition or other
                circumstance, in the case of clauses (i) and (ii), adversely affects, or
                could reasonably be expected to adversely affect, the Inventory by an
                amount that is material, all as reasonably determined by the
                Administrative Agent. Any Inventory that is not Eligible Inventory
                shall nevertheless be part of the ABL Colla   t
                                                              e ra l
                                                                   .”

                7.8    Definition of Eurodollar Rate. The definition of Eurodollar Rate set forth in
 Section 1.01 of the Credit Agreement is hereby amended and restated in its entirety as follows:

                        ““Eurodollar Rate”me     a ns,wi  t
                                                          hr espe cttoe  ac hI  nterest
                Period for any Eurodollar Rate Loan comprising part of the same
                borrowing (including conversions, extensions and renewals), the rate
                per annum determined by dividing (a) the London Interbank Offered
                Rate for such Interest Period by (b) a percentage equal to: (i) one (1)
                minus (ii) the Eurodollar Reserve Percentage. The Eurodollar Rate
                shall at no time be less than three and one-half (3.5%) percent per
                annum.”



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                  7.9     Definition of Eurodollar Reserve Percentage. The definition of Eurodollar
 Reserve Percentage set forth in Section 1.01 of the Credit Agreement is hereby amended and restated
 in its entirety as follows:

                        ““Eurodollar Reserve Percentage”me     ansf ora nyda y ,t hat
                percentage (expressed as a decimal) which is in effect from time to
                time under Regulation D of the Board of Governors of the Federal
                Reserve System (or any successor), as such regulation may be
                amended from time to time or any successor regulation, as the
                maximum reserve requirement (including, without limitation, any
                basic, supplemental, emergency, special, or marginal reserves)
                applicable with respect to Eurocurrency liabilities as that term is
                defined in Regulation D (or against any other category of liabilities
                that includes deposits by reference to which the interest rate of
                Eurodollar Rate Loans is determined), whether or not any Lender has
                any Eurocurrency liabilities subject to such reserve requirement at
                that time. Eurodollar Rate Loans shall be deemed to constitute
                Eurocurrency liabilities and as such shall be deemed subject to
                reserve requirements without benefits of credits for proration,
                exceptions or offsets that may be available from time to time to a
                Lender. The Eurodollar Rate shall be adjusted automatically on and
                as of the effective date of any change in the Eurodollar Reserve
                Pe r
                   c entage.”

                  7.10 Definition of Federal Funds Effective Rate. The definition of Federal Funds
 Effective Rate set forth in Section 1.01 of the Credit Agreement is hereby amended and restated in
 its entirety as follows:

                         ““Federal Funds Effective Rate”me       ans,fora  nyda   y,a
                fluctuating rate of interest per annum equal to the weighted average
                of the rates on overnight Federal funds transactions with members of
                the Federal Reserve System arranged by Federal funds brokers on
                such day, as published by the Federal Reserve Bank of New York on
                the Business Day next succeeding such day; provided, that, (a) if such
                day is not a Business Day, the Federal Funds Effective Rate for such
                day shall be such rate on such transactions on the next preceding
                Business Day as so published on the next succeeding Business Day
                and (b) if no such rate is so published on such next succeeding
                Business Day, the Federal Funds Effective Rate for such day shall be
                the average of the quotations on such day on such transactions
                received by the Administrative Agent from three Federal funds
                b r
                  oke r sofr ecogni zeds tan dings el
                                                    ect
                                                      e dbyi  t
                                                              .”

                7.11 Definition of Guarantee and Collateral Requirement. Paragraph (c) of the
 definition of Guarantee and Collateral Requirement set forth in Section 1.01 of the Credit Agreement
 is hereby amended and restated in its entirety as follows:


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                       “ (c) with respect to each deposit account maintained by
                any Loan Party, the Collateral Agent shall have received a
                counterpart, duly executed and delivered by the applicable Loan Party
                and the depositary institution, of a Deposit Account Control
                Agreement; provided, that the foregoing shall not require delivery of
                any such agreement with respect to (i) deposit accounts maintained
                outside the United States or (ii) deposit accounts with respect to
                which such a Deposit Account Control Agreement is prohibited under
                applicable Law or under agreements establishing such accounts
                (provided that such prohibitions in such agreements were not entered
                into in contemplation of the requirements set forth in this
                paragraph);”

                 7.12 Definition of Interest Payment Date. The definition of Interest Payment Date
 set forth in Section 1.01 of the Credit Agreement is hereby amended and restated in its entirety as
 follows:

                        ““Interest Payment Date”me      ans(  a)a
                                                                st oa  nyEur od ollar
                Rate Loan, the last day of each Interest Period applicable to such
                Loan and the Maturity Date; provided however, that if any Interest
                Period for a Eurodollar Rate Loan exceeds three months, the
                respective dates that fall every three months after the beginning of
                such Interest Period shall also be Interest Payment Dates; and (b) as
                to any Base Rate Loan, the first Business Day of each month and the
                Ma  t
                    urityDa t e.
                               ”

                7.13 Definition of Lenders. The definition of Lenders set forth in Section 1.01 of
 the Credit Agreement is hereby amended and restated in its entirety as follows:

                        ““Lenders”me   a nsthePe  r
                                                  sonsl ist
                                                          edonSc   h edule2.01a  s
                having a Commitment and any other Person that shall have become a
                party hereto pursuant to an Assignment and Assumption, other than
                any such Person that ceases to be a party hereto pursuant to an
                Assignment and Assumption. Unless the context otherwise requires,
                thet  erm “ Le nders”i  nc l
                                           ude st he Swi ngline Le  nderand the
                Administrative Agent, in its capacity as the lender of the Special
                Agent Loans.”

                 7.14 Definition of Letter of Credit Limit. The definition of Letter of Credit Limit
 set forth in Section 1.01 of the Credit Agreement is hereby amended and restated in its entirety as
 follows:

                       “
                       “Letter of Credit Limit”me
                                                ans$20,
                                                      000,
                                                         000.
                                                            ”

              7.15 Definition of Loan. The definition of Loan set forth in Section 1.01 of the
 Credit Agreement is hereby amended and restated in its entirety as follows:



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                       ““Loan”me    an saRe   v ol
                                                 vingLoa
                                                       n,aSwi nglineLoa n,a
               Special Agent Loan or the Supplemental Loan, or a combination
               thereof, as the context requires.”

                7.16 Definition of Loan Documents. The definition of Loan Documents set forth in
 Section 1.01 of the Credit Agreement is hereby amended and restated in its entirety as follows:

                       ““Loan Documents”me   ans ,collectively,
                                                              thisAgree me nt,
                                                                             the
               Ratification Agreement, the ABL Intercreditor Agreement, the ABL
               Guarantee and Collateral Agreement and the other Collateral
               Documents.”

                  7.17 Definition of London Interbank Offered Rate. The definition of London
 Interbank Offered Rate set forth in Section 1.01 of the Credit Agreement is hereby amended and
 restated in its entirety as follows:

                       ““London Interbank Offered Rate”me         ans ,f
                                                                       ora  nyI nterest
               Period, the rate of interest per annum (rounded upwards, if necessary,
               to the nearest 1/100 of 1%) appearing on Reuters Screen LIBOR01
               Page (or any successor page) as the London interbank offered rate for
               deposits in Dollars at approximately 11:00 a.m., London time, two
               Business Days prior to the first (1st) day of such Interest Period for a
               term comparable to such Interest Period; provided, that, if more than
               one rate is specified on Reuters Screen LIBOR01 Page (or such
               successor page), the applicable rate shall be the arithmetic mean of all
               such rates. In the event that such rate does not appear on such page
               (or otherwi seont    heRe  ut ersSe rvice),the nt he“  Eurod ollarBa s e
               Ra te”fors uc hI nte restPe riods hal
                                                   l bethera tepe ra nnumde  termi ne d
               by the Administrative Agent to be the rate at which deposits in
               Dollars for delivery on the first (1st) day of such Interest Period in
               same day funds in the approximate amount of the Eurodollar Rate
               Loan being made, continued or converted and with a term equivalent
               to such Interest Period would be offered by the London Branch of
               Wachovia to major banks in the London interbank eurocurrency
               market at their request at approximately 11:00 a.m., London time,
               two (2) Business Days prior to the first (1st) day of such Interest
               Period. ”

                7.18 Definition of Maturity Date. The definition of Maturity Date set forth in
 Section 1.01 of the Credit Agreement is hereby amended and restated in its entirety as follows:

                      “ “Maturity Date”me     an st hee arli
                                                           e rt ooc curof(  a)Stated
               Expiry Date, (b) forty-five (45) days after the entry of the Interim
               Financing Order if the Permanent Financing Order has not been
               entered prior to the expiration of such forty-five (45) day period, (c)
               the substantial consummation (as defined in Section 1101 of the
               Bankruptcy Code and which for purposes hereof shall be no later than

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               the“  ef
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                          ivedate”)ofapl  anofr  eorganiza ti
                                                            onf  iled in the Chapter
               11 Cases that is confirmed pursuant to an order entered by the
               Bankruptcy Court or (d) the termination of the Commitments in
               accordance with the terms hereof; provided, that, this Agreement and
               all other Loan Documents must be terminated s   imul  taneous l
                                                                             y.”

                7.19 Definition of Overadvance Loan. The definition of Overadvance Loan set
 forth in Section 1.01 of the Credit Agreement is hereby amended and restated in its entirety as
 follows:

                       ““Overadvance Loan”me      ansa nyRe  vol vi
                                                                  ngLoa  ni f,a ft
                                                                                 er
               giving effect to the making thereof, the aggregate amount of the
               Revolving Exposures (other than any portion thereof attributable to
               the Special Agent Loan Exposure) exceeds an amount equal to (a) the
               lesser of (i) the aggregate Commitments at such time and (ii) the
               Borrowing Base at such time, less (b) the Specified Reserves at such
               time, less (c) the Availability Block. No Overadvance Loan shall
               cause the Aggregate Revolving Exposures to exceed the aggregate
               Commitments at such time.”

              7.20 Definition of Overadvance Maximum Amount. The definition of
 Overadvance Maximum Amount set forth in Section 1.01 of the Credit Agreement is hereby
 amended and restated in its entirety as follows:

                       ““Overadvance Maximum Amount”means, at any time, an
               amount determined by the Administrative Agent in its discretion to be
               the Overadvance Maximum Amount at such time; provided, that (a)
               such amount shall not exceed, at any time, $5,000,000; provided,
               further that the Administrative Agent and Required Lenders may
               increase the Overadvance Maximum Amount to an amount not to
               exceed, at any time, $10,000,000.”

                  7.21 Definition of Special Agent Loan Exposure. The definition of Special Agent
 Loan Exposure set forth in Section 1.01 of the Credit Agreement is hereby amended and restated in
 its entirety as follows:

                   ““
                    Special Agent Loan Exposure”me
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                                                   ,ata
                                                      nyt
                                                        ime
                                                          ,and
               a
               moun
                  tequalt
                        o$0  .
                             ”

               7.22 Definition of Special Agent Loan Maximum Amount. The definition of
 Special Agent Loan Maximum Amount set forth in Section 1.01 of the Credit Agreement is hereby
 amended and restated in its entirety as follows:

                       ““Special Agent Loan Maximum Amount”means, at any
               time, an amount e qualt
                                     o$0. ”

                7.23 Specified Reserves. The definition of Specified Reserves set forth in Section
 1.01 of the Credit Agreement is hereby amended and restated in its entirety as follows:

                                                18
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                         ““Specified Reserves”me   a ns,asof anyda  t
                                                                    eof  det
                                                                           e r
                                                                             minati
                                                                                  on,
                Other Reserves on account of items that, in the reasonable judgment
                of the Administrative Agent, would result in a future cash
                expenditure by or on behalf of the Borrower or any Subsidiary;
                provided, that the Administrative Agent may at any time and from
                time to time, in its discretion, (a) reduce the amount of Specified
                Reserves below the amount that would otherwise constitute Specified
                Reserves determined in accordance with this definition and (b)
                reinstate (in whole or in part) any reduction made pursuant to clause
                (a), it being understood that any reduction or reinstatement made
                pursuant to this paragraph shall not, in itself, affect the amount of
                Other Reserves (which shall be determined in accordance with the
                definition of such term). Borrower and the Administrative Agent
                acknowledge and agree that the reserves provided for in Section 2.4
                oft heFi  nancingOr  ders hallc ons ti
                                                     tuteSpe cif
                                                               ie dRe s erves.
                                                                             ”

                7.24 Definition of Swingline Limit. The definition of Swingline Limit set forth in
 Section 1.01 of the Credit Agreement is hereby amended and restated in its entirety as follows:

                        “
                        “Swingline Limit”me
                                          ans$20,
                                                000,
                                                   000.
                                                      ”

                 7.25 Commitments. Section 2.01(b) of the Credit Agreement is hereby amended
 and restated in its entirety as follows:

                        ““(b ) the aggregate amount of the Revolving Exposures
                exceeding an amount equal to (i) the lesser of (A) the aggregate
                Commitments at such time and (B) the Borrowing Base at such time,
                minus (ii) the Availability Block, minus (iii) the Specified Reserves
                at such time, plus (iv) the Overadvance Maximum Amount at such
                time, plus (v) the Special Agent Loan Maximum Amount at such
                time .
                     ”

                7.26    Letters of Credit. Section 2.03 of the Credit Agreement is hereby amended as
 follows:

                  (a)   Section 2.03(b) of the Credit Agreement is hereby amended and restated in its
 entirety as follows:

                        “(b) Notice of Issuance, Amendment, Renewal and
                Extension; Certain Conditions. To request the issuance of a Letter of
                Credit (or the amendment, renewal or extension of an outstanding
                Letter of Credit), the Borrower shall hand deliver or send by facsimile
                (or transmit by electronic communication, if arrangements for doing
                so have been approved by the applicable LC Issuer) to the applicable
                LC Issuer and the Administrative Agent (reasonably in advance of the
                requested date of issuance, amendment, renewal or extension) a
                notice requesting the issuance of such Letter of Credit, or identifying

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                the Letter of Credit to be amended, renewed or extended, and
                specifying the date of issuance, amendment, renewal or extension, as
                applicable (which shall be a Business Day), the date on which such
                Letter of Credit is to expire (which shall comply with Section
                2.03(c)), the amount of such Letter of Credit, the name and address of
                the beneficiary thereof, the account party for such Letter of Credit
                and such other information as shall be necessary to enable the
                applicable LC Issuer to prepare, amend, renew or extend such Letter
                of Credit. If requested by the applicable LC Issuer, the Borrower also
                shall submit a letter of credit application on the applicable LC
                Issue r’
                       ss tan dardf  orminc onn ectionwi tha nyr  eque stf
                                                                         oraLe  t
                                                                                terof
                Credit. A Letter of Credit shall be issued, amended, renewed or
                extended only if (and upon issuance, amendment, renewal or
                extension of each Letter of Credit the Borrower shall be deemed to
                represent and warrant that), after giving effect to such issuance,
                amendment, renewal or extension, (i) the aggregate LC Exposure will
                not exceed the Letter of Credit Limit and (ii) the aggregate amount of
                the Revolving Exposures (other than any portion thereof attributable
                to Overadvance Loans or Special Agent Loans) will not exceed (A)
                the lesser of (1) the aggregate Commitments at such time and (2) the
                Borrowing Base at such time, minus (B) the Availability Block at
                such time, minus (C) the Specified Reserves at such time. Each LC
                Issuer agrees that it will not issue, renew, extend or increase the
                amount of any Letter of Credit without first obtaining written
                confirmation from the Administrative Agent that such action is then
                pe r
                   mi ttedun  de rt hisAgr eeme nt.
                                                  ”

                  (b)   Section 2.03(l) of the Credit Agreement is hereby amended and restated in its
 entirety as follows:

                         “(l) Cash Collateralization. If any Event of Default shall
                occur and be continuing or if the Borrower is required to provide cash
                collateral pursuant to Section 2.06(b), on the Business Day that the
                Borrower receives notice from the Administrative Agent or the
                Required Lenders demanding the deposit of cash collateral pursuant
                to this Section 2.03(l), the Borrower shall deposit in an account
                designated by the Administrative Agent, in the name of the
                Administrative Agent and for the ratable benefit of the Lenders, an
                amount in cash equal to 110% of the LC Exposure as of such date
                plus any accrued and unpaid interest thereon; provided that the
                obligation to deposit such cash collateral shall become effective
                immediately, and such deposit shall become immediately due and
                payable, without demand or other notice of any kind, (i) upon the
                occurrence of any Event of Default described in Section 8.01(f) and
                (ii) as required by Section 2.06(b). Such deposit shall be held by the
                Administrative Agent as collateral for the payment and performance
                of the Obligations under this Agreement. The Administrative Agent

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               shall have exclusive dominion and control, including the exclusive
               right of withdrawal, over such account. Other than any interest
               earned on the investment of such deposits, which investments shall be
               made at the option and sole discretion of the Administrative Agent
               an da tt heBor  rowe  r’
                                      sr  i
                                          ska  nde x pense(  provide dt h ats uc hc ash
               collateral shall be invested solely in investments that provide for
               preservation of capital), such deposits shall not bear interest. Interest
               or profits, if any, on such investments shall accumulate in such
               account. Moneys in such account shall be applied by the
               Administrative Agent to reimburse the LC Issuers for LC
               Disbursements for which they have not been reimbursed and, to the
               extent not so applied, shall be held for the satisfaction of the
               reimbursement obligations of the Borrower for the LC Exposure at
               such time or, if the maturity of the Loans has been accelerated (but
               subject to the consent of the Required Lenders), be applied to satisfy
               other obligations of the Borrower under this Agreement. If the
               Borrower is required to deposit cash collateral hereunder as a result
               of the occurrence of an Event of Default, such amount (to the extent
               not applied as aforesaid) shall be returned to the Borrower (i) within
               three Business Days after all Events of Default have been cured or
               waived and (ii) promptly upon the payment in full of all the
               Obligations and the reduction of the aggregate LC Exposure to zero.
               If the Borrower is required to provide cash collateral hereunder
               pursuant to Section 2.06(b), such amount (to the extent not applied as
               aforesaid) shall be returned to the Borrower as and to the extent that,
               after giving effect to such return, the Borrower would remain in
               compl  i
                      a ncewi  t
                               hSe  ction2. 06( b).
                                                  ”

                 7.27 Swingline Loans. Section 2.04(a) of the Credit Agreement is hereby amended
 and restated in its entirety as follows:

                       “(a) Generally. Subject to the terms and conditions set
               forth herein, the Swingline Lender agrees to make Swingline Loans
               to the Borrower from time to time during the Availability Period, in
               an aggregate principal amount at any time outstanding that will not
               result in (i) the aggregate Swingline Exposure exceeding the
               Swingline Limit or (ii) the aggregate amount of the Revolving
               Exposures exceeding an amount equal to (A) the lesser of (1) the
               aggregate Commitments at such time and (2) the Borrowing Base at
               such time, minus (B) the Availability Block, minus (C) the Specified
               Reserves at such time, plus (D) the Overadvance Maximum Amount
               at such time, plus (E) the Special Agent Loan Maximum Amount at
               such time; provided that the Swingline Lender shall not be required to
               make a Swingline Loan to refinance an outstanding Swingline Loan.
               Within the foregoing limits and subject to the terms and conditions
               set forth herein, the Borrower may borrow, prepay and reborrow
               Swi n gli
                       neLoa   ns.”

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              7.28 Special Agent Loans. Section 2.05(a) of the Credit Agreement is hereby
 amended and restated in its entirety as follows:

                      “(a) Subject to the terms and conditions set forth herein,
              the Administrative Agent may, in its discretion, from time to time
              during the Availability Period after the occurrence and during the
              continuance of a Default (and notwithstanding that any conditions
              precedent set forth in Section 4.02 are not satisfied at the time), make
              Special Agent Loans to the Borrower where the Administrative Agent
              determines that such Special Agent Loans are necessary or desirable
              (i) to preserve or protect any ABL Collateral, (ii) to enhance the
              likelihood of, or to maximize the amount of, repayment by the Loan
              Parties of the Loans and other Obligations or (iii) to pay any costs,
              fees and expenses, or any amounts due to any LC Issuer with respect
              to Letters of Credit issued by it, in each case, that are payable under
              this Credit Agreement and the other Loan Documents; provided,
              however, that the aggregate principal amount of the Special Agent
              Loans at any time outstanding will not result in the aggregate amount
              of the Revolving Exposures exceeding an amount equal to (A) the
              lesser of (1) the aggregate Commitments at such time and (2) the
              Borrowing Base at such time, minus (B) the Availability Block,
              minus (C) the Specified Reserves at such time, plus (D) the
              Overadvance Maximum Amount at such time, plus (E) the Special
              Agent Loan Maximum Amount at such time. The Borrower and each
              Revolving Lender hereby authorizes the Administrative Agent to
              make the Special Agent Loans at such time or times as the
              Administrative Agent determines pursuant to the immediately
              preceding sentence, and to disburse the proceeds thereof in such
              manner as shall reasonably be determined by the Administrative
              Agent (including by making such proceeds available to a third party
              on behalf of the Borrower). Unless the Borrower shall have provided
              to the Administrative Agent a written notice to the contrary, the
              Borrower shall be deemed to have represented and warranted on each
              date of making of a Special Agent Loan that the representations and
              warranties of the Borrower and each other Loan Party contained in
              Article V or in any other Loan Document are true and correct in all
              material respects on and as of such date as though such
              representations and warranties had been made on and as of such date,
              except to the extent that such representations and warranties by their
              terms relate to an earlier date (in which case the Borrower shall be
              deemed to have represented and warranted on such date that such
              representations and warranties are true and correct in all material
              respects ona  nda  sofs uc hear l
                                              ie rda te).
                                                        .”

              7.29 Mandatory Prepayments. Section 2.06(b)(i) of the Credit Agreement is
 hereby amended and restated in its entirety as follows:


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                       “ (i
                          ) In the event and on each date that the aggregate
               amount of the Revolving Exposures exceeds an amount equal to (A)
               the lesser of (1) the aggregate Commitments at such time and (2) the
               Borrowing Base at such time, minus (B) the Availability Block,
               minus (C) the Specified Reserves at such time, plus (D) the
               Overadvance Maximum Amount at such time, plus (E) the Special
               Agent Loan Maximum Amount at such time, the Borrower shall
               repay or prepay Revolving Borrowings or Swingline Loans (or a
               combination thereof) and, after all Revolving Borrowings and
               Swingline Loans have been repaid in full, deposit cash collateral in an
               account with the Administrative Agent pursuant to Section 2.03(l), in
               an aggregate amount equal to such excess. Notwithstanding the
               foregoing, in the case of any repayment or prepayment required to be
               made pursuant to this paragraph due to (x) a reduction by the
               Administrative Agent of the Overadvance Maximum Amount or the
               Special Agent Loan Maximum Amount or (y) the Borrowing Base in
               effect at any time, as determined by the Administrative Agent, being
               less than the amount set forth as th     e“ Bor rowi n gBa  se”i nt  he
               Borrowing Base Certificate most recently delivered by the Borrower
               prior to such time pursuant to Section 2.15(a), 4.01(a)(xi) or 6.17(a)
               (other than, in the case of clause (y), as a result of any Designated
               Subsidiary ceasing to be such pursuant to Section 2.15(b) or the
               consummation of any Disposition), the Borrower shall not be
               required to make any repayment or prepayment pursuant to this
               paragraph until the fifth Business Day after the date of notice of such
               reduction, or of such deficiency, to the Borrower by the
               Administrative Agent. Any repayment or prepayment made pursuant
               to this paragraph shall not, in itself, result in a reduction of any
               Commi   tme n t.”

              7.30 Optional Termination or Reduction. Section 2.07 of the Credit Agreement is
 hereby amended and restated in its entirety as follows:

                      “
                      Sec
                        tion2.
                             07Termination of Commitments.

                      (a)      Automatic Termination. The Commitments shall
               automatically terminate on the Maturity Date. The obligation of any
               LC Issuer to issue, amend, renew or extend any Letter of Credit shall
               terminate on the Maturity Date.

                      (b)    Payment of Fees. The Administrative Agent will
               promptly notify the Lenders of any termination of the Commitments
               under Section 2.07(a). All fees accrued on the amount of the
               Commitments so terminated to, but excluding, the date of any such
               termination shall be payable on the effective date of such
               termination.
                          ”


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              7.31 Commitment Fees. Section 2.10(a) of the Credit Agreement is hereby
 amended and restated in its entirety as follows:

                       “(a) Commitment Fees. The Borrower agrees to payto the
               Administrative Agent, for the account of each Lender, a commitment
               fee, which shall accrue at the rate of 1.00% per annum on the average
               daily unused amount of the Commitment of such Lender during the
               period from and including February 1, 2009 to but excluding the date
               on which such Commitment terminates. Accrued commitment fees
               shall be payable in arrears on the last day of March, June, September
               and December of each year and on the date on which the
               Commitments terminate, commencing on the first such date to occur
               after February 1, 2009. For purposes of computing commitment fees
               pursuant to this Section, a Commitment of a Lender shall be deemed
               to be used to the extent of the outstanding Revolving Loans and LC
               Exposure of such Lender (and the Swingline Exposure and the
               Special Agent Loan Exposure of such Lender shall be disregarded for
               suc hpur pos e).
                              ”

                7.32 Limits and Sublimits. Section 2 of the Credit Agreement is hereby amended
 by adding the following new Section 2.16 at the end of such Section:

                       “2.16 All limits and sublimits set forth in this Agreement,
               and any formula or other provision to which a limit or sublimit may
               apply, shall be determined on an aggregate basis considering together
               both the Pre-Petition Obligations and the Post-Petition Obligations.”

               7.33 Conditions Precedent to Each Credit Extension. Section 4.02(b) of the Credit
 Agreement is hereby amended and restated in its entirety as follows:

                       “(b) The Borrower shall have delivered evidence
               reasonably satisfactory to the Administrative Agent that, as of the
               date of such Credit Extension and after giving effect thereto (and to
               any prepayments to be made concurrently with such Credit
               Extension), the aggregate amount of the Revolving Exposures shall
               not exceed an amount equal to (i) the lesser of (A) the aggregate
               Commitments at such time and (B) the Borrowing Base at such time,
               minus (ii) the Availability Block, minus (iii) the Specified Reserves
               at such time, plus (iv) the Overadvance Maximum Amount at such
               time, plus (v) the Special Agent Loan Maximum Amount at such
               time .
                    ”

                7.34 Existence, Qualification and Power; Compliance with Laws. Section 5.01 of
 the Credit Agreement is hereby amended and restated in its entirety as follows:

                     “Section 5.01.    Existence, Qualification and Power;
               Compliance with Laws. Each Loan Party and each of its Subsidiaries

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              (other than any Dormant Subsidiaries) (a) is duly organized or formed
              and validly existing under the Laws of the jurisdiction of its
              incorporation or organization, (b) upon the entry of the Financing
              Order, has all requisite power and authority and all requisite
              governmental licenses, authorizations (including good standing),
              consents and approvals (i) to own or lease its assets and carry on its
              business and (ii) to execute, deliver and perform its obligations under
              the Loan Documents to which it is or is to be a party and to
              consummate the Transactions, (c) is duly qualified and is licensed
              and in good standing under the Laws of each jurisdiction where its
              ownership, lease or operation of properties or the conduct of its
              business requires such qualification or license and (d) is in
              compliance with all Laws and licenses, authorizations and permits of
              Governmental Authorities in favor of such Loan Party, except in the
              case of clauses (b)(i), (c) and (d), to the extent that failure to do so
              could not, individually or in the aggregate, reasonably be expected to
              have a Material Adverse Effect.”

              7.35 Authorization; No Contravention. Section 5.02 of the Credit Agreement is
 hereby amended and restated in its entirety as follows:

                      “Section 5.02. Authorization; No Contravention. The
              execution, delivery and performance by each Loan Party of each
              Loan Document to which such Loan Party is or is to be a party are
              within such Loan Party’   sc or
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              the Financing Order, have been duly authorized by all necessary
              corporate or other organizational action and do not and will not,
              except to the extent that such breach, contravention or conflict could
              not, individually or in the aggregate, reasonably be expected to have a
              Material Adverse Effect, (a) contravene the terms of any of such
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              any breach or contravention of, or the creation of any Lien (other than
              Permitted Liens and Liens created under the Financing Orders or
              permitted thereby) under, or require any payment to be made under
              (i) any Contractual Obligation to which such Loan Party is a party or,
              tos  uchLoa  nPa  rty’skn  owledge ,a ffectingsuch Loan Party or the
              properties of such Loan Party or any of its Subsidiaries or (ii) any
              order, injunction, writ or decree of any Governmental Authority or
              any arbitral award to which such Loan Party or its property is subject,
              or (c) violate any Law or any license, authorization or permit of a
              Governmental Authority reasonably necessarily in the conduct of
              suc hLoa  nPa  rty’sb us iness.Ea chLoa   nPa  rtya nde achSub  sidiary
              thereof is in compliance with all Contractual Obligations referred to
              in clause (b)(i), except to the extent that failure to do so could not,
              individually or in the aggregate, reasonably be expected to have a
              Material Adverse Effect.”


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                  7.36 Binding Effect. Section 5.04 of the Credit Agreement is hereby amended and
 restated in its entirety as follows:

                       “Section 5.04. Binding Effect. Subject to the entry of the
               Financing Order, this Agreement has been, and each other Loan
               Document when delivered hereunder will have been, duly executed
               and delivered by each Loan Party that is party thereto. This
               Agreement constitutes, and each other Loan Document when so
               delivered will constitute, a legal, valid and binding obligation of such
               Loan Party, enforceable against each Loan Party that is party thereto
               in accordance with its terms and the Financing Order, except to the
               extent such enforceability may be limited by the effect of applicable
               bankruptcy, insolvency or similar laws affecting the enforcement of
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               enforceability.”

              7.37 No Material Adverse Effect. Section 5.05(b) of the Credit Agreement is
 hereby amended and restated in its entirety as follows:

                      “(b) Since the Petition Date, there has been no event or
               circumstance that, individually or in the aggregate, has had or could
               reasonably be expected to have a Material Adverse Effect.”

                  7.38 Litigation. Section 5.06 of the Credit Agreement is hereby amended and
 restated in its entirety as follows:

                        “Section 5.06. Litigation. Except as disclosed on Schedule
               5.06, with the exception of the Chapter 11 Cases, there are no actions,
               suits, proceedings, claims or disputes pending or, to the knowledge of
               the Borrower, threatened or contemplated, at law, in equity, in
               arbitration or before any Governmental Authority, against the
               Borrower or any of its Subsidiaries or against any of their properties
               or revenues that, individually or in the aggregate, could reasonably be
               expected to have a Material Adverse Effect.”

                  7.39 No Default. Section 5.07 of the Credit Agreement is hereby amended and
 restated in its entirety as follows:

                      “Section 5.07. No Default. Except as a result of the
               commencement of the Chapter 11 Cases, neither the Borrower nor
               any Subsidiary is in default under or with respect to, or a party to, any
               Contractual Obligation that, individually or in the aggregate, could
               reasonably be expected to have a Material Adverse Effect.”

                  7.40 Solvency. Section 5.17 of the Credit Agreement is hereby amended and
 restated in its entirety as follows:

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                 7.41 Certain Accounts. Section 5.19 of the Credit Agreement is hereby amended
 and restated in its entirety as follows:

                       “Section 5.19. Certain Accounts. All of the deposit accounts
               in the name of or used by any Loan Party maintained at any bank or
               other financial institution are set forth on Schedule 5 to the Perfection
               Certificate, subject to the right of each Loan Party to establish new
               accounts so long as the Guarantee and Collateral Requirement with
               respect thereto shall have been satisfied.”

                 7.42 Use of Proceeds. Section 6.12 of the Credit Agreement is hereby amended
 and restated in its entirety as follows:

                      “
                      Se ction6. 12.Use of Proceeds. Use the proceeds of the
               Loans shall be in accordance with Section 5.2 of the Ratification
               Agreement.”

              7.43 Collateral Reporting. Section 6.17(a) of the Credit Agreement is hereby
 amended and restated in its entirety as follows:

                     “Section 6.17 Collateral Reporting. (a) Provide to the
               Administrative Agent the following documents:

                       (i)     on a daily basis, a Borrowing Base Certificate,
               executed and certified on behalf of the Borrower as accurate and
               complete in all material respects by a Responsible Officer of the
               Borrower, together with all exhibits, schedules and other supporting
               information as is provided in the form of such certificate or as the
               Administrative Agent shall reasonably request, including, but not
               limited to, (A) daily rollforwards of accounts receivable and (B) a
               certificate signed by a Responsible Officer of the Borrower, in form
               and detail reasonably satisfactory to the Administrative Agent, setting
               forth the aggregate Accounts of the Borrower and the Designated
               Subsidiaries as of such date and the aggregate sales, collections and
               credit memos with respect to accounts receivable of the Borrower and
               the Designated Subsidiaries as of such date, together with such
               supporting information as the Administrative Agent shall reasonably
               request;

                      (ii)    as soon as practicable, and in any event within two (2)
               calendar days, after the end of each week, a summary perpetual
               inventory report with respect to the Inventory of the Borrower and the
               Designated Subsidiaries as of the end of such week;

                      (iii)   as soon as practicable, and in any event within ten (10)
               calendar days, after the end of each fiscal month of the Borrower, (A)
               a summary inventory report, setting forth the Inventory of the
               Borrower and the Designated Subsidiaries by location and category
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                (and including the amounts of Inventory and the value thereof at any
                leased locations and at premises of warehousers, processors or other
                third parties from time to time in possession of any ABL Collateral),
                (B) a summary of aging of accounts receivable of the Borrower and
                the Designated Subsidiaries, together with a reconciliation to the
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                                                            edge r,and( C)asumma  ry
                aging of accounts payable of the Borrower and the Designated
                Subsidiaries (and including information indicating the amounts owing
                to owners and lessors of leased premises, warehouses, processors and
                other third parties from time to time in possession of any ABL
                Collateral);

                        (iv)   copies of all financial reports, schedules and other
                materials and information at any time furnished by or on behalf of
                Borrower or any Subsidiary Loan Party to the Bankruptcy Court, or
                theU. S. Tr ust
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                Subsidi aryLoa nPa  rty’sshareholders,c oncurre ntl
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                thereoft ot heBa nkr uptcyCour  t,
                                                 creditors’c ommi  t
                                                                   tee,U. S.Trustee
                or shareholders, as the case may be; and

                       (v)      such other information with respect to the ABL
                Collateral as the Administrative Agent shall reasonably request from
                t
                imet  otime  .”

              7.44 Evaluations of the Borrowing Base and Related Assets. Section 6.18 of the
 Credit Agreement is hereby amended and restated in its entirety as follows:

                        “Section6.  18. Evaluations of the Borrowing Base and
                Related Assets. Permit any representatives designated by the
                Administrative Agent (including any consultants, accountants,
                lawyers and appraisers retained by the Administrative Agent) to
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                of the Borrowing Base and the assets included in the Borrowing Base
                (and such other assets and properties of the Borrower or the
                Subsidiaries as the Administrative Agent may reasonably require),
                including field examinations and appraisals of such assets, all at
                reasonable times and upon reasonable advance notice to the
                Borrower. Notwithstanding the foregoing, so long as no Event of
                Default exists and is continuing, it is agreed that not less than three
                (3) but not more than four (4) field examinations and not less than
                two (2) but not more than three (3) appraisals may be conducted in
                any 12-mon  thpe riod.”

                 7.45 Sale of Assets, Consolidation, Merger, Disabilities, Etc. Notwithstanding
 anything to the contrary contained in Section 7.05 of the Credit Agreement or any other provision of
 the Credit Agreement, the ABL Guarantee and Collateral Agreement or the other Loan Documents,
 Borrower and Subsidiary Loan Parties shall not directly or indirectly sell, transfer, lease, encumber,

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 return or otherwise dispose of any portion of the ABL Collateral or any other assets of Borrower and
 Subsidiary Loan Parties, including, without limitation, assume, reject or assign any leasehold interest
 or enter into any agreement to return Inventory to vendor, whether pursuant to Section 546 of the
 Bankruptcy Code or otherwise, without the prior written consent of Agent (and no such consent shall
 be implied, from any other action, inaction or acquiescence by Agent or any Lender) except for sales
 of Borrower’  s and Subsidiary Loan Parties’Inventory in the ordinary course of their business.

                  7.46 Investments in Foreign Subsidiaries. Notwithstanding anything to the
 contrary contained in Section 7.03 of the Credit Agreement or any other provision of the Credit
 Agreement, the ABL Guarantee and Collateral Agreement or the other Loan Documents, Borrower
 and Subsidiary Loan Parties shall not directly or indirectly make any Investments in any Foreign
 Subsidiaries or in any Subsidiaries that are not Subsidiary Loan Parties except for the Investments
 outstanding as of the date hereof or except as specifically permitted by Agent and Required Lenders
 in their sole discretion.

                7.47    Events of Default. Section 8.01 of the Credit Agreement is hereby amended
 as follows:

                  (a)   Section 8.01(a) of the Credit Agreement is hereby amended and restated in its
 entirety as follows.

                        “(a ) Non-Payment. Any Loan Party shall fail (i) to pay
                when due any amount of principal of any Loan or the Supplemental
                Loan, or any reimbursement obligation in respect of any LC
                Disbursement, (ii) to pay within three days after the same becomes
                due, any interest on any Loan, on the Supplemental Loan or on any
                LC Disbursement, or any fee due hereunder, or (iii) to pay within five
                days after the same becomes due any other amount payable hereunder
                or under anyot   h
                                 erLoa nDoc  ume n t
                                                   ;”

                  (b)   Section 8.01(e) of the Credit Agreement is hereby amended and restated in its
 entirety as follows.

                        “ (e) Cross-Default. (i) Any Loan Party (A) fails to make
                any payment when due (whether by scheduled maturity, required
                prepayment, acceleration, demand or otherwise) in respect of any
                Material Indebtedness (other than Indebtedness hereunder) and such
                failure shall continue after the applicable grace period or (B) fails to
                observe or perform any other agreement or condition relating to any
                Material Indebtedness or contained in any instrument or agreement
                evidencing, securing or relating thereto, or any other event occurs, the
                effect of which failure or such other event is to cause, or to permit the
                holder or holders of Material Indebtedness to cause (after the
                applicable grace period, with the giving of notice if required), such
                Material Indebtedness to be demanded or to become due or to be
                repurchased, prepaid, defeased or redeemed (automatically or
                otherwise), or an offer to repurchase, prepay, defease or redeem such

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                Material Indebtedness to be made, prior to its stated maturity; or (ii)
                there occurs under any Swap Contract an Early Termination Date (as
                defined in such Swap Contract) resulting from (A) any event of
                default under such Swap Contract as to which the Borrower or any
                Subsidiary is the Defaulting Party (as defined in such Swap Contract)
                or (B) any Termination Event (as so defined) under such Swap
                Contract as to which the Borrower or any Subsidiary is an Affected
                Party (as so defined) and, in either event, the Swap Termination
                Value owed by the Borrower or such Subsidiary as a result thereof is
                greater than the Threshold Amount; provided, that an Event of
                Default shall not be deemed to have occurred as a result of any of the
                foregoing failures, defaults or occurrences, which arise as a direct
                result of the filing of the Chapter 11 Cases by any Loan Party;”

                 (c)    Sections 8.01(f) and 8.01(g) of the Credit Agreement are hereby amended to
 delete all references to “
                          any Loan Party”and substitute “     any Loan Party (other than Debtors)”
 therefor.

                 (d)   Section 8.01 of the Credit Agreement is hereby amended by (i) deleting the
 reference to the word “
                       or”at the end of Section 8.01(l), (ii) replacing the period appearing at the end
 of Section 8.01(m) with a semicolon, and (iii) adding the following:

                        “(n) the occurrence of any condition or event which permits
                the Administrative Agent and Lenders to exercise any of the remedies
                set forth in the Financing Order, including, without limitation, any
                “Event of Default”(as defined in the Financing Order);

                       (o) the termination or non-renewal of the Loan Documents as
                provided for in the Financing Order;

                       (p) any Loan Party suspends or discontinues or is enjoined by
                any court or governmental agency from continuing to conduct all or
                any material part of its business, or a trustee, receiver or custodian is
                appointed for any Loan Party, or any of their respective properties;

                       (q) any act, condition or event occurring after the Petition
                Date that has or would reasonably be expected to have a Material
                Adverse Effect upon the assets of any Loan Party, or the ABL
                Collateral or the rights and remedies of the Administrative Agent and
                Lenders under the Credit Agreement or any other Loan Documents or
                the Financing Order;

                       (r) conversion of any Chapter 11 Case to a Chapter 7 case
                under the Bankruptcy Code;

                      (s) dismissal of any Chapter 11 Case or any subsequent
                Chapter 7 case either voluntarily or involuntarily;


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                        (t) the grant of a lien on or other interest in any property of
                any Loan Party (other than a Permitted Lien or by the Financing
                Order) or an administrative expense claim (other than such
                administrative expense claim permitted by the Financing Order or the
                Ratification Agreement), including by the grant of or allowance by
                the Bankruptcy Court which is superior to or ranks in parity with the
                Administrative Agent’  s and Lenders’security interest in or lien upon
                the ABL Collateral or their Superpriority Claim (as defined in the
                Financing Order);

                       (u) the Financing Order shall be modified, reversed, revoked,
                remanded, stayed, rescinded, vacated or amended on appeal or by the
                Bankruptcy Court without the prior written consent of the
                Administrative Agent (and no such consent shall be implied from any
                other authorization or acquiescence by the Administrative Agent or
                any Lender);

                       (v) the appointment of a trustee pursuant to Sections
                1104(a)(1) or 1104(a)(2) of the Bankruptcy Code;

                       (w) the appointment of an examiner with special powers
                pursuant to Section 1104(a) of the Bankruptcy Code;

                        (x) the filing of a plan of reorganization or liquidation by or
                on behalf of any Loan Party, to which the Administrative Agent has
                not consented in writing, which does not provide for payment in full
                of all Obligations on the effective date thereof in accordance with the
                terms and conditions contained herein; or

                        (y) the confirmation of any plan of reorganization or
                liquidation in the Chapter 11 Case of any Loan Party, to which the
                Administrative Agent has not consented to in writing, which does not
                provide for payment in full of all Obligations on the effective date
                thereof in accordance with the terms and conditions contained
                herein.”

              7.48 Remedies Upon Event of Default. Section 8.02 of the Credit Agreement is
 hereby amended as follows:

                  (a)   Section 8.02(c) of the Credit Agreement is hereby amended and restated in its
 entirety as follows:

                       “(c) require that the Borrower (i) cash collateralize the LC
                Exposure in accordance with Section 2.03(l) or (ii) deposit, subject to
                Section 4.02 of the ABL Guarantee and Collateral Agreement, in an
                account designated by the Administrative Agent, in an amount in
                cash equal to 110% of a
                                      nyLe  nderPa rty’sex pos ur eunder each Swap
                Contract where such Lender Party is a counterparty thereto (other
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                than any such Swap Contract with respect to which the Lender Party
                that is the counterparty thereto shall have agreed in writing that such
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                                    llbede   eme  dn ott ob  ea“  Swa pCon   tract ”for
                purposes of the ABL Guarantee and Collateral Agreemen        t
                                                                             ) ;an d”

                 (b)      The last clause of Section 8.02 of the Credit Agreement is hereby amended
 and restated in its entirety as follows:

                        “provided, however, that upon the occurrence any Event of
                Default with respect to the Borrower described in Section 8.01(f), the
                Commitments shall automatically terminate, the unpaid principal
                amount of all outstanding Loans (including, without limitation, the
                Supplemental Loan) and all interest and other amounts as aforesaid
                shall automatically become due and payable, and the obligation of the
                Borrower to cash collateralize the LC Exposure and the exposure
                under any Swap Contract as aforesaid shall automatically become
                effective, in each case without further act of the Administrative Agent
                or any Lender.”

               7.49 Arranger and Documentation Agent Duties. Section 9.09 of the Credit
 Agreement is hereby amended and restated in its entirety as follows:

                       “Section 9.09. No Arranger or Documentation Agent Duties.
                Anything herein to the contrary notwithstanding, no Arranger or
                Documentation Agent shall have any duties or responsibilities under
                this Agreement or any of the other Loan Documents solely in its
                capacity as an Arranger or Documentation Agent.”

                7.50 Notices. Schedule 10.02 of the Credit Agreement is hereby amended by
 adding that any notices, requests and demands also be sent to the following parties:

                 If to Administrative Agent or      Otterbourg, Steindler, Houston & Rosen, P.C.
                 any Lender with a copy to:         230 Park Avenue
                                                    New York, New York 10169
                                                    Facsimile No.: (212) 682-6104
                                                    Attention:      Jonathan N. Helfat, Esq.

                 7.51 Expenses; Indemnity; Damage Waiver. Section 10.04 of the Credit
 Agreement is hereby amended by (a) i  nserti
                                            ngth ephrase“,e achSuppl  eme  ntalLoa  nPa  rt
                                                                                          icipant”
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 (including without limitation Lazard Frères & Co. LLC as advisor to certain Supplemental Loan
 Pa rticipants)
              ”a fterthewor  d“ con s
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                                      ants
                                         ”inc l
                                              aus e(v)ofSec t
                                                            ion10. 04(a ),(c) inserting the phrase
 “, ea chSup pleme  nt
                     al Loa nPa rtici
                                    pant
                                       ”a f
                                          terthewor d“ Lender”inc lause( ix)ofSe   ction10. 04( a)
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 and (d) i nser
              tingt heph rase“ ,ea chSupple
                                          me ntalLoanPa rti
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 first sentence of Section 10.4(b).



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               7.52 Successors and Assigns. Section 10.06 of the Credit Agreement is hereby
 amended as follows:

                  (a)     Section 10.06(d) of the Credit Agreement is hereby amended and restated in
 its entirety as follows:

                         “(d) Right to Assign. Each Lender shall have the right at
                any time to assign to any Eligible Assignee all or a portion of its
                rights and obligations under this Agreement, including all or a portion
                of its Commitment and Loans or of any other Obligations; provided,
                that (i) except in the case of assignments made by GSCP or
                Wachovia, the Administrative Agent and each LC Issuer must give its
                prior written consent to such assignment (which consent shall not be
                unreasonably withheld), (ii) except in the case of an assignment to a
                Person meeting the criteria of clause (a) of the definition of the term
                Eligible Assignee, or any assignment made at a time when an Event
                of Default shall have occurred and be continuing, the Borrower must
                give its prior written consent to such assignment (which consent shall
                not be unreasonably withheld), (iii) except in the case of an
                assignment to a Person meeting the criteria of clause (a) of the
                definition of the term Eligible Assignee or an assignment of the entire
                rema  ining a moun  toft  h ea  ssigning Le nder ’
                                                                 sCommi     tme nt,t  h
                                                                                      e
                amount of the Commitment of the assigning Lender subject to each
                such assignment (determined as of the date the Assignment and
                Assumption with respect to such assignment is delivered to the
                Administrative Agent) shall not be less than $5,000,000 unless each
                of the Borrower and the Administrative Agent otherwise consent, (iv)
                each partial assignment shall be made as an assignment of a
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                         on atepa rt ofallt
                                          h ea ssigningLe  nder’
                                                               sr ightsa ndobl  igations
                under this Agreement and (v) the assignee, if it shall not be a Lender,
                shall deliver to the Administrative Agent an Administrative
                Questionnaire. Notwithstanding the foregoing, in the case of any
                assignment by any Lender to any Supplemental Loan Participant, the
                Administrative Agent must give its prior written consent to such
                Supplemental Loan Participant as a condition precedent to such
                assignment.  ”

                  (b)   Section 10.06(f) of the Credit Agreement is hereby amended and restated in its
 entirety as follows:

                        “ (f)    Representations and Warranties of Assignee. Each
                Lender, upon execution and delivery hereof or upon succeeding to an
                interest in the Commitments and Loans represents and warrants as of
                the Closing Date or as of the Assignment Effective Date that (i) it is
                an Eligible Assignee; (ii) it has experience and expertise in the
                making of or investing in commitments or loans such as the
                Commitments and Loans; and (iii) it will make or invest in its

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                Commitment and Loans for its own account in the ordinary course
                and without a view to distribution of such Commitment or Loans in
                violation of the Securities Laws (it being understood that, subject to
                the provisions of this Section 10.06, the disposition of such
                Commitments or Loans or any interests therein shall at all times
                remain within its exclusive control).”

                7.53 Governing Law. Section 10.13(a) of the Credit Agreement is hereby amended
 by adding the following at the end thereof:

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                  7.54 Schedule 2.01. Schedule 2.01 of the Credit Agreement is hereby amended and
 restated in its entirety as set forth on Exhibit A attached hereto.

        8.      AMENDMENTS TO ABL COLLATERAL AGREEMENT.

             8.1    Secured Parties. The definition of Secured Parties set forth in Section 1.02 of
 the ABL Guarantee and Collateral Agreement is hereby amended and restated in its entirety as
 follows:

                       ““ Se cured Pa rtie s” me   a
                                                   ns (  a)t   he Le  nders,(  b)t  h e
                Administrative Agent, (c) the Collateral Agent, (d) the Syndication
                Agent, (e) the Arrangers, (f) the LC Issuers, (g) the Lender Parties to
                whom any of the Obligations are owed, (h) the Supplemental Loan
                Lender and (i) the permitted successors and assigns of each of the
                foregoing.”

               8.2    Indebtedness. Section 3.03(d) of the ABL Guarantee and Collateral
 Agreement is hereby amended and restated in its entirety as follows:

                         “(
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                Agent may reasonably designate shall have the right, at any time, to
                inspect the ABL Collateral, all records related thereto (and to make
                extracts and copies from such records) and the premises upon which
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                affairs with the officers of the Loan Parties and their independent
                accountants and to verify under reasonable procedures, in accordance
                with Section 6.11 of the Credit Agreement, the validity, amount,
                quality, quantity, value, condition and status of, or any other matter
                relating to, the ABL Collateral. In the case of Accounts or other ABL
                Collateral in the possession of any third Person, the Collateral Agent
                and such Persons as the Collateral Agent may reasonably designate
                shall have the right to verify, at any time, the validity, amount,
                quality, quantity, value, condition and status thereof by contacting
                Account Debtors or the third Person possessing such ABL Collateral
                for the purpose of making such a verification. The Loan Parties shall
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               be required to pay all reasonable out-of-pocket costs and expenses
               incurred by the Collateral Agent or any other Person in connection
                                                      r
               with any inspection or verification referedtoint hispa ragraph.
                                                                             ”

               8.3     Other Actions. Section 3.04 of the ABL Guarantee and Collateral Agreement
 is hereby amended as follows:

              (a)     Section 3.04(b) of the ABL Guarantee and Collateral Agreement is hereby
 amended and restated in its entirety as follows:

                       “(b) Deposit Accounts. For each Deposit Account that any
               Loan Party at any time opens or maintains, such Loan Party shall
               either (i) cause the depositary bank to agree to comply with
               instructions from the Collateral Agent to such depositary bank
               directing the disposition of funds from time to time credited to such
               Deposit Account, without further consent of such Loan Party or any
               other Person, pursuant to an agreement reasonably satisfactory to the
               Collateral Agent, or (ii) arrange for the Collateral Agent to become
               the customer of the depositary bank with respect to the Deposit
               Account, with the Loan Party being permitted, only with the consent
               of the Collateral Agent, to exercise rights to withdraw funds from
               such Deposit Account. The provisions of this paragraph shall not
               apply to Deposit Accounts for which the Collateral Agent is the
               de positaryb ank.”

              (b)     Section 3.04(c) of the ABL Guarantee and Collateral Agreement is hereby
 amended and restated in its entirety as follows:

                       “(c)Investment Property. If any Investment Property now or
               hereafter acquired by any Loan Party is held by such Loan Partyor its
               nominee through a securities intermediary, and such Investment
               Property constitutes ABL Collateral, such Loan Party shall
               immediately notify the Collateral Agent thereof and, at the Collateral
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                                           ,pur   suanttoa  na greeme  ntinf orma   nd
               substance reasonably satisfactory to the Collateral Agent, either (i)
               use commercially reasonable efforts to cause such securities
               intermediary to agree to comply with entitlement orders or other
               instructions from the Collateral Agent to such securities intermediary
               as to such security entitlements without further consent of any Loan
               Party or such nominee, or (ii) in the case of Financial Assets or other
               Investment Property held through a securities intermediary, use
               commercially reasonable efforts to arrange for the Collateral Agent to
               become the entitlement holder with respect to such Investment
               Property, with the Loan Party being permitted, only with the consent
               of the Collateral Agent, to exercise rights to withdraw or otherwise
               deal with such Investment Property. The provisions of this paragraph


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                shall not apply to any Financial Assets credited to a securities account
                for which the Collateral Agent is the se curitiesin terme di ary .
                                                                                 ”

              8.4    Payments. Section 4.02 of the ABL Guarantee and Collateral Agreement is
 hereby amended by adding the following at the end of such Section:

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                Collateral Agent may, in its discretion, apply any such payments or
                proceeds first to the Pre-Petition Obligations until such Pre-Petition
                Obliga t
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                                                          ”

        9.      SUPPLEMENTAL LOAN.

                  9.1     Supplemental Loan. In addition to the Revolving Loans under Section 2.01 of
 the Credit Agreement, as a one time financial accommodation to Borrower, Supplemental Loan
 Lender shall make, subject to the terms and conditions contained herein, a supplemental loan to
 Borrower in the principal amount equal to the lesser of: (a) $45,000,000 and (b) the sum of (i) 100%
 of the Eligible Accounts of the Borrower and the Designated Subsidiaries calculated as of the date
 hereof and (ii) the lesser of (A) 100% of the Value of the Eligible Inventory of the Borrower and the
 Designated Subsidiaries and (B) 100% of the Net Recovery Percentage multiplied by the Value of
 such Eligible Inventory; each as calculated as of the date hereof (  the“Supplemental Loan”    ).Th e
 Supplemental Loan shall be funded in full on the date hereof. The Supplemental Loan shall
 constitute part of the Obligations and shall be secured by all of the ABL Collateral. Except for the
 making of the Supplemental Loan as set forth in this Section 9.1, Borrower shall have no right to
 request and Supplemental Loan Lender shall have no obligation to make any additional loans or
 advances to Borrower under this Section 9.1 and any repayments of the Supplemental Loan shall not
 be subject to any readvance to or reborrowing by Borrower.

                9.2     Interest and Fees. Borrower shall pay interest and fees and such other
 consideration in respect of the Supplemental Loan as set forth on Schedule 9.2 and Schedule 9.2(a)
 annexed hereto and made a part hereof. All such interest and fees may be charged by Agent to any
 account of Borrower maintained by Agent. No modifications to Schedule 9.2(a) shall be made
 without the written consent of each of the Supplemental Loan Participants.

                9.3     Repayment.

               (a)      Subject to the provisions of Section 9.3(b) below, Borrower shall repay the
 principal amount of the Supplemental Loan, together with all accrued interest thereon, in full, in cash
 or other immediately available funds on the Maturity Date.

                (b)     Notwithstanding anything to the contrary contained in Section 9.3(a) above,
 on the Maturity Date or if the Obligations are due and payable in full prior to the Maturity Date after
 the occurrence of an Event of Default, Agent, for itself and the other Lenders, and the Supplemental
 Loan Lender hereby agree that the Obligations then due and payable shall be repaid as follows: first,
 to the payment in full of all Obligations then due and payable (other than the Supplemental Loan,
 together with all accrued and unpaid interest, fees, charges and expenses payable hereunder in
 respect thereof), in cash or other immediately available funds, in accordance with the terms of
 Section 4.02 of the ABL Guarantee and Collateral Agreement; and second, to the payment in full in
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 cash of other immediately available funds of the Supplemental Loan, together with all accrued and
 unpaid interest and fees with respect thereto.

                9.4     Amendments; Voting.

                (a)    With respect to amendments, modifications and waivers to any of the Loan
 Documents, Supplemental Loan Lender shall not be considered a lender for voting purposes,
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                                                   nit
                                                     ionof“   RequiredLe n ders” .

                (b)       Without the prior written consent of Supplemental Loan Participants, no Loan
 Document may be amended, supplemented or otherwise modified, and no new Loan Document may
 be entered into, to the extent such amendment, supplement or other modification or new document
 would:

                        (i)    amend or modify any term or provision of this Section 9, including,
 without limitation, Schedule 9.2 hereof,

                      (ii)   contractually subordinate the Liens of the Agent to any other debt of
 Borrower or any Subsidiary Loan Party;

                        (iii)  consent to the incurrence of any Indebtedness other than Indebtedness
 permitted under the Credit Agreement or this Ratification Agreement, except to the extent consented
 to in writing by Agent and Supplemental Loan Participants;

                        (iv)   (A) extend the Stated Expiry Date as to the repayment of the
 Supplemental Loan, or (B) extend the Stated Expiry Date for more than six (6) months as to any of
 the Obligations other than the Supplemental Loan; or

                        (v)      increase the Eligible Accounts or Eligible Inventory advance rate
 percentages as set forth in the definition of Borrowing Base by more than five (5%).

                  9.5    Reports and Other Information. Agent shall furnish to Supplemental Loan
 Participants all Reports, appraisals with respect to the ABL Collateral and financial statements with
 respect to Borrower and its Subsidiaries received by Agent in accordance with the terms of the Loan
 Documents; except, that Agent may furnish such other information, documents and reports prepared
 by Agent or any of its consultants, accountants, advisors, attorneys and other professionals in its sole
 discretion.

                9.6      Conditions Precedent to Supplemental Loan. In addition to the Conditions
 Precedent set forth in Section 11 below and Section 4.02(b) of the Credit Agreement, the obligation
 of Supplemental Loan Lender to make the Supplemental Loan to Borrower as set forth in this
 Section 9 shall be conditioned upon:

              (a)    the execution and delivery of the Supplemental Loan Junior Participation
 Agreement by the Supplemental Loan Participants;

               (b)       the receipt by Supplemental Loan Lender, for the benefit of Supplemental
 Loan Participants, of the fees required to be paid on the effective date of this Ratification Agreement

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 pursuant to Section 9.2 hereof and all expenses owing to the Supplemental Loan Participants shall be
 paid; and

                 (c)    the receipt by Supplemental Loan Lender of cash or other immediately
 available funds representing the purchase by Supplemental Loan Participant of a 100% junior
 participation in the Supplemental Loan.

        10.     RELEASE.

                10.1    Release of Pre-Petition Claims.

                  (a)     Upon the earlier of (i) the entry of the Permanent Financing Order or (ii) the
 entry of an Order extending the term of the Interim Financing Order beyond forty-five (45) calendar
 days after the date of the Interim Financing Order, in consideration of the agreements of Agent and
 Lenders contained herein and the making of any Loans by Agent and Lenders, Borrower and each
 Subsidiary Loan Party, pursuant to the Credit Agreement, and for other good and valuable
 consideration, the receipt and sufficiency of which is hereby acknowledged, on behalf of itself and
 its respective successors, assigns, and other legal representatives, hereby absolutely, unconditionally
 and irrevocably releases, remises and forever discharges Agent, each Lender and their respective
 successors and assigns, and their present and former shareholders, affiliates, subsidiaries, divisions,
 predecessors, directors, officers, attorneys, employees and other representatives (Agent, each Lender
 and all such other parties being hereinafter referred to collectively as the “        Releasees”and
 individually as a “  Releasee” ), of and from all demands, actions, causes of action, suits, covenants,
 contracts, controversies, agreements, promises, sums of money, accounts, bills, reckonings, damages
 and any and all other claims, counterclaims, defenses, rights of set-off, demands and liabilities
 whatsoever (individually, a “  Pre-Petition Released Claim”and collectively, “   Pre-Petition Released
 Claims”   ) of every name and nature, known or unknown, suspected or unsuspected, both at law and
 in equity, which Borrower or any Subsidiary Loan Party, or any of their respective successors,
 assigns, or other legal representatives may now or hereafter own, hold, have or claim to have against
 the Releasees or any of them for, upon, or by reason of any nature, cause or thing whatsoever which
 arises at any time on or prior to the day and date of this Agreement, including, without limitation, for
 or on account of, or in relation to, or in any way in connection with the Credit Agreement, as
 amended and supplemented through the date hereof, and the other Loan Documents.

                 (b)     Upon the earlier of (i) the entry of the Permanent Financing Order or (ii) the
 entry of an Order extending the term of the Interim Financing Order beyond forty-five (45) calendar
 days after the date of the Interim Financing Order, Borrower and each Subsidiary Loan Party, on
 behalf of itself and its successors, assigns, and other legal representatives, hereby absolutely,
 unconditionally and irrevocably, covenants and agrees with each Releasee that it will not sue (at law,
 in equity, in any regulatory proceeding or otherwise) any Releasee on the basis of any Pre-Petition
 Released Claim released, remised and discharged by Borrower and each Subsidiary Loan Party
 pursuant to this Section 10.1. If Borrower or any Subsidiary Loan Party violates the foregoing
 covenant, Borrower and Subsidiary Loan Parties agree to pay, in addition to such other damages as
 any Releasee may sustain as a result of such violation, all attorneys’fees and costs incurred by any
 Releasee as a result of such violation.



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                 10.2 Release of Post-Petition Claims. Upon (a) the receipt by Agent, on behalf of
 itself and the other Lenders, of payment in full of all Obligations in cash or other immediately
 available funds, plus cash collateral or other collateral security acceptable to Agent to secure any
 Obligations that survive or continue beyond the termination of the Loan Documents, and (b) the
 termination of the Loan Documents (the “    Payment Date”    ), in consideration of the agreements of
 Agent and Lenders contained herein and the making of any Loans by Agent and Lenders, Borrower
 and each Subsidiary Loan Party hereby covenants and agrees to execute and deliver in favor of
 Agent, Lenders and Supplemental Loan Lender a valid and binding termination and release
 agreement, in form and substance satisfactory to Agent. If Borrower or any Subsidiary Loan Party
 violates such covenant, Borrower and Subsidiary Loan Parties agree to pay, in addition to such other
 damages as any Releasee may sustain as a result of such violation, all attorneys’fees and costs
 incurred by any Releasee as a result of such violation.

                10.3    Releases Generally.

                  (a)    Borrower and each Subsidiary Loan Party understands, acknowledges and
 agrees that the releases set forth above in Sections 10.1 and 10.2 hereof may be pleaded as a full and
 complete defense and may be used as a basis for an injunction against any action, suit or other
 proceeding which may be instituted, prosecuted or attempted in breach of the provisions of such
 releases.

                (b)     Borrower and each Subsidiary Loan Party agrees that no fact, event,
 circumstance, evidence or transaction which could now be asserted or which may hereafter be
 discovered shall affect in any manner the final and unconditional nature of the releases set forth in
 Section 10.1 hereof and, when made, Section 10.2 hereof.

        11.     CONDITIONS PRECEDENT.

         In addition to any other conditions contained herein or the Credit Agreement, as in effect
 immediately prior to the Petition Date, with respect to the Loans and other financial accommodations
 available to Borrower (all of which conditions, except as modified or made pursuant to this
 Ratification Agreement shall remain applicable to the Loans and be applicable to other financial
 accommodations available to Borrower), the following are conditions to Agent’         s, Lenders’and
 Suppl eme  nt
             alLoa   nLe  nder’sobligation to extend further loans, advances or other financial
 accommodations to Borrower pursuant to the Credit Agreement:

                11.1 Borrower and Subsidiary Loan Parties shall furnish to Agent and Lenders all
 financial information, projections, budgets, business plans, cash flows and such other information as
 Agent and Lenders shall reasonably request from time to time;

                11.2    As of the Petition Date, the Existing Loan Documents shall not have been
 terminated;

                11.3 No trustee, examiner or receiver or the like shall have been appointed or
 designated with respect to Borrower or any Subsidiary Loan Party, as Debtor and Debtor-in-
 Possession, or its respective business, properties and assets and no motion or proceeding shall be
 pending seeking such relief;


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                11.4 The execution and delivery of this Ratification Agreement, a Perfection
 Certificate, anomnibusSe c re
                             tar
                               y ’sCe rt
                                       ificateand all other Loan Documents to be delivered in
 connection herewith by Borrower and Subsidiary Loan Parties in form and substance satisfactory to
 Agent;

                 11.5 The Interim Financing Order or other Order(s) of the Bankruptcy Court shall
 have been entered by the Bankruptcy Court and shall, among other things, ratify and amend the
 Blocked Account Agreement and deposit account arrangements of Borrower and Subsidiary Loan
 Parties to reflect the commencement of the Chapter 11 Cases, that each Debtor, as Debtor and
 Debtor-in-Possession, is the successor in interest to Borrower or such Subsidiary Loan Party, as the
 case may be, that the Obligations include both the Pre-Petition Obligations and the Post-Petition
 Obligations, and that the ABL Collateral includes both the Pre-Petition Collateral and the Post-
 Petition Collateral as provided for in this Ratification Agreement;

                11.6 The execution and delivery to Agent and Lenders of all other Loan
 Documents, and other agreements, documents and instruments which, in the good faith judgment, of
 Agent are necessary or appropriate. The implementation of the terms of this Ratification Agreement
 and the other Loan Documents, as modified pursuant to this Ratification Agreement, all of which
 contains provisions, representations, warranties, covenants and Events of Default, as are satisfactory
 to Agent and its counsel;

                 11.7 Satisfactory review by counsel for Agent of legal issues attendant to the post-
 petition financing transactions contemplated hereunder;

                 11.8 Borrower and each Subsidiary Loan Party shall comply in full with the notice
 and other requirements of the Bankruptcy Code and the applicable Bankruptcy Rules with respect to
 the Interim Financing Order in a manner acceptable to Agent and its counsel, and such Interim
 Financing Order shall have been entered by the Bankruptcy Court (the “    Interim Financing Order”    )
 authorizing the secured financing under the Loan Documents as ratified and amended hereunder on
 the terms and conditions set forth in this Ratification Agreement and, among other things, modifying
 the automatic stay, authorizing and granting the senior security interest and liens in favor of Agent
 and Lenders described in this Ratification Agreement and in the Interim Financing Order, and
 granting super-priority expense claims to Agent and Lenders with respect to all obligations due
 Agent and Lenders, subject only to the Carve-Out Expenses (as defined in the Interim Financing
 Order). The Interim Financing Order shall authorize post-petition financing under the terms set forth
 in this Ratification Agreement in an amount acceptable to Agent and Lenders, in their sole
 discretion, and it shall contain such other terms or provisions as Agent and its counsel shall require;

                  11.9 With respect to further credit after expiration of the Interim Financing Order,
 on or before the expiration of the Interim Financing Order, the Bankruptcy Court shall have entered
 a Permanent Financing Order authorizing the secured financing on the terms and conditions set forth
 in this Ratification Agreement, granting to Agent and Lenders the senior security interests and liens
 described above and super-priority administrative expense claims described above (subject to the
 Carve-Out Expenses and except as otherwise specifically provided in the Interim Financing Order),
 and modifying the automatic stay and other provisions required by Agent and its counsel
 (“Permanent Financing Order”      ). Neither Agent, any Lender nor Supplemental Loan Lender shall
 have provided any Loans (or other financial accommodations) other than those authorized under the

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 Interim Financing Order unless, on or before the expiration of the Interim Financing Order, the
 Permanent Financing Order shall have been entered, and there shall be no appeal or other contest
 with respect to either the Interim Financing Order or the Permanent Financing Order and the time to
 appeal to contest such order shall have expired;

               11.10 Other than the voluntary commencement of the Chapter 11 Cases, no material
 impairment of the priority of Agent’ s and Lenders’security interests in the ABL Collateral shall
 have occurred from the date of the latest field examinations of Agent and Lenders to the Petition
 Date; and

                11.11 No Event of Default (other than Event of Default resulting from the filing of
 the Chapter 11 Cases by Borrower and each Subsidiary Loan Party) shall have occurred or be
 existing under any of the Existing Loan Documents, as modified pursuant hereto, and assumed by
 Borrower and Subsidiary Loan Parties.

        12.     MISCELLANEOUS.

               12.1 Amendments and Waivers. Neither this Ratification Agreement nor any other
 instrument or document referred to herein or therein may be changed, waived, discharged or
 terminated orally, but only by an instrument in writing signed by the party against whom
 enforcement of the change, waiver, discharge or termination is sought.

                 12.2 Further Assurances. Borrower and each Subsidiary Loan Party shall, at its
 expense, at any time or times duly execute and deliver, or shall use its commercially reasonable
 efforts to cause to be duly executed and delivered, such further agreements, instruments and
 documents, including, without limitation, additional security agreements, collateral assignments,
 UCC financing statements or amendments or continuations thereof, landlord’            s or mortgagee’  s
 waivers of liens and consents to the exercise by Agent and Lenders of all the rights and remedies
 hereunder, under any of the other Loan Documents, any Financing Order or applicable law with
 respect to the ABL Collateral, and do or use its best efforts to cause to be done such further acts as
 may be reasonably necessary or proper in Agent’     s opinion to evidence, perfect, maintain and enforce
 the security interests of Agent and Lenders, and the priority thereof, in the ABL Collateral and to
 otherwise effectuate the provisions or purposes of this Ratification Agreement, any of the other
 Loan Documents or the Financing Order. Upon the request of Agent, at any time and from time to
 time, Borrower and each Subsidiary Loan Party shall, at its cost and expense, do, make, execute,
 deliver and record, register or file updates to the filings of Agent and Lenders with respect to the
 Intellectual Property with the United States Patent and Trademark Office, the financing statements,
 mortgages, deeds of trust, deeds to secure debt, and other instruments, acts, pledges, assignments and
 transfers (or use its best efforts to cause the same to be done) and will deliver to Agent and Lenders
 such instruments evidencing items of ABL Collateral as may be requested by Agent.

                12.3 Headings. The headings used herein are for convenience only and do not
 constitute matters to be considered in interpreting this Ratification Agreement.

                 12.4 Counterparts. This Ratification Agreement may be executed in any number of
 counterparts, each of which shall be deemed to be an original, but all of which shall together
 constitute one and the same agreement. In making proof of this Ratification Agreement, it shall not

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 be necessary to produce or account for more than one counterpart thereof signed by each of the
 parties hereto. Delivery of an executed counterpart of this Ratification Agreement by telefacsimile
 or other electronic means shall have the same force and effect as delivery of an original executed
 counterpart of this Ratification Agreement. Any party delivering an executed counterpart of this
 Ratification Agreement by telefacsimile also shall deliver an original executed counterpart of this
 Ratification Agreement, but the failure to deliver an original executed counterpart shall not affect the
 validity, enforceability, and binding effect of this Ratification Agreement as to such party or any
 other party.

                 12.5 Additional Events of Default. The parties hereto acknowledge, confirm and
 agree that the failure of Borrower or any Subsidiary Loan Party to comply with any of the
 covenants, conditions and agreements contained herein or in any other agreement, document or
 instrument at any time executed by Borrower or such Subsidiary Loan Party in connection herewith
 shall constitute an Event of Default under the Loan Documents.

                 12.6 Costs and Expenses. Borrower shall pay to Agent and Lenders on demand all
 costs and expenses that Agent or any Lender pays or incurs in connection with the negotiation,
 preparation, consummation, administration, enforcement, and termination of this Ratification
 Agreement and the other Loan Documents and the Financing Order, including, without limitation:
 (a) r
     e ason ablea tt
                   or neys ’an dpa  ral
                                      e gal
                                          s’f eesa nddi sbur seme  nt
                                                                    sofc  oun  s
                                                                               e lto, a
                                                                                      ndr eason ablefee s
 and expenses of consultants, accountants and other professionals retained by, Agent and any Lender;
 (b) cos t
         sa nde xpe nses( inc l
                              udingr  ea s
                                         ona blea tt
                                                   or neys’a n dpa ralega l
                                                                          s’f eesa n ddis
                                                                                        b urseme nts)for
 any amendment, supplement, waiver, consent, or subsequent closing in connection with this
 Ratification Agreement, the other Loan Documents, the Financing Order and the transactions
 contemplated thereby; (c) taxes, fees and other charges for recording any agreements or documents
 with any governmental authority, and the filing of UCC financing statements and continuations, and
 other actions to perfect, protect, and continue the security interests and liens of Agent and Lenders in
 the ABL Collateral; (d) sums paid or incurred to pay any amount or take any action required of
 Borrower and Subsidiary Loan Parties under the Loan Documents or the Financing Order that
 Borrower and Subsidiary Loan Parties fail to pay or take; (e) costs of appraisals, inspections and
 verifications of the ABL Collateral and including travel, lodging, and meals for inspections of the
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                                                                                   e ndcou rth eari
                                                                                                  ngsor
 otherwise in connection with the Chapter 11 Cases; (f) costs and expenses of preserving and
 protecting the ABL Collateral; (g) all out-of-pocket expenses and costs heretofore and from time to
 time hereafter incurred by Agent during the course of periodic field examinations of the ABL
 Col l
     a terala ndt heDe  btor s’ope rations,pl usape  rdiemc  ha rge at the rate of $1,000 per person per
 da yforAge   nt’se xami ne rsint h efieldan dof fi
                                                  c e;(h) cost sa nde xpe nse s(inc l
                                                                                    udinga  t
                                                                                            torneys’a n d
 pa ral
      e gals’fee sa nddi sb urseme  nts
                                      )pa idori n curredt oob  tainpa yme n toft h eObl i
                                                                                        ga ti
                                                                                            ons ,enforc e
 the security interests and liens of Agent and Lenders, sell or otherwise realize upon the ABL
 Collateral, and otherwise enforce the provisions of this Ratification Agreement, the other Loan
 Documents and the Financing Order, or to defend any claims made or threatened against Agent or
 any Lender arising out of the transactions contemplated hereby (including, without limitation,
 preparations for and consultations concerning any such matters), and (i) reasonable costs and
 expenses (including reasonablea     tt
                                      or neys’a ndpa  r
                                                      alega l
                                                            s ’fe esa nddi sb urseme  nt
                                                                                       s)and reasonable
 fees and expenses of consultants, accountants, advisors and other professionals retained by
 Supplemental Loan Participants (including, without limitation, Lazard Frères & Co. LLC as advisor
 to Harbinger), provided that the aggregate amount of such costs and expenses under this Section

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 12.6(i) shall not exceed the amounts set forth in the Budget for such costs and expenses. The
 foregoing shall not be construed to limit any other provisions of the Loan Documents regarding costs
 and expenses to be paid by Borrower. All sums provided for in this Section 12.6 shall be part of the
 Obligations, shall be payable on demand, and shall accrue interest after demand for payment thereof
 at the highest rate of interest then payable under the Loan Documents. Agent is hereby irrevocably
 authorized to charge any amounts payable hereunder directly to any of the account(s) maintained by
 Agent with respect to Borrower or any Subsidiary Loan Party.

                12.7    Purchase Option by Supplemental Loan Participants.

                 (a)     Notwithstanding anything to the contrary herein, Agent, Supplemental Loan
 Lender and Lenders herby agree that, at any time, one or more of the Supplemental Loan
 Pa rticipants(the“ Purchasing Participants”  )s hallhav ethe option (the “Purchase Option”   ), upon the
 delivery of written notice to Agent to purchase from Agent, Lenders and Supplemental Loan Lender
 all of Agent’s,Suppl  eme  ntalLoa  nLe  nder
                                             ’sand Lenders’right, title and interest in, to and under (i)
 the Obligations owing to Agent, Supplemental Loan Lender and Lenders on the Purchase Date (as
 defined below) and (ii) the Loan Documents (collectively, the “          Purchased Obligations”    ) in
 accordance with the terms and conditions hereof. Except as expressly provided in the last sentence
 of this Section 12.7, the written notice required to be delivered under this Section 12.7(a) to Agent
 (the “ Purchase Notice”  ) shall be irrevocable, unless otherwise agreed to in writing by Agent.

                (b)      On the date specified by Purchasing Participants (the “Purchase Date”   ) in the
 Purchase Notice (which shall not be less than five (5) Business Days, nor more than twenty (20)
 Business Days after the receipt by Agent of the Purchase Notice), Agent, Supplemental Loan Lender
 and Lenders shall, subject to any required approval of any court or other governmental authority, if
 any, sell to Purchasing Participants, and Purchasing Participants shall purchase from Agent,
 Supplemental Loan Lender and Lenders, all of the Purchased Obligations; provided, that, Agent and
 Lenders shall retain all rights to be indemnified or held harmless by Debtors in accordance with the
 terms of the Loan Documents, but shall not retain any rights to the security therefor under the Loan
 Documents, provided, further, that in no event shall the foregoing be construed to limit or restrict the
 Obligations owing by Debtors to Purchasing Participants after the exercise of the Purchase Option
 from being secured by the Collateral, which shall include the Purchased Obligations and the
 Supplemental Loan.

                (c)       On the Purchase Date, Agent, Supplemental Loan Lender and Lenders shall
 sell and assign to the Purchasing Participants, and Purchasing Participants shall purchase from
 Agent, Lenders and Supplemental Loan Lender, all ofAge      nt
                                                              ’s,Suppleme n t
                                                                            alLoa nLe  nder’sa n
                                                                                               d
 Le nde r
        s’r ight,t it
                    lea n di nterestin,toa ndun  dert h ePur c
                                                             hasedObl  i
                                                                       ga t
                                                                          ionsa ndt heCol  l
                                                                                           ateral
 therefor in exchange for the payment of the Purchase Price by Purchasing Participants to Agent,
 Supplemental Loan Lender and Lenders; provided, that, on the Purchase Date, Purchasing
 Participants shall also:

                        (i)     furnish cash collateral to Agent (or instead of such cash collateral,
 deliver to Agent a letter of credit, in form and substance reasonably satisfactory to Agent, by an
 issuer acceptable to Agent and payable to Agent as beneficiary) in a manner and in such amounts as
 Agent determines is reasonably necessary to secure Agent and Lenders in connection with any
 issued and outstanding letters of credit provided by any Lender (or letters of credit that Agent has

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 arranged to be provided by third parties pursuant to the financing arrangements of Agent and
 Lenders with Debtors) to Debtors (but not in any event in an amount greater than one hundred ten
 (110%) percent of the aggregate undrawn face amount of such letters of credit) and for any Swap
 Contract secured by the Lien of Agent;

                          (ii)    agree to reimburse Agent, Supplemental Loan Lender and Lenders for
 anyl  os s,c ost,da  mageore   xpe nse( in cl
                                             udingr easonabl eatt
                                                                orneys’f eesa n dlegal expenses) in
 connection with any commissions, fees, costs or expenses related to any issued and outstanding
 letters of credit as described above and owing to Agent, Supplemental Loan Lender or any Lenders
 and any checks or other payments provisionally credited to the Obligations, or as to which Agent and
 Lenders have not yet received final payment,

                        (iii)   agree to reimburse Agent, Supplemental Loan Lender and Lenders in
 respect of indemnification obligations of Debtors under the Loan Documents as to matters or
 circumstances actually known to Agent and disclosed to Purchasing Participants at the time of the
 purchase and sale which could reasonably be expected to result in any loss, cost, damage or expense
 (includingr ea sonablea ttor n
                              eys’feesa n dlegal expenses) to Agent, Supplemental Loan Lender and
 Lenders (with rights of subrogation against the Debtors and in respect of which Agent, Supplemental
 Loan Lender and Lenders shall assign their rights against the Debtors to the Purchasing
 Participants); and

                        (iv)    agree to indemnify and hold harmless Agent, Supplemental Loan
 Lender and Lenders from and against any loss, liability, claim, damage or expense (including
 reasonable fees and expenses of legal counsel) arising out of any claim asserted by a third party in
 respect of the Purchased Obligations or Collateral as a direct result of any acts by Purchasing
 Participants occurring after the date of such purchase.

                (d)     The Purchase Price and such cash collateral shall be remitted by wire transfer
 in immediately available funds to such bank account of Agent as Agent may designate in writing to
 Purchasing Participants for such purpose. Interest shall be calculated to but excluding the Business
 Day on which such purchase and sale shall occur if the amounts so paid by Purchasing Participants
 to the bank account designated by the Agent are received in such bank account prior to 12:00 noon,
 New York City time on such Business Day and interest shall be calculated to and including such
 Business Day if the amounts so paid by Purchasing Participants to the bank account designated by
 the Agent are received in such bank account later than 12:00 noon, New York City time on such
 Business Day.

                 (e)      Any purchase pursuant to the Purchase Option shall be expressly made
 without representation or warranty of any kind by the Agent, Supplemental Loan Lender or any
 Lender as to the Obligations, the Collateral or otherwise and without recourse to Agent
 Supplemental Loan Lender and Lenders; except, that, Agent, Supplemental Loan Lender and each of
 the Lenders, as to itself only, shall represent and warrant that: (i) the amount of the Purchased
 Obligations as reflected in the books and records of Agent (but without representation or warranty as
 to the collectibility, validity or enforceability thereof), (ii) Agent, Supplemental Loan Lender and
 each Lender owns the Purchased Obligations free and clear of any liens or encumbrances and (iii)
 Agent, Supplemental Loan Lender and each of the Lenders has the right to assign all of its right, title
 and interest in and to the Purchased Obligations and the assignment is duly authorized.

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               12.8 Effectiveness. This Ratification Agreement shall become effective upon the
 execution hereof by each of the signatories hereto and the entry of the Interim Financing Order.

                12.9 Relationship with Financing Orders. In the event of any inconsistency
 between the terms of the Financing Orders and the Loan Documents, the terms of the Financing
 Orders shall control.

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        IN WITNESS WHEREOF, the parties hereto have caused this Ratification Agreement to be
 duly executed as of the day and year first above written.

                                                      BORROWER:
                                                      Spectrum Brands, Inc.,
                                                      as Debtor and Debtor-in-Possession

                                                      By:

                                                      Title:

                                                      SUBSIDIARY LOAN PARTIES:
                                                      ROV Holding, Inc.,
                                                      as Debtor and Debtor-in-Possession

                                                      By:

                                                      Title:

                                                      ROVCAL Inc.,
                                                      as Debtor and Debtor-in-Possession
                                                      By:

                                                      Title:

                                                      United Industries Corporation,
                                                      as Debtor and Debtor-in-Possession

                                                      By:

                                                      Title:

                                                      Spectrum Neptune US Holdco Corporation,
                                                      as Debtor and Debtor-in-Possession

                                                      By:

                                                      Title:



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                          [Signature Pages to Ratification Agreement (Spectrum)]
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                      [Signatures Continued from Previous Page]


                                                    Schultz Company,
                                                    as Debtor and Debtor-in-Possession

                                                    By:

                                                    Title:

                                                    United Pet Group, Inc.,
                                                    as Debtor and Debtor-in-Possession

                                                    By:

                                                    Title:

                                                    DB Online, LLC,
                                                    as Debtor and Debtor-in-Possession

                                                    By:

                                                    Title:

                                                    Southern California Foam, Inc.,
                                                    as Debtor and Debtor-in-Possession

                                                    By:

                                                    Title:

                                                    Aquaria, Inc.,
                                                    as Debtor and Debtor-in-Possession

                                                    By:

                                                    Title:



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                        [Signature Pages to Ratification Agreement (Spectrum)]
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                                                    Aquarium Systems, Inc.,
                                                    as Debtor and Debtor-in-Possession

                                                    By:

                                                    Title:

                                                    Perfecto Manufacturing, Inc.,
                                                    as Debtor and Debtor-in-Possession

                                                    By:

                                                    Title:

                                                    Tetra Holding (US), Inc.,
                                                    as Debtor and Debtor-in-Possession

                                                    By:

                                                    Title:

                                                    Spectrum Jungle Labs Corporation,
                                                    as Debtor and Debtor-in-Possession

                                                    By:

                                                    Title:



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                        [Signature Pages to Ratification Agreement (Spectrum)]
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 ADMINISTRATIVE AGENT,
 COLLATERAL AGENT AND LC ISSUER:
 Wachovia Bank, National Association


 By:

 Title:



                         [Signatures Continued on Next Page]




                        [Signature Pages to Ratification Agreement (Spectrum)]
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 SUPPLEMENTAL LOAN LENDER:
 Wachovia Bank, National Association


 By:

 Title:



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                        [Signature Pages to Ratification Agreement (Spectrum)]
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 LENDER:
 Wachovia Bank, National Association


 By:

 Title:



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                        [Signature Pages to Ratification Agreement (Spectrum)]
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                             [Signatures Continued from Previous Page]


 LENDER:
 Allied Irish Banks, pl.c.


 By:

 Title:


 By:

 Title:




                                [Signatures Continued on Next Page]




                              [Signature Pages to Ratification Agreement (Spectrum)]
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 LENDER:
 Bank of America, N.A.


 By:

 Title:



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                          [Signature Pages to Ratification Agreement (Spectrum)]
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 LENDER:
 The CIT Group/Commercial Services, Inc.


 By:

 Title:



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                        [Signature Pages to Ratification Agreement (Spectrum)]
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 LENDER:
 General Electric Capital Corporation


 By:

 Title:



                           [Signatures Continued on Next Page]




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 LENDER:
 Landsbanki Commercial Finance, a division
 of Landsbanki Islands hf.


 By:

 Title:


 By:

 Title:




                        [Signature Pages to Ratification Agreement (Spectrum)]
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 LENDER:
 Wells Fargo Foothill, LLC


 By:

 Title:




                         [Signature Pages to Ratification Agreement (Spectrum)]
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                                      EXHIBIT A
                                         TO
                              RATIFICATION AGREEMENT


                                COMMITMENT SCHEDULE


                     Lender                             Commitment
 Wachovia Bank, National Association                   $42,222,222.22
 Bank of America, NA                                   $42,222,222.22
 General Electric Capital Corporation                  $31,666,666.67
 Wells Fargo Foothill, LLC                             $31,666,666.67
 The CIT Group/Commercial Services, Inc.               $16,888,888.89
 Landsbanki Commercial Finance, a division of          $12,666,666.67
 Landsbanki Islands h.f.
 Allied Irish Banks, p.l.c.                            $12,666,666.67
                     TOTAL                              $190,000,000
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                                        SCHEDULE 9.2
                                             TO
                                  RATIFICATION AGREEMENT


         SCHEDULE OF FEES AND INTEREST FOR THE SUPPLEMENTAL LOAN

         Interest. The Supplemental Loan shall bear interest at the Eurodollar Rate with a 3.0% floor,
 plus 14.5% per annum. The interest shall be paid monthly. All computations of interest and fees
 will be made on the basis of a 360 day year and actual days elapsed.

        Upfront Fee. Borrower shall pay to Supplemental Loan Lender, for the account of
 Supplemental Loan Participants, an up front fee in an amount equal to (a) 3.0% of $45,000,000,
 which fee shall be payable on the date upon which the Interim Financing Order is entered, and (b)
 1.0% of the $45,000,000, which fee shall be payable on the date upon which the Permanent
 Financing Order is entered.

         Unused Line Fee. Borrower shall pay to the Supplemental Loan Lender, for the account of
 the Supplemental Loan Junior Participant, a fee equal to 1.0% per annum times the daily average
 undrawn portion of the Supplemental Loan to accrue from the date hereof and shall be payable
 quarterly in arrears to the Supplemental Loan Lender.

         Rollover Commitment Fee. To the extent the maturity of the Supplemental Loan is extended
 or the Supplemental Loan is rolled into a senior secured credit facility, Borrower shall pay to
 Supplemental Loan Lender, for the account of the Supplemental Loan Participants, a rollover fee in
 an amount equal to 5.0% of the principal amount of the Supplemental Loan as so extended and
 rolled.

         Prepayment and Exit Fees. Borrower shall pay to the Supplemental Loan Lender, for the
 account of the Supplemental Loan Participants, an exit fee of 2.0% of any principal amount of the
 Supplemental Loan payable at the time any such principal is repaid (but only in the case of a
 permanent repayment of such principal); provided that, if such principal is repaid other than upon
 emergence from the Chapter 11 Cases consistent with the plan of reorganization contemplated in the
 restructuring support agreement among the Borrower and Supplemental Loan Participants (the
 “Re structuringSuppor tAgr eeme nt
                                  ”), such fee shall be 4.0%.

         Upon (x) emergence of the Borrower from the Chapter 11 Cases, (y) a plan of reorganization,
 other than the plan of reorganization contemplated by the Restructuring Support Agreement, being
 confirmed pursuant to an order entered this Court or (z) a material portion of the assets of the
 Borrower or the Subsidiary Loan Parties being sold, transferred or otherwise disposed of pursuant to
 section 363 of the Bankruptcy Code or otherwise sold, transferred or disposed of, then (i) the
 Supplemental Loan Lender shall receive, for the account of, and allocable to, the Supplemental Loan
 Participants, shares of the common equity of the Borrower, as reorganized, or the applicable
 reorganized affiliate or successor to the Borrower, equal to 9.9% of the outstanding common stock
 thereof on a fully diluted basis.
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                                            SCHEDULE 9.2(a)
                                                  TO
                                       RATIFICATION AGREEMENT


                     FEES AND INTEREST FOR THE SUPPLEMENTAL LOAN

 Treatment of Supplemental Loan. 1 Upon (x) emergence of Borrower from chapter 11, (y) a plan
 of reorganization, other than the plan of reorganization contemplated by the Restructuring
 Support Agreement (as defined in the DIP Term Sheet), being confirmed pursuant to an order
 entered this Court or (z) a material portion of the assets of Borrower or the Subsidiary Loan
 Parties being sold, transferred or otherwise disposed of pursuant to section 363 of the
 Bankruptcy Code or otherwise sold, transferred or disposed of, then (i) the Supplemental Loan
 Lender shall receive, for the account of, and allocable to, the Supplemental Loan Participants,
 shares of the common equity of Borrower, as reorganized, or the applicable reorganized affiliate
 or successor to Borrower, equal to 9.9% of the outstanding common stock thereof on a fully
 dilutedb  asis(the“ Stock Allocation”  )( provided, however that, Avenue Investments, LP or any
 affili
      atet h ereof(“ Avenue”  ),initscapacity as a Supplemental Loan Participant, shall receive its
 pro rata share of the first 50% of the Stock Allocation together with the other Supplemental Loan
 Participants and the second 50% of the Stock Allocation shall be shared pro rata among the
 Supplemental Loan Participants exclusive of Avenue. Ten million dollars ($10,000,000) in
 principal amount of Supplemental Loans participated in by Avenue shall be satisfied in full in
 cash or, at the sole option of Borrower, converted into a post-emergence loan secured by a lien
 on the Pre-Petition Term Loan Collateral that is pari passu with the security interests of the Pre-
 Petition Term Loan Agent and Pre-Petition Term Loan Lenders in the Pre-Petition Term Loan
 Collateral on a post-emergence basis and the economic terms thereof shall be no worse than the
 economic terms provided to the Supplemental Loan and have a maturity of no longer than one
 year from the effective of the plan of reorganization. For the avoidance of doubt, unless Avenue
 otherwise agrees in its sole discretion, any amount of Supplemental Loan participated in by
 Avenue in excess of $10 million must be paid in full, in cash in prior to the repayment of any
 other Supplemental Loan. All Supplemental Loan Participants shall otherwise share in all
 interests, expenses, costs and rights provided hereunder or in the Loan Documents on a pro rata
 basis. This Schedule 9.2(a) supercedes any other agreement among the Supplemental Loan
 Participants and the Debtors regarding the subject matter hereof.




 1
  Terms not otherwise defined in this Schedule 9.2(a) shall have the meanings ascribed to such terms in the Interim
 Financing Order.
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                                EXHIBIT B




                                        1
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DRAFT                                  Estimate   Budget     Budget     Budget      Budget      Budget    Budget      Budget      Budget      Budget    Budget     Budget     Budget
               Week Ending             1/30/09    2/6/09     2/13/09    2/20/09     2/27/09     3/6/09    3/13/09     3/20/09     3/27/09     4/3/09    4/10/09    4/17/09    4/24/09
                  Week                    1         2           3          4           5          6          7           8           9          10        11         12         13

DIP Loan Advances                         $32.5
                                            1.0      $8.1
                                                      0.0        $8.0
                                                                  0.0      $55.0
                                                                            (0.0)      $36.9
                                                                                         0.0      $29.2
                                                                                                    0.0      $31.1
                                                                                                               0.0       $29.1
                                                                                                                          (0.0)      $26.5
                                                                                                                                       0.0      $32.2
                                                                                                                                                  0.0      $22.5
                                                                                                                                                             0.0      $28.8
                                                                                                                                                                        0.0      $31.5
                                                                                                                                                                                   0.0
Cash Disbursements - US Only
Operating
 Payroll & payroll-related costs           $5.1      $3.1        $5.2       $3.2        $4.5       $3.1       $4.9        $3.1        $3.1       $5.0       $2.3       $6.1       $2.2
 Utilities                                  0.2       0.0         0.0        0.6         0.2        0.2        0.2         0.1         0.2        0.2        0.2        0.2        0.2
 Critical & Foreign vendors                 0.0       0.0         0.0       19.6        11.7        8.9        7.0         5.3         1.2        0.0        0.0        0.0        0.0
 Rents and leases                           0.7       0.9         0.0        0.5         1.6        0.5        0.0         0.0         0.2        2.1        0.1        0.0        0.0
 Inventory purchases                        9.1       0.0         0.0       18.4         9.6       11.7       12.8        10.7        14.6       15.2       15.1       16.1       16.1
 Freight                                    0.8       0.9         0.9        3.1         3.3        0.9        1.1         5.1         2.7        1.1        1.1        1.1        6.2
 Maintenance and supplies                   0.4       0.3         0.3        0.7         0.4        0.4        0.4         0.4         0.4        0.4        0.4        0.4        0.4
 Outstanding checks                         7.1       0.0         0.0        0.0         0.0        0.0        0.0         0.0         0.0        0.0        0.0        0.0        0.0
 Miscellaneous                              1.0       1.2         1.2        1.3         1.2        1.3        1.3         1.2         1.2        1.5        1.4        1.4        1.4
 Taxes                                      0.1       0.0         0.0        0.0         0.2        0.1        0.1         0.1         0.1        0.1        0.1        0.1        0.1
 Insurance                                  0.0       0.0         0.0        0.0         0.0        0.0        0.0         0.0         0.0        0.0        0.0        0.0        1.0
 I/C trade disbursements - foreign          0.9       0.0         0.0        3.3         0.9        0.6        1.6         1.1         0.9        0.6        0.6        1.6        1.4
 Professional fees - ordinary course        4.3       0.3         0.3        0.6         0.3        0.4        0.5         0.4         0.3        0.4        0.3        0.7        0.4
 Other (Corporate)                          0.9       0.0         0.0        1.1         1.0        0.0        0.2         0.4         0.0        0.6        0.0        0.2        0.4
 Contingency @ 3%                           0.8       0.1         0.1        1.5         0.9        0.7        0.8         0.7         0.7        0.7        0.6        0.7        0.8
Total Operating Disbursements             $31.2      $6.9        $8.0      $54.0       $35.9      $28.9      $30.8       $28.8       $25.5      $27.9      $22.2      $28.5      $30.5
Capital Expenditures                       $0.3      $0.0        $0.0       $1.0        $0.3       $0.3       $0.3        $0.3        $0.3       $0.3       $0.3       $0.3       $0.3
Financing - Non-DIP
  Interest payments - FILO Term            $0.0      $0.0        $0.0       $0.0        $0.6       $0.0       $0.0        $0.0        $0.6       $0.0       $0.0       $0.0       $0.6
  FILO Term Fees                            0.0       1.8         0.0        0.0         0.0        0.0        0.0         0.0         0.0        0.0        0.0        0.0        0.0
Total Financing Costs - Non-DIP            $0.0      $1.8        $0.0       $0.0        $0.6       $0.0       $0.0        $0.0        $0.6       $0.0       $0.0       $0.0       $0.6
Bankruptcy Costs
 Utility Deposits                          $0.0      $0.4        $0.0       $0.0        $0.0       $0.0       $0.0        $0.0        $0.0       $0.0       $0.0       $0.0       $0.0
 Professional fees - bankruptcy             0.0       0.0         0.0        0.0         0.0        0.0        0.0         0.0         0.0        4.0        0.0        0.0        0.0
Total Bankruptcy Costs                     $0.0      $0.4        $0.0       $0.0        $0.0       $0.0       $0.0        $0.0        $0.0       $4.0       $0.0       $0.0       $0.0
Total Disbursements                       $31.5      $9.1       $8.0       $55.0       $36.9      $29.2      $31.1       $29.1       $26.5      $32.2      $22.5      $28.8      $31.5
Net Cash Flow                              $1.0     ($1.0)      $0.0       ($0.0)       $0.0       $0.0      ($0.0)      ($0.0)       $0.0       $0.0       $0.0       $0.0       $0.0
 Cumulative Net Cash Flow                   1.0       0.0        0.0        (0.0)        0.0        0.0        0.0        (0.0)        0.0        0.0        0.0        0.0        0.0

Beginning Cash Balance                     $0.0      $1.0       $0.0        $0.0       ($0.0)      $0.0      $0.0         $0.0       ($0.0)      $0.0      $0.0       $0.0       $0.0
 Ending Balance                            $1.0      $0.0       $0.0       ($0.0)       $0.0       $0.0      $0.0        ($0.0)       $0.0       $0.0      $0.0       $0.0       $0.0
    09-50455-rbk Doc#22-1 Filed 02/03/09 Entered 02/03/09 22:13:39 Proposed Order Pg 99
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DRAFT                                       Estimate    Budget     Budget      Budget      Budget      Budget     Budget      Budget      Budget      Budget     Budget      Budget      Budget
               Week Ending                  1/30/09     2/6/09     2/13/09     2/20/09     2/27/09     3/6/09     3/13/09     3/20/09     3/27/09     4/3/09     4/10/09     4/17/09     4/24/09
                  Week                         1          2           3           4           5          6           7           8           9          10         11          12          13

Borrowing Base & Loan Forecast
Accounts Receivable
 Gross Accounts Receivable                    $156.7     $160.9      $164.7      $168.0      $167.0     $171.4      $176.9      $179.3      $183.0     $186.7      $195.6      $203.2      $209.0
 Plus: New Sales                                22.4       22.4        22.4        22.4        27.9       27.9        27.9        27.9        27.9       31.0        31.0        31.0        31.0
 Less: AR Collections                           16.7       17.2        17.9        22.1        21.5       20.2        23.6        22.6        22.6       20.5        21.8        23.0        23.4
 Plus/(Minus) Adjustments                       (1.5)      (1.4)       (1.2)       (1.3)       (1.9)      (2.3)       (1.8)       (1.6)       (1.6)      (1.6)       (1.6)       (2.3)       (2.3)
 Less: Ineligibles                              60.4       61.0        61.6        61.1        61.6       63.0        63.2        63.7        64.3       66.1        67.7        69.0        70.2
 Eligible Accounts Receivable                 $100.5     $103.7      $106.4      $105.9      $109.8     $113.8      $116.1      $119.3      $122.4     $129.5      $135.5      $139.9      $144.1
 AR Advance Rate                                 0.9        0.9         0.9         0.9         0.9        0.9         0.9         0.9         0.9        0.9         0.9         0.9         0.9
 AR Collateral/Availability                    $85.4      $88.2       $90.4       $90.0       $93.3      $96.8       $98.7      $101.4      $104.1     $110.1      $115.2      $118.9      $122.5

Inventory
  Inventory Collateral/Availability           $115.1     $115.3      $117.1      $118.0      $120.2     $118.5      $116.7      $115.4      $113.9     $113.3      $112.5      $112.4      $110.9

Borrowing Base                                $200.5     $203.4      $207.6      $208.0      $213.5     $215.2      $215.4      $216.8      $218.0     $223.4      $227.6      $231.3      $233.4
  Facilities Reduction Amount                  235.0      235.0       235.0       235.0       235.0      235.0       235.0       235.0       235.0      235.0       235.0       235.0       235.0

Net Availability                              $200.5     $203.4      $207.6      $208.0      $213.5     $215.2      $215.4      $216.8      $218.0     $223.4      $227.6      $231.3      $233.4
  Less: Specified Reserves                       6.9        6.9         6.9         6.9         6.9        6.9         6.9         6.9         6.9        6.9         6.9         6.9         6.9
  Block                                         25.0       25.0        25.0        25.0        25.0       25.0        25.0        25.0        25.0       25.0        25.0        25.0        25.0
  Carve Out Reserve                              0.0        3.0         3.0         3.0         3.0        3.0         3.0         3.0         3.0        3.0         3.0         3.0         3.0
Total Availability After Reserves & Block     $168.7     $168.6      $172.7      $173.2      $178.7     $180.4      $180.6      $181.9      $183.1     $188.5      $192.8      $196.4      $198.5

DIP Loan - Beginning Balance                  $145.5     $160.1      $113.0      $103.2      $134.5     $149.6      $156.3      $159.3      $160.3     $157.1      $167.5      $167.6      $172.1
 Less: Supplemental term loan                    0.0       45.0         0.0         0.0         0.0        0.0         0.0         0.0         0.0        0.0         0.0         0.0         0.0
 Less: AR Collections                           16.7       17.2        17.9        22.1        21.5       20.2        23.6        22.6        22.6       20.5        21.8        23.0        23.4
 Less: I/C cash receipts - foreign               1.2        0.2         0.0         1.6         1.1        0.2         1.0         0.6         1.1        1.2         0.0         0.6         2.1
 Less: I/C cash repatriation - foreign           0.0        0.0         0.0         0.0         0.0        2.1         3.5         4.9         7.0        0.0         0.7         0.7         0.7
 Plus: DIP loan interest                         0.0        0.0         0.0         0.0         0.8        0.0         0.0         0.0         0.9        0.0         0.0         0.0         1.0
 Plus: DIP loan fees                             0.0        7.2         0.0         0.0         0.0        0.0         0.0         0.0         0.0        0.0         0.0         0.0         0.0
 Plus: Advances                                 32.5        8.1         8.0        55.0        36.9       29.2        31.1        29.1        26.5       32.2        22.5        28.8        31.5
DIP Loan - Ending Balance                     $160.1     $113.0      $103.2      $134.5      $149.6     $156.3      $159.3      $160.3      $157.1     $167.5      $167.6      $172.1      $178.5

Availability Before Requested Loan Advance $168.7        $168.6      $172.7      $173.2      $178.7     $180.4      $180.6      $181.9      $183.1     $188.5      $192.8      $196.4      $198.5
Letters of Credit Outstanding                 3.0           4.5         4.5         4.5         4.5        4.5         4.5         4.5         4.5        4.5         4.5         4.5         4.5
Aggregate Revolving Exposure                163.1         117.5       107.7       139.0       154.1      160.8       163.8       164.8       161.6      172.0       172.1       176.6       183.0
Ending Availability/(Overadvance)            $5.6         $51.0       $65.0       $34.2       $24.6      $19.6       $16.8       $17.1       $21.6      $16.5       $20.7       $19.8       $15.5
